Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                     Page 1 of 140




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE

    In re:                                                 )    Chapter 11
                                                           )
    The Prospect-Woodward Home,                            )    Case No. 21-10523 (BAH)
                                                           )
              Debtor.1                                     )
                                                           )

     MOTION OF THE DEBTOR FOR ENTRY OF (I) AN ORDER (A) APPROVING
          BIDDING PROCEDURES IN CONNECTION WITH THE SALE OF
        SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS, (B) APPROVING
       THE FORM AND MANNER OF NOTICE THEREOF, (C) AUTHORIZING
       THE DEBTOR TO ENTER INTO THE STALKING HORSE AGREEMENT,
   (D) AUTHORIZING PAYMENT OF THE STALKING HORSE PAYMENT AS AN
     ADMINISTRATIVE EXPENSE, (E) SCHEDULING AN AUCTION AND SALE
      HEARING, (F) APPROVING PROCEDURES FOR THE ASSUMPTION AND
   ASSIGNMENT OF CONTRACTS, AND (E) GRANTING RELATED RELIEF; AND
(II) AN ORDER (A) APPROVING THE ASSET PURCHASE AGREEMENT BETWEEN
  THE DEBTOR AND THE SUCCESSFUL BIDDER, (B) AUTHORIZING THE SALE
   OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS FREE AND CLEAR OF
  LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS, (C) AUTHORIZING THE
      ASSUMPTION AND ASSIGNMENT OF CONTRACTS, AND (D) GRANTING
                            RELATED RELIEF

             The debtor and debtor-in-possession in the above-captioned case (the “Debtor”) hereby

moves (the “Motion”), pursuant to sections 105(a), 363, 364, 365, and 503 of title 11 of the United

States Code (the “Bankruptcy Code”), and Rules 2002, 6004, 6006, 9006, 9007 and 9014 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of (i) an order

approving the bid procedures, substantially in the form attached hereto as Exhibit A (the “Bid

Procedures Order”), including (a) approving the proposed auction and bid procedures, attached as

Exhibit 1 thereto (the “Bid Procedures”) for the proposed sale of substantially all the Debtor’s

assets (the “Sale”), (b) authorizing the Debtor to enter into the Stalking Horse Agreement (as

defined below), (c) authorizing payment of the Stalking Horse Payment as an administrative


1
  The last four digits of the Debtor’s federal taxpayer identification are 2146. The address of the Debtor’s headquarters
is 95 Wyman Road, Keene, New Hampshire 03431
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 2 of 140




expense, (d) scheduling an auction (“Auction”) if the Debtor receives two or more Qualified Bids

(as defined below), (e) scheduling a hearing to consider approval of the Sale (the “Sale Hearing”),

(f) approving the form and manner of notice thereof, and (g) establishing procedures (the

“Assumption Procedures”) for the assumption and assignment of executory contracts and

unexpired leases (collectively, the “Contracts”), including notice of proposed cure amounts; and,

(ii) entry of an order approving the sale of substantially all of the Debtor’s assets (the “Sale

Order”), including (w) approving the transaction documents between the Debtor and the

Successful Bidder (as defined below), (x) authorizing the Sale to the Successful Bidder (after the

Auction, if necessary) free and clear of liens, claims, interests and encumbrances, (y) authorizing

the assumption and assignment of the Contracts, and (z) granting related relief. In support of this

Motion, the Debtor relies upon and incorporates by reference the Declaration of Toby Shea, Chief

Restructuring Officer, in Support of the Debtor’s First Day Pleadings filed with the Court

concurrently herewith (the “First Day Declaration”). In further support of the Motion, the Debtor,

by and through its undersigned counsel, respectfully states as follows:

                                    Jurisdiction and Venue

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this case is proper

in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory predicates for the relief requested herein are Bankruptcy Code

sections 105(a), 363, 364, 365, and 503, Bankruptcy Rules 2002, 6004, 6006, 9006, 9007 and

9014, and Local Rule 6004-1.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 3 of 140




                                         BACKGROUND

A.     General Background

       3.      On August 30, 2021 (the “Petition Date”), the Debtor filed a voluntary petition in

this Court commencing a case for relief under chapter 11 of the Bankruptcy Code (the “Chapter

11 Case”).

       4.      The Debtor continues to manage and operate its business as a debtor-in-possession

pursuant to Bankruptcy Code sections 1107 and 1108.

       5.      No trustee, examiner or committee has been appointed in this Chapter 11 Case.

       6.      The factual background regarding the Debtor, including its business operations, its

capital and debt structures, and the events leading to the filing of this Chapter 11 Case, is set forth

in detail in the First Day Declaration and fully incorporated herein by reference.

B.     The Debtor’s Assets

       7.      The Debtor owns and operates a licensed continuing care retirement facility with

222 units, comprised of 141 independent living units, 43 assisted living units, 18 memory care

units, and 20 licensed but not yet opened long term nursing care units (the “Facility”) located on

or about 95 Wyman Road, Keene, New Hampshire, comprising approximately 66 acres (the

“Premises”).

       8.      The Debtor’s primary assets include the Facility, the Premises, and the assets used

in Debtor’s operation of the Facility (the “Assets”).

       9.      The Debtor has, subject to this Court’s approval, retained Grandbridge Real Estate

Capital LLC (“Grandbridge”) to conduct a marketing and sale process for substantially all of the

Debtor’s assets.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                  Page 4 of 140




                                    RELIEF REQUESTED

       10.    By this Motion, the Debtor seeks entry of the Bid Procedures Order, substantially

in the form attached hereto as Exhibit A:

              (a)     authorizing and approving the Bid Procedures, in substantially the form
                      attached to the Bid Procedures Order as Exhibit 1, in connection with the
                      Sale of substantially all of the Debtor’s Assets;

              (b)     approving the form and manner of notice, in substantially the form
                      attached to the Bid Procedures Order as Exhibit 2 (the “Sale Notice”),
                      of the Auction and Sale Hearing for the Sale;

              (c)     authorizing the Debtor to enter into that certain Asset Purchase Agreement
                      with Covenant Living Communities (the “Stalking Horse”), a copy of which
                      is attached hereto as Exhibit B (the “Stalking Horse Agreement”), pursuant
                      to which the Stalking Horse seeks to purchase the Assets (as defined in the
                      Stalking Horse Agreement) from the Debtor as set forth therein;

              (d)     authorizing payment of the Stalking Horse Payment as an administrative
                      expense;

              (e)     scheduling the Auction and Sale Hearing;

              (f)     approving the Assumption Procedures for the Contracts in connection with
                      the Sale; and

              (g)     granting related relief.

       11.    Furthermore, the Debtor will seek entry of the Sale Order at the Sale Hearing:

              (a)     authorizing and approving the Sale of all or substantially all of the Assets
                      to the Successful Bidder (as defined in the Bid Procedures) on the terms
                      set forth in the Successful Bid;

              (b)     authorizing and approving the Sale of all or substantially all of the Assets
                      free and clear of liens, claims, encumbrances, and other interests, all in
                      accordance with the Successful Bid;

              (c)     authorizing the assumption and assignment of the Contracts identified by
                      the Successful Bidder; and

              (d)     granting any related relief.

       12.    The Debtor reserves the right to file and serve any supplemental pleading or

declaration that the Debtor deems appropriate or necessary in its reasonable business judgment,
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                    Page 5 of 140




including any pleading summarizing the competitive bid and sale process and the results thereof,

in support of its request for entry of the Sale Order before the Sale Hearing.

                            Prepetition Marketing and Sale Process

       13.     Prior to the Petition Date, the Debtor engaged Grandbridge as its broker to conduct

a prepetition marketing process for substantially all of the Debtor’s assets. As a result of the

prepetition marketing process, the Debtor has identified a number of potential purchasers for the

Debtor’s Assets. The Debtor executed NDAs with 63 potential purchasers, of which,

approximately 92% accessed the offering materials via the electronic data room. Grandbridge’s

marketing efforts included regular follow-up with all potential purchasers, posting of new

information to the data room, and utilizing an Excel cash flow model to gauge buyer interest. As

a result of these marketing efforts, the Debtor received eight term sheets from potential purchasers

during the first round of bidding. After reviewing the first round term sheets, the Debtor selected

several first round bidders to participate in the second round process (one potential purchaser did

not participate in the second round due to its terms being by far the lowest first round offer

received). One additional potential purchaser submitted a late bid and was invited to the second

round. Each of the second round bidders was invited to a formal property tour and was provided

additional time and data to further evaluate the potential acquisition. Seven of the eight second

round participants elected to tour the property.

       14.     As a result of the second round process, the Debtor received updated term sheets

from second round bidders. These term sheets were evaluated based upon purchase price,

contingencies, financial capability, and other terms. After reviewing the updated term sheets, a

few potential buyers were deemed to be the top bidders and were invited to a buyer interview call

facilitated by Grandbridge. After the buyer interview calls were finalized, Covenant Living
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                     Page 6 of 140




Communities was selected as the Stalking Horse, subject to negotiation of an Asset Purchase

Agreement and completion of Due Diligence.

       15.     On June 24, 2021, the Debtor entered into a Letter of Intent with the Stalking Horse.

On August 17, 2021, the Debtor and the Stalking Horse executed the Stalking Horse Agreement.

On August 23, 2021, the Diligence Period (as defined in the Stalking Horse Agreement) expired

and the Deposit (as defined in the Stalking Horse Agreement) became non-refundable, except as

provided for in the Stalking Horse Agreement.

       16.     To maximize the value of the Assets, the Debtor proposes to commence a

postpetition sales process for the Assets. As part of the proposed postpetition sale process, the

Debtor and its other professionals will continue to engage in the robust marketing effort for the

Debtor’s Assets, which started well before the Petition Date, by continuing to contact both

financial and strategic investors regarding a potential sale, including all parties contacted prior to

the commencement of the Chapter 11 Case. All interested parties have been or, upon entry of the

Bid Procedures Order, will be given an additional opportunity to execute a confidentiality

agreement (a “Confidentiality Agreement”) and be given access to the data room maintained by

Grandbridge. Those parties that execute a Confidentiality Agreement will be provided with

substantial due diligence information concerning, and access to, the Debtor, including, without

limitation, presentations by the Debtor and its advisors, and access to financial, operational, and

other detailed information.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                Page 7 of 140




                                        Stalking Horse Agreement

         17.     The key terms of the proposed Stalking Horse transaction can be found in the

Stalking Horse Agreement attached hereto as Exhibit B. The material terms of the Stalking Horse

Agreement are as follows:


                MATERIAL TERMS OF STALKING HORSE AGREEMENT2

    Purchase Price          The Purchase Price payable under the Stalking Horse Agreement for the
                            Assets is Thirty-Three Million and NO/00 Dollars ($33,000,000.00) (the
                            “Purchase Price”) as adjusted in accordance with this Section 2.5 of the
                            Stalking Horse Agreement.

                            See Stalking Horse Agreement at § 2.5.

    Assets                  Upon the terms and subject to the conditions contained in the Stalking
                            Horse Agreement, at the Closing (as defined in Section 2.6), the Seller
                            shall sell, assign, transfer, deliver and convey to Buyer, and Buyer shall
                            purchase, acquire and accept from Seller pursuant to Bankruptcy Code
                            sections 363 and 365, free and clear of all Liens except Permitted Liens,
                            all of Seller’s right, title and interest in and to all of the following to the
                            extent owned by the Seller and used in the Business, but excluding the
                            Excluded Assets (as defined in Section 2.2) (collectively, the “Purchased
                            Assets”):

                                         i.   The Facility, the Premises, and the improvements
                                              thereon;

                                        ii.   the Books and Records, Resident medical records, and
                                              Transferred Employee records;

                                       iii.   the Assumed Contracts (including for Resident
                                              Agreements, any rights of Seller in the Entrance Fee and
                                              Option Deposits);

                                       iv.    the Equipment;

                                        v.    the Inventory;




2
  All capitalized terms that are used in this summary but not otherwise defined herein shall have the meanings set
forth in the Stalking Horse Agreement. To the extent there are any discrepancies between the Stalking Horse
Agreement and this summary, the terms of the Stalking Horse Agreement shall prevail.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                 Page 8 of 140




                             vi.   to the extent transferable under applicable law, the
                                   Permits;

                            vii.   all intellectual property, including any trademarks, trade
                                   secrets, and the like;

                           viii.   general intangibles, and community specific intellectual
                                   property,        including        domain          name
                                   www.hillsidevillagekeene.org, as well as the names “The
                                   Prospect-Woodward Home” and “Hillside Village
                                   Keene” and related logos and marketing materials; and

                             ix.   because the Buyer is a non-profit, such funds being
                                   transferable, and the restrictions on the use of any such
                                   funds (such funds and restrictions as described in
                                   Schedule 2.1(j)), all of Seller’s rights in any endowment
                                   or donor-restricted funds held by Seller (collectively, the
                                   “Endowment”).

                   See Stalking Horse Agreement at § 2.1.

 Assumed           Upon the terms and subject to the conditions contained in the Stalking
 Liabilities       Horse Agreement, at the Closing, Buyer shall assume or otherwise be
                   responsible for, which amounts shall be in addition to the Purchase Price,
                   for (collectively, the “Assumed Liabilities”):

                              i.   all Entrance Fee Obligations and obligations under
                                   Residency Agreements and Option Agreements;

                             ii.   all liabilities and obligations under the Purchased Assets
                                   accruing or arising after the Closing;

                            iii.   all liabilities and obligations associated with the
                                   Assumed Contracts from and after Closing and all Cure
                                   Amounts associated with such Assumed Contracts; and

                             iv.   all liabilities required to be paid by Buyer pursuant to the
                                   Stalking Horse Agreement (such as, without limitation,
                                   any recording fee, one-half of the real property transfer
                                   Taxes, and to the extent the Endowment is transferred to
                                   Buyer, any obligations with regard to the use after the
                                   Effective Time of the Endowment in accordance with
                                   law).

                   Seller shall have no liability for any such liabilities or obligations.

                   See Stalking Horse Agreement at § 2.3.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                 Page 9 of 140




 Real Property        95 Wyman Road, Keene, New Hampshire
 Included
 Releases             The Sale Order provides certain claims against the Debtor and/or the
                      Purchaser are barred or otherwise waived. See Sale Order, ¶ 20, 22, 24,
                      and 25.

 Closing and Other    The closing of the transactions contemplated by the Stalking Horse
 Deadlines            Agreement (the “Closing”) shall take place at the offices of Hinckley
                      Allen, 650 Elm Street, Manchester, New Hampshire, within seven (7)
                      days after satisfaction or waiver of the conditions to Closing set out in
                      Article 6 of the Stalking Horse Agreement (the “Closing Date”), and in
                      no event later than March 31, 2022 (the “Outside Closing Date”) (unless
                      otherwise mutually agreed by the Parties, including with regard to a
                      remote closing). The Closing shall be effective as of 11:59 p.m. Eastern
                      Time on the Closing Date or such other date and time as the parties may
                      agree in writing (the “Effective Time”).

                      See Stalking Horse Agreement at § 2.6.

 Good Faith Deposit One Million Dollars and NO/00 ($1,000,000.00) was paid as an earnest
                    money deposit (the “Deposit”) to Connecticut Attorneys Title Insurance
                    Company (“Escrow Agent”) at the time of execution of the Stalking
                    Horse Agreement, which is being held by Escrow Agent in accordance
                    with the terms and conditions of the Stalking Horse Agreement and the
                    Escrow Agreement. The Deposit will be credited against the Purchase
                    Price at Closing, and will otherwise be disbursed as provided in the
                    Stalking Horse Agreement, the Escrow Agreement and the Sale Order.
                    Any interest on the Deposit shall follow the Deposit.

                      See Stalking Horse Agreement at § 2.5(b).

 Record Retention     Following the Closing of the Sale, the Debtor shall have, and the
                      Purchaser shall provide, reasonable access to their books and records, to
                      the extent they are included in the Assets transferred to the Purchaser as
                      part of the Sale as set forth in the Agreement.

                      See Proposed Sale Order at ¶ 29.

 Sale of Avoidance    Avoidance Actions are not being sold, assigned transferred, or conveyed
 Actions              to Purchaser, provided, however, that during the Chapter 11 Case, Seller
                      shall not commence, assign, convey or abandon any Avoidance Actions
                      against any of Seller’s ordinary course vendors, contract counterparties,
                      contractors and other suppliers of services related to the Business who
                      are doing business with Purchaser following the Closing, without the
                      prior written consent of Buyer.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 10 of 140




                         See Stalking Horse Agreement §§ 2.2(d) and 5.9(j).

 Credit Bid              The Bond Trustee shall be deemed to be a Qualified Bidder and is not
                         required to make any Good Faith Deposit. The Bond Trustee may
                         participate in the Auction and may credit bid up to the conclusion of
                         the Auction, in its sole and absolute discretion, any portion and up to
                         the entire amount of the Bond Trustee’s claims at any time on all the
                         Assets constituting its collateral; provided, however, the Bond Trustee
                         must bid in cash at least the amount of the Stalking Horse Payment,
                         which amount must be payable in cash at the Closing (the “Credit
                         Bid”). Upon exercise of a Credit Bid, the Bond Trustee shall not be
                         required to take title to or ownership of, or have any obligation in
                         connection with, or be deemed to have taken title to or ownership of, or
                         have any obligation in connection with, any Assets, and the Bond
                         Trustee shall have the right to designate any person or entity in its sole
                         and absolute discretion that shall take title to the Assets that are subject
                         to the Credit Bid. The Bond Trustee will not be a Backup Bidder unless
                         the Bond Trustee consents in writing otherwise. If the Bond Trustee
                         elects to exercise its right to Credit Bid, such bid shall provide that the
                         Stalking Horse Payment must be paid in cash.

                         Subject to the prior paragraph, the Stalking Horse shall have the right
                         (including as part of any Overbid) to credit bid all or a portion of its
                         Stalking Horse Payment (if any) pursuant to Bankruptcy Code section
                         363(k).

                         See Bid Procedures Order at ¶¶ 5, 6.


       18.     The Assets shall be sold free and clear of any liens, security interests, claims,

charges, offsets and recoupments, or encumbrances pursuant to Bankruptcy Code section 363 and

any such liens, security interests, claims, charges, offsets and recoupments, or encumbrances shall

attach to the amounts payable to the Debtor’s estate resulting from the Sale, net of any transaction

fees (the “Sale Proceeds”), in the same order of priority and subject to the rights, claims, defenses,

and objections, if any, of all parties with respect thereto, subject to any further order of the Court.

       19.     The Stalking Horse Agreement was negotiated in good faith and at arm’s length,

and the Debtor believes the terms of the proposed transaction are fair and reasonable under all the

circumstances. In addition, the Debtor believes that the proposed postpetition marketing process
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 11 of 140




described herein will provide sufficient time and opportunity for any other interested party to

submit a higher or otherwise better offer for the Assets.

                                       The Proposed Sale

       20.     The Debtor believes a prompt sale of the Assets represents the best option available

for all stakeholders in the Chapter 11 Case. Moreover, it is critical for the Debtor to execute on

any sale transaction as expeditiously as possible to maximize value for the Debtor’s estate.

       21.     By this Motion, the Debtor requests that the Court approve the following general

timeline:

               (a)     Contract Cure Objection Deadline: Objections to the potential assumption
                       and assignment of any Contract will be filed and served no later than 4:00
                       p.m. (prevailing Eastern Time) on October 15, 2021.

               (b)     Sale Objection Deadline: Objections to the Sale will be filed and served no
                       later than 4:00 p.m. (prevailing Eastern Time) on October 29, 2021.

               (c)     Bid Deadline: Bids for the Assets, including a marked-up form of the
                       Stalking Horse Agreement, as well as the deposit and the other requirements
                       for a bid to be considered a Qualified Bid (as defined in the Bid Procedures)
                       must be received by no later than October 29, 2021 at 4:00 p.m. (prevailing
                       Eastern Time) (the “Bid Deadline”).

               (d)     Auction: The Auction, if necessary, will be held at November 3, 2021 at
                       10:00 a.m. (prevailing Eastern Time), at Hinckley, Allen & Snyder LLP, 28
                       State Street, Boston, Massachusetts 02109 or such other location as
                       identified by the Debtor after notice to all Qualified Bidders.

               (e)     Sale Hearing: Subject to the Court’s availability and schedule, the Sale
                       Hearing will commence on or before November 8, 2021.

       22.     The Debtor believes that this timeline maximizes the prospect of receiving a higher

or otherwise better offer without unduly prejudicing its estate. Given the Debtor’s extensive

prepetition marketing efforts, the proposed timeline is more than sufficient to complete a fair and

open sale process that will maximize the value received for the Assets. To further ensure that the

Debtor’s proposed Auction and Sale process maximizes value for the benefit of the Debtor’s estate,
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                             Page 12 of 140




the Debtor and its professionals will use the time following entry of the Bid Procedures Order to

actively market the Assets in an attempt to solicit the highest or otherwise best bids available. The

Debtor believes the relief requested by this Motion is in the best interests of its creditors, other

stakeholders, and all other parties in interest, and should be approved.

                                            The Bid Procedures Order

I.         The Bid Procedures

           23.      To optimally and expeditiously solicit, receive, and evaluate bids in a fair and

accessible manner, the Debtor has developed and proposed the Bid Procedures, attached as Exhibit

1 to the Bid Procedures Order. The Bid Procedures were designed to permit an expedited sale

process, to promote participation and active bidding, and to ensure that the Debtor receives the

highest or otherwise best offer for the Assets. The Debtor believes that the timeline for

consummating the sale process established pursuant to the Bid Procedures is in the best interest of

its estate and all parties in interest.

           24.      The Bid Procedures describe, among other things, the requirements for prospective

purchasers to participate in the bid process, the availability and conduct of due diligence, the

deadline for submitting a competing bid, the method and factors for determining Qualified Bids,

and the criteria for selecting a Successful Bidder.

           25.      The following summary describes the salient points of the Bid Procedures:3

           (a)      Qualification of Bidders. To be eligible to participate in the Auction, each offer,
                    solicitation or proposal (each, a “Bid”), and each party submitting such a Bid (each,
                    a “Bidder”), must be determined by the Debtor to satisfy each of the following
                    conditions:

                    (i)      Corporate Authority. Written evidence reasonably acceptable to the Debtor
                             demonstrating appropriate corporate authorization to consummate the Sale;
                             provided, however, that, if the Bidder is an entity specially formed for the
                             purpose of effectuating the Sale, then the Bidder must furnish written
3
    This summary of the Bid Procedures is qualified in its entirety by the Bid Procedures.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document               Page 13 of 140




                   evidence reasonably acceptable to the Debtor, in consultation with the
                   Consultation Parties, of the approval of the Sale by the equity holder(s) of
                   such Bidder.
            (ii)   Proof of Financial Ability to Perform. Written evidence that the Debtor
                   reasonably concludes, in consultation with the Consultation Parties,
                   demonstrates that the Bidder has the necessary financial ability to close the
                   Sale and provide adequate assurance of future performance under all
                   Assigned Contracts. Such information should include, inter alia, the
                   following:
                            contact names, email addresses and telephone numbers for
                             verification of financing sources;
                            evidence of the Bidder’s internal resources and proof of any debt
                             or equity funding commitments that are needed to close the
                             transaction;
                            the Bidder’s current financial statements; and
                            any such other form, financial disclosure or credit-quality support
                             information or enhancement reasonably acceptable to the Debtor
                             demonstrating that such Bidder has the ability to close the
                             transaction; provided, however, that the Debtor shall determine,
                             in its reasonable discretion, in consultation with the Debtor’s
                             advisors and the Consultation Parties, whether the written
                             evidence of such financial wherewithal is reasonably acceptable,
                             and shall not unreasonably withhold acceptance of a Bidder’s
                             financial qualifications.
      (b)   Qualified Bids. Each Bid must be determined by the Debtor, in consultation with
            the Consultation Parties, to satisfy each of the following conditions:

            (i)    Good Faith Deposit. Each Bid must be accompanied by a deposit in the
                   amount of One Million Dollars and NO/00 ($1,000,000.00) to an interest
                   bearing escrow account to be identified and established by the Debtor (the
                   “Good Faith Deposit”).

            (ii)   Terms. A Bid must have a Purchase Price of at least $34,010,000. A Bid
                   must include an executed asset purchase agreement similar in form and
                   substance to the Stalking Horse Agreement, as modified by the Bidder,
                   pursuant to which the Bidder proposes to effectuate the contemplated
                   transaction and a black-lined company of the asset purchase agreement
                   marked to show all changes requested by the Bidder, including any changes
                   to exhibits or schedules (the “Transaction Documents”). A Bid should
                   propose a transaction involving substantially all, or a portion of, the
                   Debtor’s Assets or operations. The Debtor shall evaluate all Bids to
                   determine whether such Bid(s) maximizes the value of the Debtor’s estate
                   as a whole. The Transaction Documents shall also identify any executory
                   contracts and unexpired leases of the Debtor that the Bidder wishes to have
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                 Page 14 of 140




                    assumed and assigned to it pursuant to the Sale (collectively, the “Assigned
                    Contracts”). The Debtor will consider proposals for less than substantially
                    all of the Debtor’s Assets or operations. A Bid to purchase only certain
                    Assets of the Debtor shall propose a purchase price determined by such
                    Bidder but shall be reviewed by the Debtor to determine if it is acceptable
                    in consultation with the Consultation Parties. The Transaction Documents
                    must contain a commitment to close no later than the Closing Date (as defined
                    in the Stalking Horse Agreement). A Bid must allow for immediate payment
                    of the Stalking Horse Payment to the Stalking Horse from the first proceeds of
                    the cash portion of such bid.

            (iii)   Contingencies. A Bid may not be conditioned on obtaining financing or any
                    internal approval, or on the outcome or review of due diligence, but may be
                    subject to the accuracy in all material respects at the closing of specified
                    representations and warranties.

            (iv)    Irrevocable. A Bid must be irrevocable through the Auction; provided,
                    however, that if such Bid is accepted as the Successful Bid or the Backup
                    Bid (as defined in the Bid Procedures), such Bid shall continue to remain
                    irrevocable, subject to the terms and conditions of the Bid Procedures.

            (v)     Disclaimer of Fees. Each Bid (other than the Stalking Horse Bid) must
                    disclaim any right to receive any break-up fee, expense reimbursement,
                    termination fee, or any other similar form of compensation.

            (vi)    Bid Deadline. The Debtor must receive a Bid in writing, on or before
                    October 29, 2021 at 4:00 p.m. or such later date as may be agreed to by the
                    Debtor (the “Bid Deadline”). Bids must be sent to the following by the Bid
                    Deadline to be considered: counsel for the Debtor, (i) Polsinelli PC, 600
                    Third Avenue, 42nd Floor, New York, New York 10016, Attn: Jeremy R.
                    Johnson (jeremy.johnson@polsinelli.com) and Attn: Stephen J. Astringer
                    (sastringer@polsinelli.com), and (ii) Hinckley, Allen & Snyder LLP, 650
                    Elm Street, Manchester, New Hampshire 03101, Attn: Daniel M.
                    Deschenes (ddeschenes@hinckleyallen.com) and 28 State Street, Boston,
                    Massachusetts       02109,        Attn:       Jennifer      V.       Doran
                    (jdoran@hinckleyallen.com); broker for the Debtor, Grandbridge Real
                    Estate Capital LLC, 1408 North Westshore Boulevard, Suite 910, Tampa,
                    Florida 33607, Attn: l; and counsel to the Bond Trustee, Mintz, Levin,
                    Cohn, Ferris, Glovsky and Popeo, P.C., One Financial Center, Boston,
                    Massachusetts 02111, Attn: Daniel S. Bleck (dsbleck@mintz.com).

      (c)   Right to Credit Bid. UMB Bank, N.A., as bond trustee with respect to the Series
            2017 Bonds authorized and issued by the New Hampshire Health And Education
            Facilities Authority for the benefit of the Debtor (the “Bond Trustee”), shall be
            deemed to be a Qualified Bidder and is not required to make any Good Faith
            Deposit in submitting a Credit Bid (defined below). The Bond Trustee may
            participate in the Auction and, to extent set forth in the Cash Collateral Order, may
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                    Page 15 of 140




            Credit Bid at any time up to the conclusion of the Auction, in its sole and absolute
            discretion, any portion and up to the entire amount of its individual claims (a
            “Credit Bid”). Upon exercise of a Credit Bid, the Bond Trustee shall not be required
            to take title to or ownership of, or have any obligation in connection with, or be
            deemed to have taken title to or ownership of, or have any obligation in connection
            with, the Assets, and the Bond Trustee shall have the right to designate any person
            or entity in its sole and absolute discretion that shall take title to the Assets that are
            subject to the Credit Bid. The Bond Trustee will not be a Backup Bidder unless it
            consents in writing otherwise.

            Subject to the prior paragraph, the Stalking Horse Bidder shall have the right
            (including as part of any Overbid) to credit bid all or a portion of its Bid Protections
            (if any) pursuant to Bankruptcy Code section 363(k). For avoidance of doubt, the
            Stalking Horse Bid is a Qualified Bid and the Stalking Horse Bidder is a Qualified
            Bidder.

      (d)   Cancelation of the Auction. If the Debtor does not receive one or more
            Qualified Bids (other than the Stalking Horse Bid) and the Bond Trustee has not
            indicated its intention to exercise its right to submit a Credit Bid) or otherwise
            determines, after consultation with the Consultation Parties, not to proceed with
            the Sale, the Debtor may elect not to conduct the Auction and may cancel the
            Auction.

      (e)   Stalking Horse Rights. The Stalking Horse Payment shall be taken into account
            with each round of bidding and in each phase of the Auction by adding
            $910,000.00 (the amount of the Stalking Horse Payment) to the amount of each
            bid made by the Stalking Horse. Any credit bids submitted by a party other than
            the Stalking Horse shall include a cash component that is sufficient to pay the
            amount of the Stalking Horse Payment.

      (f)   Bidding Increments and Overbid. At the Auction, the Debtor will announce the
            leading Qualified Bid (the “Auction Baseline Bid”). Bidding on the Assets beyond
            the Auction Baseline Bid will be done in increments that will be determined by
            the Debtors after consultation with the Consultation Parties. The initial minimum
            Overbid shall be $100,000. In advance of the Auction and after a review of the
            Qualified Bids received, the Debtor, in consultation with its advisors and the
            Consultation Parties, shall determine the increments of any subsequent Overbid
            after the Auction Baseline Bid but such amount shall not be less than $100,000 (the
            “Minimum Overbid Increment”); provided, that the Debtor shall retain the right to
            modify the bid increment requirements at the Auction in consultation with the
            Consultation Parties. Additional consideration in excess of the amount set forth in
            the Auction Baseline Bid may include only cash, the assumption of debt, or a Credit
            Bid.

      (g)   Backup Bidder. If an Auction is conducted, the party with the next highest or
            otherwise best Qualified Bid(s) at the Auction, as determined by the Debtor, in
            the exercise of its business judgment, shall be required to serve as a backup
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 16 of 140




               bidder (the “Backup Bidder”). The Backup Bidder shall be required to keep its
               final Bid at Auction (or if the Backup Bidder submitted one or more Overbids
               at the Auction, its final Overbid) (the “Backup Bid”) open and irrevocable until
               sixty (60) days after entry of the Sale Order (the “Outside Backup Date”) or the
               closing of the transaction with the Successful Bidder. Following entry of the
               Sale Order, if the Successful Bidder fails to consummate an approved
               transaction because of a breach or failure to perform on the part of such
               Successful Bidder, the Debtor may designate the Backup Bidder to be the new
               Successful Bidder, and the Debtor will be authorized, but not required, to
               consummate the transaction with the Backup Bidder without further order of the
               Bankruptcy Court. In such case, the defaulting Successful Bidder’s deposit, if
               any, shall be forfeited to the Debtor’s estate. The closing date to consummate
               the transaction with the Backup Bidder shall be the later of (a) sixty (60) days
               after the date that the Debtor provides notice to the Backup Bidder that the
               Successful Bidder failed to consummate a Sale and that the Debtor desires to
               consummate the transaction with the Backup Bidder, or (b) March 31, 2022 (the
               “Outside Closing Date”). The deposit, if any, of the Backup Bidder shall be held
               by the Debtor until the earlier of two (2) business days after (a) the closing of
               the Sale with the Successful Bidder and (b) the Outside Backup Date; provided,
               however, that in the event the Successful Bidder does not consummate the
               transaction as described above and the Debtor provides notice to the Backup
               Bidder, the Backup Bidder’s deposit shall be held until the closing of the
               transaction with the Backup Bidder. In the event that the Debtor fails to
               consummate a transaction with the Backup Bidder as described above, the
               Backup Bidder’s deposit shall be forfeited to the Debtor’s estate.

       (h)     Diligence Materials. To participate in the Bidding Process and to receive access to
               any materials relating to the Assets (the “Diligence Materials”), a party must submit
               to the Debtor an executed Confidentiality Agreement, signed and transmitted by
               the person or entity wishing to have access to the Diligence Materials.

       (i)     Reservation of Rights. The Debtor reserves the right to modify the Bid
               Procedures in its reasonable business judgment in any manner, after consultation
               with the Consultation Parties, that will best promote the goals of the Bidding
               Process or impose, at or prior to the Auction, additional customary terms and
               conditions on the Sale of the Assets.

       26.     Importantly, the Bid Procedures recognize the Debtor’s fiduciary obligations to

maximize sale value and, as such, do not impair the Debtor’s ability to consider all Qualified Bid

proposals. Additionally, as noted above, the Bid Procedures preserve the Debtor’s right to modify

the Bid Procedures as necessary or appropriate to maximize value of the Debtor’s estate.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 17 of 140




II.    Stalking Horse Protections.

       27.     If the Stalking Horse Agreement has not been terminated by the Debtor based on a

material breach by the Stalking Horse and the Debtor sells all or any substantial portion of the

Assets in a transaction or series of transactions with one or more persons other than the Stalking

Horse pursuant to the terms of the Bid Procedures, upon consummation of such transaction or

transactions, from the proceeds of such a sale or sales, the Debtor shall pay the Stalking Horse the

sum of $910,000.00 (the “Stalking Horse Payment” or the “Stalking Horse Projections”).

       28.     Except for the Stalking Horse, no other party submitting an offer or Bid for all or

any of the Assets or a Qualifying Bid shall be entitled to any expense reimbursement, breakup fee,

termination, or similar fee or payment or any other protection against the Debtor designating

another party as the Successful Bidder or Backup.

III.   The Auction and Sale.

       29.     If one or more Qualified Bids are received by the Bid Deadline (other than the

Stalking Horse Agreement), the Debtor will conduct an Auction to determine the highest and

otherwise best Qualified Bid. This determination shall take into account any factors the Debtor

reasonably deems relevant to the value of the Qualified Bid to the Debtor’s estate, after

consultation with the Consultation Parties, including, without limitation, the following: (a) the

amount and nature of the consideration; (b) the proposed assumption of any liabilities and/or

executory contracts or unexpired leases; (c) the ability of the Qualified Bidder to close the

proposed transaction; (d) the proposed closing date and the likelihood, extent and impact of any

potential delays in closing, including delays owing to regulatory uncertainty; (e) any purchase

price adjustments; (f) the impact of the transaction on any actual or potential litigation; and (g) the

net after-tax consideration to be received by the Debtor’s estate (the “Bid Assessment Criteria”).

If no Qualified Bid (other than the Stalking Horse Agreement) is received by the Bid Deadline and
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                     Page 18 of 140




the Bond Trustee has not indicated its intention to exercise its right to submit a Credit Bid, the

Debtor may determine not to conduct the Auction and deem the Stalking Horse Agreement to be

the Successful Bid without conducting the Auction. The Debtor seeks authority from the Court to

schedule the Auction on a date as described in the Bid Procedures.

IV.    Form and Manner of Sale Notice

       30.     On or within five (5) business days after entry of the Bid Procedures Order, the

Debtor will cause the Sale Notice to be served on the following parties or their respective counsel,

if known: (a) the Office of the United States Trustee for Region 1, James C. Cleveland Building,

53 Pleasant Street, Suite 2300, Concord, NH 03301 (the “U.S. Trustee”); (b) counsel to the Bond

Trustee; (c) counterparties to the Contracts (the “Contract Counterparties”); (d) all parties who

have expressed a written interest in the Assets; (e) all parties who are known or reasonably

believed, after reasonable inquiry, to have asserted any lien, encumbrance, claim, or interest in the

Assets; (f) the Internal Revenue Service; (g) all other applicable state and local taxing authorities;

(h) all the Debtor’s other creditors; (i) each governmental agency that is an interested party with

respect to the Sale and transactions proposed thereunder; and (j) all parties that have requested or

that are required to receive notice pursuant to Bankruptcy Rule 2002.

V.     Summary of the Assumption Procedures.

       31.     The Debtor is also seeking approval of the Assumption Procedures to facilitate the

fair and orderly assumption and assignment of the Contracts in connection with the Sale. Pursuant

to the Bid Procedures Order, notice of the proposed assumption and assignment of the Contracts

to the Successful Bidder, the proposed cure amounts, and the right, procedures, and deadlines for

objecting, will be provided in separate notices, attached to the Bid Procedures Order as Exhibit 3

(the “Cure and Possible Assumption and Assignment Notice”) and Exhibit 4 (the “Assumption

Notice”) to be sent to the Contract Counterparties. Because the Bid Procedures Order sets forth
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 19 of 140




the Assumption Procedures in detail, they are not restated here. Generally, however, the

Assumption Procedures: (a) outline the process by which the Debtor will serve notice to all

Contract Counterparties regarding the proposed assumption and assignment and related cure

amounts, if any, informing such parties of their right, and the procedures, to object; and (b)

establish objection and other relevant deadlines and the manner for resolving disputes relating to

the assumption and assignment of the Contracts to the extent necessary.

                                          Basis for Relief

I.     The Relief Sought in the Bid Procedures Order Is in the Best Interests of the Debtor’s
       Estate and Should Be Approved.

       A.      The Proposed Notice of the Bid Procedures and the Sale Process Is Appropriate.

       34.     The Debtor seeks to sell the Assets through an Auction and related sale process,

subject to the Debtor’s right to seek an alternative course of action to maximize the value of its

estate. The Debtor and its advisors have conducted and will conduct an extensive marketing

process. The Debtor has developed a list of “Contact Parties” who will receive a copy of the

“Information Package” (both as defined in the Bid Procedures). The list of Contact Parties will

encompass those parties whom the Debtor believes may potentially be interested in pursuing a

Sale and whom the Debtor reasonably believes may have the financial resources to consummate

such a transaction. The Bid Procedures are designed to elicit bids from one or more parties and to

encourage a robust auction of the Assets, thus maximizing the value of the Debtor’s estate for the

benefit of its creditors and other stakeholders.

       35.     Under Bankruptcy Rule 2002(a) and (c), the Debtor is required to notify creditors

of the proposed sale of the Assets, including a disclosure of the time and place of any auction, the

terms and conditions of a sale, and the deadline for filing any objections. The Debtor respectfully

submits that the Sale Notice is reasonably calculated to provide all interested parties with timely
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 20 of 140




and proper notice of the proposed Sale, including: (a) the date, time, and place of the Auction (if

one will be held); (b) the Bid Procedures; (c) the deadline for filing objections to the Sale and entry

of the Sale Order, and the date, time, and place of the Sale Hearing; (d) a reasonably specific

identification of the Assets; (e) a description of the Sale as being free and clear of liens, claims,

interests, and other encumbrances, with all such liens, claims, interests, and other encumbrances

attaching with the same validity and priority to the Sale proceeds; and (f) notice of the proposed

assumption and assignment of the Contracts to the Successful Bidder.

       36.     The Debtor further submits that notice of this Motion and the related hearing to

consider entry of the Bid Procedures Order, coupled with service of the Sale Notice, the Cure and

Possible Assumption and Assignment Notice, and the Assumption Notice, as provided for herein,

constitutes good, adequate, and constitutionally sufficient notice of the Sale and the proceedings

with respect thereto in compliance with, and satisfaction of, the applicable requirements of

Bankruptcy Rule 2002. The Debtor further submits that the proposed notice procedures are

designed to maximize the chance of obtaining the broadest possible participation in the Debtor’s

marketing process, while minimizing costs to the estate as much as possible. Accordingly, the

Debtor respectfully requests that the Court find that the proposed notice procedures set forth in

this Motion are sufficient, and that no other or further notice of the Bid Procedures, Auction, Sale,

or Sale Hearing is required.

       B.      The Bid Procedures Are Appropriate and Will Maximize Value.

       37.     Bidding procedures should be approved when they provide a benefit to the debtor’s

estate by maximizing the value of the debtor’s assets. See In re Edwards, 228 B.R. 552, 361

(Bankr. E.D. Pa. 1998) (“The purpose of procedural bidding orders is to facilitate an open and fair

public sale designed to maximize value for the estate.”). Courts have made clear that a debtor’s

business judgment is entitled to substantial deference with respect to the procedures to be used in
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                     Page 21 of 140




selling an estate’s assets. See In re Schipper, 933 F.2d 513, 515 (7th Cir. 1991) (“Under Section

363, the debtor in possession can sell property of the estate . . . if he has an ‘articulated business

justification’”); In re Martin, 91 F.3d 389, 395 (3d Cir. 1996) (same); In re Montgomery Ward

Holding Corp., 242 B.R. 147, 153 (D. Del. 1999) (same); see also In re Integrated Resources, Inc.,

147 B.R. 650, 656-57 (S.D.N.Y. 1992) (noting that bidding procedures that have been negotiated

by a trustee are to be reviewed in accordance with the deferential “business judgment” standard,

under which such procedures and arrangements are “presumptively valid”).

       38.     The paramount goal in any proposed sale of property of the estate is to maximize

the proceeds received by the estate. See Mushroom Transp. Co., Inc., 382 F.3d 325, 339 (3d Cir.

2004); Official Comm. of Unsecured Creditors of Cybergenics, Corp. v. Chinery, 330 F.3d 548,

573 (3d Cir. 2003); see also In re Food Barn Stores, Inc., 101 F.3d 558, 564-65 (8th Cir. 1997) (in

bankruptcy sales, “a primary objective of the Code [is] to enhance the value of the estate at hand”);

Integrated Resources, 147 B.R. at 659 (“[I]t is a well-established principle of bankruptcy law that

the objective of the bankruptcy rules and the trustee’s duty with respect to such sales is to obtain

the highest price or greatest overall benefit possible for the estate.”); Edwards, 228 B.R. at 561.

       39.     To that end, courts uniformly recognize that procedures intended to enhance

competitive bidding are consistent with the goal of maximizing the value received by the estate

and therefore appropriate in the context of bankruptcy transactions. See In re O’Brien Envtl.

Energy, Inc., 181 F.3d 527, 537 (3d Cir. 1999); Integrated Resources, 147 B.R. at 659 (bidding

procedures “are important tools to encourage bidding and to maximize the value of the Debtors’

assets”); In re Fin. News Network, Inc., 126 B.R. 152, 156 (Bankr. S.D.N.Y.1991) (“court-imposed

rules for the disposition of assets . . . [should] provide an adequate basis for comparison of offers,

and [should] provide for a fair and efficient resolution of bankrupt estates”).
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                     Page 22 of 140




       40.     The Debtor believes that the Bid Procedures will establish the parameters under

which the value of the Sale may be tested at the Auction. The Bid Procedures will increase the

likelihood that the Debtor will receive the greatest possible consideration because they will ensure

a competitive and fair bidding process.

       41.     The Debtor believes that the proposed Bid Procedures will promote active bidding

from seriously interested parties and will elicit the highest or otherwise best offers available for

the Assets. The proposed Bid Procedures will enable the Debtor to conduct the Sale in a controlled,

fair, and open fashion that will encourage participation by financially capable bidders who will

offer the best package for the Assets and who can demonstrate the ability to close the transaction.

       42.     Specifically, the Bid Procedures contemplate an open auction process with

reasonable barriers to entry and provide potential bidding parties with sufficient time to perform

due diligence and acquire the information necessary to submit a timely and well-informed Bid. At

the same time, the Bid Procedures provide the Debtor with a robust opportunity to consider

competing Bids and select the highest or otherwise best offer for the completion of the Sale.

Additionally, the Debtor’s entry into the Stalking Horse Agreement with the Stalking Horse will

ensure that the Debtor obtains fair market value for the Assets by setting a minimum purchase

price that will be tested in the marketplace. As such, creditors of the Debtor’s estate can be assured

that the consideration obtained will be fair and reasonable and at or above the market value.

       43.     In sum, the Debtor believes the Bid Procedures will encourage bidding for the

Assets and are consistent with the relevant standards governing auction proceedings and bidding

incentives in bankruptcy proceedings. Accordingly, the proposed Bid Procedures are reasonable,

appropriate, and within the Debtor’s sound business judgment.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 23 of 140




       C.      Entering into the Stalking Horse Agreement with Stalking Horse Protections Has
               a Sound Business Purpose and Should be Approved.

       44.     Pursuant to this Motion, the Debtor is seeking approval of this Court of the Stalking

Horse Agreement and approval of the Stalking Horse Protections. The Debtor believes that, in this

case, such relief is warranted to ensure the Debtor’s ability to take advantage of a potentially value-

maximizing bid. The ability of the Debtors to offer the Stalking Horse Purchaser the Stalking

Horse Protections is beneficial to the Debtors’ estates and creditors in that, by providing these

incentives, the Debtors will have an opportunity to induce a Potential Bidder to submit or increase

its bid prior to the Auction.

       45.     As noted above, the Stalking Horse was induced to submit its stalking horse bid in

reliance on the promise by the Debtor to seek the Stalking Horse Protections and in reasonable

expectation that this Court would enter an order providing such relief. The Debtor submits that the

Stalking Horse Protections are a normal, and oftentimes necessary, component of sales outside of

the ordinary course of business under Bankruptcy Code section 363. In particular, such protections

encourage a potential purchaser to invest the requisite time, money, and effort to conduct due

diligence and sale negotiations with a debtor despite the inherent risks and uncertainties of the

chapter 11 process. Integrated Resources, 147 B.R. at 660 (noting that fees may be legitimately

necessary to convince a “white knight” to offer an initial bid by providing some form of

compensation for the expenses such bidder incurs and the risks such bidder faces by having its

offer held open, subject to higher and better offers); In re Hupp Indus., 140 B.R. 191, 194 (Bankr.

N.D. Ohio 1997) (without any reimbursement, “bidders would be reluctant to make an initial bid

for fear that their first bid will be shopped around for a higher bid from another bidder who would

capitalize on the initial bidder’s… due diligence”); In re Marrose Corp., Case No. 89 B 12171

(CB), 1992 WL 33848, at *5 (Bankr. S.D.N.Y. Feb. 15, 1992) (stating that “agreements to provide
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 24 of 140




reimbursement of fees and expenses are meant to compensate the potential acquirer who serves as

a catalyst or ‘stalking horse[,]’ which attracts more favorable offers”); In re 995 Fifth Ave. Assocs.,

96 B.R. 24, 28 (Bankr. S.D.N.Y. 1989) (finding that bidding incentives may be “legitimately

necessary to convince a white knight to enter the bidding process by providing some form of

compensation for the risks it is undertaking”) (citations omitted).

       46.     In this case, the Stalking Horse Protections consist of a Stalking Horse Payment of

$910,000. A proposed bidding incentive, such as the Stalking Horse Payment, should be approved

when it is in the best interests of the estate. See In re S.N.A. Nut Co., 186 B.R. 98, 104 (Bankr.

N.D. Ill. 1995); see also In re America West Airlines, Inc., 166 B.R. 908 (Bankr. D. Ariz. 1994);

In re Hupp Indus., Inc., 140 B.R. 191 (Bankr. N.D. Ohio 1992). Typically, this requires that the

bidding incentive provide some benefit to the debtor’s estate. Calpine Corp. v. O’Brien Envtl.

Energy, Inc. (In re O’Brien Envtl. Energy, Inc.), 181 F.3d 527, 533 (3d Cir. 1999) (holding that

even though bidding incentives are measured against a business judgment standard in non-

bankruptcy transactions, the administrative expense provisions of Bankruptcy Code section 503(b)

govern in the bankruptcy context).

       47.     In O’Brien, the Third Circuit found that whether breakup fees and expenses could

be paid to Calpine Corp. as a “stalking horse” depended on whether such fees were necessary to

preserve the value of the estate. O’Brien, 181 F.3d at 536. The court determined that Calpine

Corp.’s right to breakup fees and expenses depended on whether it provided a benefit to the

debtor’s estate by promoting competitive bidding or researching the value of the assets at issue to

increase the likelihood that the selling price reflected the true value of the company. Id. at 537.

The Debtor believes that approval of the Stalking Horse Protections will create such a competitive

bidding process.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 25 of 140




       48.     The Debtor believes that the proposed Stalking Horse Payment is fair and

reasonably compensates the Stalking Horse for taking actions that will benefit the Debtor’s estate.

The payment compensates the Stalking Horse for diligence and professional fees incurred in

negotiating the terms of the Stalking Horse Agreement on an expedited timeline.

       49.     Moreover, the proposed Stalking Horse Protections are the result of an arm’s-length

negotiated agreement between the Debtor and the Stalking Horse. There is no evidence or reason

to believe that the relationship between the Debtor and the Stalking Horse has been tainted by self-

dealing or manipulation.

       50.     The Debtor does not believe the Stalking Horse Protections will have a chilling

effect on the sale process. Rather, the Stalking Horse has increased the likelihood that the best

possible price for the Assets will be received by permitting other qualified bidders to rely on the

diligence performed by the Stalking Horse, and moreover, by allowing qualified bidders to use the

Stalking Horse Agreement as a platform for negotiations and modifications in the context of a

competitive bidding process.

       51.     In sum, the Stalking Horse Protections are reasonable under the circumstances and

will enable the Debtor to maximize the value for the Assets while limiting any chilling effect on

the sale process. The Stalking Horse Protections are not only necessary given the risk the Debtor

assumes in forgoing a known, willing, and able purchaser for a new potential acquirer, but also to

ensure that there is an increase in the net proceeds received by its estate, after deducting the

Stalking Horse Protections to be paid to the Stalking Horse in the event of a prevailing overbid.

       52.     Courts in the First Circuit have repeatedly recognized the importance of bid

protections for stalking horse bidders. See, e.g., In re Wintex, Inc., 158 B.R. 540, 543 (D. Mass.

1992) (stating that a “debtor may avoid the increased costs and complexity associated with
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 26 of 140




considering additional bids unless the additional bids are high enough to justify their pursuit” and

a “10% increase requirement is one example of a reasonable litmus test”); In re Lexington Jewelers

Exchange, Inc., d/b/a Alpha Omega Jewelers, Case No. 08-10042 (WCH) [Docket No. 42] (Bankr.

D. Mass. Jan. 4, 2009) (approving breakup fee in order approving bid procedures); In re Syratech

Corporation, Case No. 05-11062 (RS) (Bankr. D. Mass. 2005) (authorizing breakup fee and

expense reimbursement in order approving bid procedures) [Docket No. 290]; In re Dehon, Inc.

(f/k/a In re Arthur D. Little, Inc.), Case No. 02-41045 (HJB) (Bankr. D. Mass. 2002) [Docket No.

86] (approving bid procedures which provide for a $1,000,000 reimbursement expense to the

stalking horse bidder in the event another bidder was deemed the highest or best offer).

       D.      The Proposed Notice Procedures for the Assigned Contracts and the
               Identification of Related Cure Amounts Are Appropriate.

       53.     As set forth above, the Sale contemplates the potential assumption and assignment

of the Contracts to the Successful Bidder arising from the Auction, if any. In connection with this

process, the Debtor believes it is necessary to establish a process by which: (a) the Debtor and the

Contract Counterparties can reconcile cure obligations, if any, in accordance with Bankruptcy

Code sections 105(a) and 365; and (b) such counterparties can object to the potential Assumption

Procedures.

       54.     The Bid Procedures specify the process by which the Debtor will serve Cure and

Possible Assumption and Assignment Notices and the procedures and deadline for Contract

Counterparties to Assigned Contracts to file and serve Cure or Assignment Objections.

       55.     Except as may otherwise be agreed to in the Successful Bid or by the parties to an

Assigned Contract, at the closing of the Sale, the Successful Bidder shall cure those defaults under

the Assigned Contracts that need to be cured in accordance with Bankruptcy Code section 365(b)

by (a) payment of the undisputed cure amount (the “Cure Amount”) and/or (b) reserving amounts
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 27 of 140




with respect to any disputed cure amounts. Should the Stalking Horse be the Successful Bidder,

the Debtor shall cure those defaults under the Assigned Contracts that need to be cured in

accordance with Bankruptcy Code section 365(d), by (a) payment of the Cure Amount and/or (b)

reserving the full disputed amount with respect to any disputed cure amounts.

       56.      As set forth in the Bid Procedures Order, the Debtor also requests that any party

that fails to object to the proposed assumption and assignment of any Contract be deemed to

consent to the assumption and assignment of the applicable Contract pursuant to Bankruptcy Code

section 365 on the terms set forth in the Sale Order, along with the Cure Amounts identified in the

Cure and Possible Assumption and Assignment Notice. See, e.g., In re Tabone, Inc., 175 B.R. 855,

858 (Bankr. D.N.J. 1994) (by not objecting to the Motion, a creditor is deemed to consent); Pelican

Homestead v. Wooten (In re Gabel), 61 B.R. 661, 667 (Bankr. W.D. La. 1985) (same).

       57.     The Debtor believes that the Assumption Procedures are fair and reasonable,

provide sufficient notice to the Contract Counterparties of the potential assumption and assignment

of their Contracts, and provide certainty to all parties in interest regarding their obligations and

rights with respect thereof. Accordingly, the Debtor requests that the Court approve the

Assumption Procedures set forth in the Bid Procedures Order.

II.    Approval of the Proposed Sale Is Appropriate and in the Best Interests of the Estate.

       A.      The Asset Sale Should Be Authorized Pursuant to Bankruptcy Code Section 363
               as a Sound Exercise of the Debtor’s Business Judgment.

       58.     Bankruptcy Code section 363(b)(1) provides that a debtor, “after notice and a

hearing, may use, sell or lease, other than in the ordinary course of business, property of the estate.”

11 U.S.C. § 363(b)(1). A sale of the debtor’s assets should be authorized pursuant to Bankruptcy

Code section 363 if a sound business purpose exists for the proposed transaction. See, e.g., Meyers

v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996) (“Under Section 363, the debtor-in-
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                           Page 28 of 140




possession can sell property of the estate . . . if he has an ‘articulated business justification’ . . . .”);

In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (Bankr. D. Del. 1999); In re Del. &

Hudson Ry. Co., 124 B.R. 169, 174 (Bankr. D. Del. 1991); see also In re Schipper, 933 F.2d 513,

515 (7th Cir. 1991) (same); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.),

722 F.2d 1063, 1070 (2d Cir. 1983); In re Telesphere Commc’ns, Inc., 179 B.R. 544, 552 (Bankr.

N.D. Ill. 1999). A sound business purpose for the sale of a debtor’s assets outside the ordinary

course of business may be found where such a sale is necessary to preserve the value of assets for

the estate, its creditors or interest holders. See, e.g., In re Abbotts Dairies of Pa, Inc., 788 F.2d 143

(3d Cir. 1986); In re Lionel Corp., 722 F.2d 1063 (2d Cir. 1983).

        59.      Courts typically consider the following factors in determining whether a proposed

sale satisfies this standard: (a) whether a sound business justification exists for the sale; (b) whether

adequate and reasonable notice of the sale was given to interested parties; (c) whether the sale will

produce a fair and reasonable price for the property; and (d) whether the parties have acted in good

faith. See Del.& Hudson, 124 B.R. at 176; In re Phoenix Steel Corp., 82 B.R. 334, 335-36 (Bankr.

D. Del. 1987).

        60.      “Where the debtor articulates a reasonable basis for its business decisions (as

distinct from a decision made arbitrarily or capriciously), courts will generally not entertain

objections to the debtor’s conduct.” Comm. of Asbestos-Related Litigants and/or Creditors v.

Johns-Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986).

There is a presumption that “in making a business decision the directors of a corporation acted on

an informed basis, in good faith and in the honest belief that the action was in the best interests of

the company.” In re Integrated Res., 147 B.R. at 656 (quoting Smith v. Van Gorkom, 488 A.2d

858, 872 (Del. 1985)); see also In re S.N.A. Nut Co., 186 B.R. 98, 102 (Bankr. N.D. Ill. 1995)
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 29 of 140




(“The business judgment rule ‘is a presumption that in making the business decision the directors

of a corporation acted on an informed basis, in good faith, and in the honest belief that the action

was in the best interests of the company.”); In re Filene’s Basement, LLC, No. 11-13511 (KJC),

2014 WL 1713416, at *12 (Bankr. D. Del. Apr. 29, 2014) (“If a valid business justification exists,

then a strong presumption follows that the agreement at issue was negotiated in good faith and is

in the best interests of the estate.”). Thus, if a debtor’s actions satisfy the business judgment rule,

then the transaction in question should be approved under Bankruptcy Code section 363(b)(1).

Indeed, when applying the business judgment standard, courts show great deference to a debtor’s

business decisions. See Pitt v. First Wellington Canyon Assocs. (In re First Wellington Canyon

Assocs.), 1989 WL 106838, at *3 (N.D. III. 1989) (“Under this test, the debtor’s business judgment

. . . must be accorded deference unless shown that the bankrupt’s decision was taken in bad faith

or in gross abuse of the bankrupt’s retained discretion.”).

        61.    As set forth above, and in the First Day Declaration, the Debtor has a sound

business justification for selling the Assets. First, the Debtor believes that the Sale will maximize

the Assets’ going-concern value by allowing a party to bid on business assets that would have

substantially less value on a stand-alone basis. Moreover, to the extent that the Successful Bidder

assumes certain of the Contracts, it will result in payment in full for a number of the Debtor’s

creditors.

        62.    Second, the sale of the Assets will be subject to competing bids, enhancing the

Debtor’s ability to receive the highest or otherwise best value for the Assets. The value of the

Assets will be tested through the Auction conducted pursuant to and according to the Bid

Procedures. Ultimately, the Successful Bid, after being subject to a “market check” in the form of

the Auction and accepted by the Debtor in the exercise of its reasonable business judgment, will
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                     Page 30 of 140




constitute the highest or otherwise best offer for the Assets and will provide a greater recovery for

its estate than any known or practically available alternative. See, e.g., In re Trans World Airlines,

Inc., No. 01-00056, 2001 WL 1820326, at *4 (Bankr. D. Del. 2001) (while a “section 363(b) sale

transaction does not require an auction procedure . . . the auction procedure has developed over

the years as an effective means for producing an arm’s-length fair value transaction”).

Consequently, the fairness and reasonableness of the consideration to be paid by the Successful

Bidder ultimately will be demonstrated by adequate “market exposure” and an open and fair

auction process — the best means for establishing whether a fair and reasonable price is being

paid.

        63.    Thus, absent a change in circumstances that causes the Debtor to abandon the sale

process, the Debtor submits that the Successful Bidder’s purchase agreement will constitute the

highest or otherwise best offer for the Assets and will provide a greater recovery for the Debtor’s

estate than would be provided by any other available alternative. As such, the Debtor’s

determination to sell the Assets through an Auction process and subsequently to enter into the

purchase agreement with the Successful Bidder will be a valid and sound exercise of the Debtor’s

business judgment. The Debtor will submit evidence at the Sale Hearing to support these

conclusions. Therefore, the Debtor requests that the Court make a finding that the proposed sale

of the Assets is a proper exercise of the Debtor’s business judgment and is rightly authorized.

        B.     Adequate and Reasonable Notice of the Sale Will Be Provided.

        64.    As described above, the Sale Notice: (a) will be served in a manner that provides at

least 21-days’ notice of the date, time, and location of the Sale Hearing; (b) informs parties in

interest of the deadlines for objecting to the Sale or the assumption and assignment of the Contract;

and (c) otherwise includes all information relevant to parties interested in or affected by the Sale.

Significantly, the form and manner of the Sale Notice will have been approved by this Court
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                       Page 31 of 140




pursuant to the Bid Procedures Order, after notice and a hearing, before it is served on parties in

interest.

         C.     The Sale and Purchase Price Will Reflect a Fair-Value Transaction.

         65.    Where there is a court-approved auction process, a full and fair price is presumed

to have been obtained for the assets sold, as the best way to determine value is exposure to the

market. See Bank of Am. Nat’l Trust & Sav. Ass’n v. 203 N. LaSalle St. P’ship, 526 U.S. 434, 457

(1999). The Debtor will continue to market the Assets and solicit offers consistent with the Bid

Procedures, including, without limitation, by providing acceptable Bidders with access to Due

Diligence and requested information. In this way, the number of Bidders that are eligible to

participate in the competitive Auction process will be maximized. On the other hand, if the Debtor

enters into a Stalking Horse Agreement and no auction is held because no auction is necessary, the

Stalking Horse Agreement’s purchase price conclusively will have been demonstrated to be fair

value.

         D.     The Sale of the Assets Should Be Free and Clear of Interests Pursuant to
                Bankruptcy Code Section 363(f).

         66.    The Debtor further submits that it is appropriate to sell the Assets free and clear of

all liens, claims, encumbrances, and interests (collectively, the “Interests”) pursuant to Bankruptcy

Code section 363(f), with any such Interests attaching to the net sale proceeds of the Assets.

         67.    Bankruptcy Code section 363(f) permits a debtor to sell property free and clear of

another party’s interest in the property if (a) applicable nonbankruptcy law permits such a free and

clear sale; (b) the holder of the interest consents; (c) the interest is a lien and the sale price of the

property exceeds the value of all liens on the property; (d) the interest is the subject of a bona fide

dispute; or (e) the holder of the interest could be compelled in a legal or equitable proceeding to

accept a monetary satisfaction of its interest. See 11 U.S.C. § 363(f).
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                        Page 32 of 140




        68.     Section 363(f) is drafted in the disjunctive. Thus, satisfaction of any of the

requirements enumerated therein will suffice to permit the Debtor’s sale of the Assets free and

clear of all interests (i.e., all liens, claims, rights, interests, charges, or encumbrances), except with

respect to any interests that may be assumed liabilities under the applicable purchase agreement.

See In re Kellstrom Indus., Inc., 282 B.R. 787, 793 (Bankr. D. Del. 2002) (“[I]f any of five

conditions are met, the Debtors have the authority to conduct the sale free and clear of all liens.”);

see also In re Dundee Equity Corp., 1992 Bankr. LEXIS 436, at *12 (Bankr. S.D.N.Y. March 6,

1992) (“[s]ection 363(f) is in the disjunctive, such that the sale free of the interest concerned may

occur if any one of the conditions of § 363(f) have been met.”); Citcorp Homeowners Servs., Inc.

v. Eliot (In re Eliot), 94 B.R. 343, 345 (E.D. Pa. 1988) (same); Michigan Employment Sec. Comm’n

v. Wolverine Radio Co. (In re Wolverine Radio Co.), 930 F.2d 1132, 1147 n.24 (6th Cir. 1991)

(stating that Bankruptcy Code section 363(f) is written in the disjunctive; holding that the court

may approve the sale “free and clear” provided that at least one of the subsections of section 363(f)

has been satisfied).

        69.     The Debtor submits that, excluding assumed agreements, the Assets may be sold

free and clear of liens, claims, encumbrances, and other interests—all in accordance with at least

one of the five conditions of Bankruptcy Code section 363(f). Consistent with Bankruptcy Code

section 363(f)(2), each of the parties holding liens on the Assets, if any, will consent, or absent any

objection to this Motion, will be deemed to have consented to, the Sale and transfer of the Assets.

Furthermore, any party holding a valid lien against the Assets will be adequately protected by

having its liens, if any, attach to the sale proceeds received by the Debtor from the Sale of the

Assets to the Successful Bidder, in the same order of priority, with the same validity, force and

effect that such creditor had prior to such sale, subject to any claims and defenses the Debtor and
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 33 of 140




its estate may possess. Accordingly, Bankruptcy Code section 363(f) authorizes the sale and

transfer of the Assets free and clear of any such Interests.

       E.      The Assets and the Assigned Contracts Should Be Sold Free and Clear of
               Successor Liability.

       70.     The Sale Order will provide that the Successful Bidder shall not have any successor

liability related to Seller or the Assets to the maximum extent permitted by law. Extensive case

law establishes that claims against a winning bidder may be directed to the proceeds of a free and

clear sale of property, and may not subsequently be asserted against that buyer.

       71.     Although Bankruptcy Code section 363(f) provides for the sale of assets “free and

clear of any interests,” the term “any interest” is not defined anywhere in the Bankruptcy Code.

Folger Adam Security v. DeMatteis/MacGregor JV, 209 F.3d 252, 257 (3d Cir. 2000). In the case

of In re Trans World Airlines. Inc., 322 F.3d 283, 288-89 (3d Cir. 2003), the Third Circuit

specifically addressed the scope of the term “any interest.” The Third Circuit observed that while

some courts have “narrowly interpreted that phrase to mean only in rem interests in property,” the

trend in modern cases is towards “a more expansive reading of ‘interests in property’ which

‘encompasses other obligations that may flow from ownership of the property.’” Id. at 289 (citing

3 Collier on Bankruptcy 363.06[1]). As determined by the Fourth Circuit in In re Leckie Smokeless

Coal Co., 99 F.3d 573, 581-82 (4th Cir. 1996), a case cited approvingly and extensively by the

Third Circuit in Folger, the scope of section 363(f) is not limited to in rem interests. Thus, the

Third Circuit in Folger cited Leckie for the proposition that the debtors “could sell their assets

under § 363(f) free and clear of successor liability that otherwise would have arisen under federal

statute.” Folger, 209 F.3d at 258.

       72.     Courts have consistently held that a buyer of a debtor’s assets pursuant to a section

363 sale takes free from successor liability resulting from pre-existing claims. See In re Ormet,
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                     Page 34 of 140




2014 WL 3542133 at *4 (Bankr. D. Del. July 17, 2014); The Ninth Avenue Remedial Group v.

Allis-Chalmers Corp., 195 B.R. 716, 732 (Bankr. N.D. Ind. 1996) (stating that a bankruptcy court

has the power to sell assets free and clear of any interest that could be brought against the

bankruptcy estate during the bankruptcy); MacArthur Co. v. Johns-Manville Corp. (In re Johns-

Manville Corp.), 837 F.2d 89, 93-94 (2d Cir. 1988) (channeling of claims to proceeds consistent

with intent of sale free and clear under Bankruptcy Code section 363(f)); In re New England Fish

Co., 19 B.R. 323, 329 (Bankr. W.D. Wash. 1982) (transfer of property in free and clear sale was

free and clear of Title VII employment discrimination and civil rights claims of Debtors’

employees); In re Hoffman, 53 B.R. 874, 876 (Bankr. D.R.I. 1985) (transfer of liquor license free

and clear of any interest permissible even though the estate had unpaid taxes); American Living

Systems v. Bonapfel (In re All Am. of Ashburn, Inc.), 56 B.R. 186, 190 (Bankr. N.D. Ga. 1986)

(product liability claims precluded from being asserted against his successor in a sale of assets free

and clear); WBQ P’ship v. Virginia Dept. of Medical Assistance Services (In re WBQ P’ship), 189

B.R. 97, 104-05 (Bankr E D. Va. 1995) (Commonwealth of Virginia’s right to recapture

depreciation is an “interest” as used in section 363(f)).

       73.     The purpose and value of an order authorizing the transfer of the Assets would be

frustrated if claimants thereafter could use the transfer as a basis to assert claims against the

Successful Bidder. Under Bankruptcy Code section 363(f), the Successful Bidder is entitled to

know that the Assets are not tainted by latent claims that could be asserted against the Successful

Bidder after the proposed transaction is completed. Absent that ruling, the value of the Assets

could be severely compromised.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                       Page 35 of 140




        74.     Accordingly, there is substantial authority for any order approving the Sale of the

Assets to include a finding that the Successful Bidder is not liable as a successor under any theory

of successor liability, for Interests that encumber or relate to the Assets.

        F.      The Sale Has Been Proposed in Good Faith and Without Collusion, and the
                Successful Bidder Will Be a “Good-Faith Purchaser” Entitled to the Full
                Protection of Bankruptcy Code Section 363(m); and the Sale of the Assets Does
                Not Violate Bankruptcy Code Section 363(n).

        75.     The Debtor requests that the Court find that the Successful Bidder is entitled to the

benefits and protections provided by Bankruptcy Code section 363(m) in connection with the sale

of the Assets. Bankruptcy Code section 363(m) provides, in pertinent part:

                 [t]he reversal or modification on appeal of an authorization under
                subsection (b) or (c) of this section of a sale or lease of property does not
                affect the validity of a sale or lease under such authorization to an entity that
                purchased or leased such property in good faith, whether or not such entity
                knew of the pendency of the appeal, unless such authorization and such sale
                or lease were stayed pending appeal.

11 U.S.C. § 363(m).

        76.     Bankruptcy Code section 363(m) thus protects the purchaser of assets sold pursuant

to section 363 from the risk that it will lose its interest in the purchased assets if the order allowing

the sale is reversed on appeal, as long as such purchaser purchased the assets in “good faith.” While

the Bankruptcy Code does not define “good faith,” courts have held that a purchaser shows its

good faith through the integrity of its conduct during the course of the sale proceedings, finding

that, where there is a lack of such integrity, a good-faith finding may not be made. See, e.g., Abbotts

Dairies of Pa., 788 F.2d at 147 (“Typically, the misconduct that would destroy a [buyer’s] good

faith status at a judicial sale involves fraud, collusion between the [proposed buyer] and other

bidders or the trustee, or an attempt to take grossly unfair advantage of other bidders.”); In the

Matter of Andy Frain Servs., Inc., 798 F.2d 1113 (7th Cir. 1986) (same); In re Sasson Jeans, Inc.,

90 B.R. 608, 610 (S.D.N.Y. 1988) (same).
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                 Page 36 of 140




        77.       The Debtor submits that the Stalking Horse Bidder, or any other Successful Bidder

arising from the Auction would be a “good faith purchaser” within the meaning of Bankruptcy

Code section 363(m), and the resulting purchase agreement would be a good-faith agreement on

arm’s-length terms entitled to the protections of Bankruptcy Code section 363(m).4 First, as set

forth in more detail above, the consideration to be received by the Debtor pursuant to the Sale will

be subject to a market process by virtue of the Debtor’s marketing efforts and the Auction will be

substantial, fair, and reasonable. Second, the asset purchase agreement entered into by the Debtor

and the Successful Bidder (to the extent the Successful Bidder is someone other than the Stalking

Horse) will be the result of extensive arm’s-length negotiations, during which all parties will have

the opportunity to be, and the Debtor will be, represented by competent counsel, and any purchase

agreement with a Successful Bidder will be the culmination of the Debtor’s competitive market

process and, if necessary, the Auction, in which all negotiations will be conducted on an arm’s-

length, good-faith basis. Third, where—as the Debtor anticipates will be the case here—there is

no indication of any “fraud or collusion between the purchaser and other bidders or the trustee, or

an attempt to take grossly unfair advantage of other bidders” or similar conduct, there is no cause

that would permit the Sale to be avoided pursuant to Bankruptcy Code section 363(n). Moreover,

with respect to potential Bidders, the Bid Procedures are designed to ensure that no party is able

to exert undue influence over the process. Finally, the Successful Bidder’s offer will be evaluated

and approved by the Debtor in consultation with its advisors and the Consultation Parties.



4
  The Debtor believes that a finding of good faith within the meaning of Bankruptcy Code section 363(m) will be
appropriate for any Successful Bidder arising from the Auction, if any, and the Bid Procedures. Pursuant to the Bid
Procedures, any Successful Bidder will have had to present a proposal in accordance with the Bid Procedures. In
addition, the Debtor will not choose as the Successful Bidder or the Backup Bidder (as defined in the Bid Procedures)
any entity whose good faith under Bankruptcy Code section 363(m) can reasonably be doubted, and will be prepared
to present the Court with sufficient evidence to allow the Court to find that the “good faith” standard of Bankruptcy
Code section 363(m) has been satisfied.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 37 of 140




Accordingly, the Debtor believes that the Successful Bidder and the resulting purchase agreement

should be entitled to the full protections of Bankruptcy Code section 363(m).

       78.     Moreover, because there will be absolutely no fraud or improper insider dealing of

any kind, the Sale will not constitute an avoidable transaction pursuant to Bankruptcy Code section

363(n), and, as a result, the Successful Bidder should receive the protections afforded good faith

purchasers by Bankruptcy Code section 363(m). Accordingly, the Debtor requests that the Court

make a finding at the Sale Hearing that the agreement reached with the Successful Bidder was at

arm’s length and is entitled to the full protections of Bankruptcy Code section 363(m). The Debtor

will submit evidence at the Sale Hearing to support these conclusions.

       G.      Credit Bidding Should Be Authorized Pursuant to Bankruptcy Code Section
               363(k).

       79.     The Bond Trustee’s right to Credit Bid is appropriate. A secured creditor is allowed

to “credit bid” the amount of its claims in a sale of assets in which it has a security interest.

Bankruptcy Code section 363(k) provides, in relevant part, that unless the court for cause orders

otherwise, the holder of a claim secured by property that is the subject of the sale “may bid at such

sale, and, if the holder of such claim purchases such property, such holder may offset such claim

against the purchase price of such property.” 11 U.S.C. § 363(k). Even if a secured creditor is

undersecured as determined in accordance with Bankruptcy Code section 506(a), Bankruptcy

Code section 363(k) allows such secured creditor to bid the total face value of its claim and does

not limit the credit bid to the creditor’s economic value. See In re Submicron Sys. Corp., 432 F.3d

448, 459-60 (3d Cir. 2006) (explaining that “[i]t is well settled . . . that creditors can bid the full

face value of their secured claims under section 363(k)”).

       80.     Absent cause for restriction on credit bidding, courts have consistently ruled in

favor of reserving a secured creditor’s right to credit bid its claim. See In re Source Home Entm’t,
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 38 of 140




LLC, No. 14-115533 (KG) (Bankr. D. Del. July 21, 2014) (order approving Bid Procedures which

authorized parties with secured claims to credit bid); In re Fisker Auto. Hldgs, Inc., No. 13-13087

(KG) (Bankr. D. Del. Jan. 23, 2014) (order authorizing secured creditors to exercise right under

section 363(k) to make a credit bid); In re PTC Alliance Corp., No. 09-13395 (Bankr. D. Del. Nov.

6, 2009) (order authorizing, but not directing, the administrative agent to credit bid); In re Hayes

Lemmerz Int’l, Inc., No. 09-11655 (Bankr. D. Del. Sept. 22, 2009) (order authorizing interested

party to exercise its right under Bankruptcy Code section 363(k) to make a credit bid); In re

Foamex Int’l Inc., 09-10560, (Bankr. D. Del. May 27, 2009) (order authorizing the sale of

substantially all of the Debtors’ assets in a $155 million credit bid over a $151.5 million all-cash

bid); see also Cohen v. KB Mezzanine Fund II, LP (In re SubMicron Sys. Corp.), 432 F.3d 448,

459-60 (3d Cir. 2006) (citations omitted).

III.      The Assumption and Assignment of the Contracts Should Be Approved.

          A.    The Assumption and Assignment of the Contracts Reflects the Debtor’s
                Reasonable Business Judgment.

          81.   To facilitate and effectuate the sale of the Assets, the Debtor is seeking authority to

assign the Assigned Contracts to the Successful Bidder to the extent required by such Successful

Bidder.

          82.   Bankruptcy Code section 365 authorizes a debtor to assume and/or assign its

executory contracts and unexpired leases, subject to the approval of the court, provided that the

defaults under such contracts and leases are cured and adequate assurance of future performance

is provided. See 11 U.S.C. § 365(b)(1).

          83.   The standard applied in determining whether an executory contract or unexpired

lease should be assumed is the “business judgment” test, which requires a debtor to determine that

the requested assumption or rejection would be beneficial to its estate. See Sharon Steel Corp. v.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 39 of 140




Nat’l Fuel Gas Distrib. Corp., 872 F.2d 36, 40 (3d Cir. 1989); see also NLRB v. Bildisco &

Bildisco, 465 U.S. 513, 523 (1984) (describing business judgment test as “traditional”) (superseded

in part by 11 U.S.C. § 1113).

       84.     Courts generally will not second-guess a debtor’s business judgment concerning

the assumption of an executory contract. See In re Decora Indus., Inc., 2002 WL 32332749, at *8

(D. Del. 2002); Official Comm. for Unsecured Creditors v. Aust (In re Network Access Solutions,

Corp), 330 B.R. 67, 75 (Bankr. D. Del. 2005) (“The standard for approving the assumption of an

executory contract is the business judgment rule”); In re Exide Techs., 340 B.R. 222, 239 (Bankr.

D. Del. 2006) (“The propriety of a decision to reject an executory contract is governed by the

business judgment standard”); see also Phar Mor, Inc. v. Strouss Bldg. Assocs., 204 B.R. 948, 952

(N.D. Ohio 1997) (“Courts should generally defer to a Debtors’ decision whether to reject an

executory contract.”). A debtor’s decision to assume or reject an executory contract or unexpired

lease will not be subject to review unless such decision is clearly an unreasonable exercise of such

judgment. See, e.g., Group of Institutional Investors v. Chicago, Milwaukee, St. Paul & Pac. Ry.

Co., 318 U.S. 523 (1943) (applying Bankruptcy Act section 77(b), predecessor to section 365, and

rejecting a test of whether an executory contract was burdensome in favor of determining whether

rejection is within the debtor’s business judgment); see also Sharon Steel, 872 F.2d at 40

(describing deference to a debtor’s business judgment as “breathing space afforded [to] the debtor

to consider whether to reject or assume executory contracts under the Code”); Network Access

Solutions, 330 B.R. at 75; Exide Techs., 340 B.R. at 239.

       85.     The Court here should approve the decision to assume and assign the Assigned

Contracts in connection with the Sale as a sound exercise of the Debtor’s business judgment. First,

the Assigned Contracts are necessary to operate the Assets and, as such, they are essential to
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                 Page 40 of 140




inducing the best offer for the Assets. Second, it is unlikely that any purchaser would want to

acquire the Assets unless a significant number of the Contracts needed to manage the day-to-day

operations were included in the transaction. Third, the Assigned Contracts will be assumed and

assigned as part of a process approved by the Court pursuant to the Bid Procedures Order and,

thus, will be reviewed by key constituents in the Chapter 11 Case. Accordingly, the Debtor submits

that the assumption and assignment of the Assigned Contracts, if required by the Successful

Bidder, should be approved as a sound exercise of the Debtor’s business judgment.

       86.     A debtor-in-possession may assign an executory contract or an unexpired lease of

the debtor if it assumes the agreement in accordance with Bankruptcy Code section 365(a), and

provides adequate assurance of future performance by the assignee, whether or not there has been

a default under the agreement. See 11 U.S.C. § 365(f)(2). Significantly, among other things,

adequate assurance may be provided by demonstrating the assignee’s financial health and

experience in managing the type of enterprise or property assigned. See, e.g., In re Bygaph, Inc.,

56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (stating that adequate assurance of future

performance is present when the prospective assignee of a lease from the debtors has financial

resources and has expressed willingness to devote sufficient funding to the business in order to

give it a strong likelihood of succeeding).

       87.     The meaning of “adequate assurance of future performance” depends on the facts

and circumstances of each case, but should be given “practical, pragmatic construction.” EBG

Midtown South Corp. v. McLaren/Hart Envtl. Eng’g Corp. (In re Sanshoe Worldwide Corp.), 139

B.R. 585, 592 (S.D.N.Y. 1992), aff’d, 993 F.2d 300 (2d Cir. 1993); Carlisle Homes, Inc. v. Azzari

(In re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J. 1988).
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 41 of 140




       88.     Contract Counterparties will have the opportunity to request additional adequate

assurance information by responding to the Cure and Possible Assumption and Assignment Notice.

Accordingly, the Debtor submits that the assumption and assignment of the Assigned Contracts as

set forth herein should be approved.

       89.     To assist in the assumption, assignment and sale of the Assigned Contracts, the

Debtor also requests that the Sale Order approving the Sale of the Assets provide that anti-

assignment provisions in the Assigned Contracts shall not restrict, limit or prohibit the assumption,

assignment and sale of the Assigned Contracts and are deemed and found to be unenforceable anti-

assignment provisions within the meaning of Bankruptcy Code section 365(f).

       90.     Bankruptcy Code section 365(f)(1) permits a debtor to assign unexpired leases and

executory contracts free from such anti-assignment restrictions, providing, in pertinent part, that:

               [N]otwithstanding a provision in an executory contract or unexpired lease
               of the debtor, or in applicable law, that prohibits, restricts, or conditions the
               assignment of such contract or lease, the trustee may assign such contract
               or lease under paragraph (2) of this subsection . . . .

11 U.S.C. § 365(f)(1).

       91.     Bankruptcy Code section 365(f)(1), by operation of law, invalidates provisions that

prohibit, restrict, or condition assignment of an executory contract or unexpired lease. See, e.g.,

Coleman Oil Co., Inc. v. The Circle K Corp. (In re The Circle K Corp.), 127 F. 3d 904, 910-11

(9th Cir. 1997) (“no principle of bankruptcy or contract law precludes us from permitting the

Debtors here to extend their leases in a manner contrary to the leases’ terms, when to do so will

effectuate the purposes of section 365”), cert. denied, 522 U.S. 1148 (1998). Bankruptcy Code

section 365(f)(3) goes beyond the scope of Bankruptcy Code section 365(f)(1) by prohibiting

enforcement of any clause creating a right to modify or terminate the contract or lease upon a

proposed assumption or assignment thereof. See, e.g., In re Jamesway Corp., 201 B.R. 73 (Bankr.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                        Page 42 of 140




S.D.N.Y. 1996) (section 365(f)(3) prohibits enforcement of any lease clause creating right to

terminate lease because it is being assumed or assigned, thereby indirectly barring assignment by

debtor; all lease provisions, not merely those entitled anti-assignment clauses, are subject to court’s

scrutiny regarding anti-assignment effect).

        92.     Other courts have recognized that provisions that have the effect of restricting

assignments cannot be enforced. See In re Rickel Home Ctrs., Inc., 240 B.R. 826, 831 (D. Del.

1998) (“In interpreting Section 365(f) [sic], courts and commentators alike have construed the

terms to not only render unenforceable lease provisions which prohibit assignment outright, but

also lease provisions that are so restrictive that they constitute de facto anti-assignment

provisions.”). Similarly, in In re Mr. Grocer., Inc., the court noted that:

                [the] case law interpreting § 365(f)(1) of the Bankruptcy Code establishes
                that the court does retain some discretion in determining that lease
                provisions, which are not themselves ipso facto anti-assignment clauses,
                may still be refused enforcement in a bankruptcy context in which there is
                no substantial economic detriment to the landlord shown, and in which
                enforcement would preclude the bankruptcy estate from realizing the
                intrinsic value of its assets.

77 B.R. 349, 354 (Bankr. D.N.H. 1987). Thus, the Debtor requests that any anti-assignment

provisions be deemed not to restrict, limit or prohibit the assumption, assignment and sale of the

Assigned Contracts, and be deemed and found to be unenforceable anti-assignment provisions

within the meaning of Bankruptcy Code section 365(f).

IV.     Relief Pursuant to Bankruptcy Rules 6004(h) and 6006(d) Is Appropriate.

        93.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease

of property . . . is stayed until the expiration of 14 days after the entry of the order, unless the court

orders otherwise.” Additionally, Bankruptcy Rule 6006(d) provides that an “order authorizing the

trustee to assign an executory contract or unexpired lease . . . is stayed until the expiration of 14

days after the entry of the order, unless the court orders otherwise.” The Debtor requests that the
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                    Page 43 of 140




Sale Order be effective immediately upon its entry by providing that the 14-day stays under

Bankruptcy Rules 6004(h) and 6006(d) be waived.

        94.     The purpose of Bankruptcy Rules 6004(h) and 6006(d) is to provide sufficient time

for an objecting party to appeal before an order can be implemented. See Advisory Committee

Notes to Fed. R. Bankr. P. 6004(h) and 6006(d). Although Bankruptcy Rules 6004(h) and 6006(d)

and the Advisory Committee Notes are silent as to when a court should “order otherwise” and

eliminate or reduce the 14-day stay periods, the leading treatise on bankruptcy suggests that the

14-day stay periods should be eliminated to allow a sale or other transaction to close immediately

“where there has been no objection to procedure.” 10 Collier on Bankruptcy ¶ 6004.10 (15th rev.

ed. 2006). Furthermore, if an objection is filed and overruled, and the objecting party informs the

court of its intent to appeal, the stay may be reduced to the amount of time actually necessary to

file such appeal. Id.

        95.     To maximize the value received from the Assets, and to ensure compliance with

the requirements of the Cash Collateral Order, the Debtor seeks to close the Sale as soon as possible

after the Sale Hearing. Accordingly, the Debtor requests that the Court waive the 14-day stay

periods under Bankruptcy Rules 6004(h) and 6006(d).

                          WAIVER OF MEMORANDUM OF LAW

        96.     The Debtor requests that the Court waive and dispense with the requirement set

forth in LBR 7102(b)(2) that any motion filed shall have an accompanying memorandum of law.

The legal authorities upon which the Debtor relies are set forth in the Motion. Accordingly, the

Debtor submits that a waiver of the requirements set forth in LBR 7102(b)(2) is appropriate under

the circumstances.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                    Page 44 of 140




                                             NOTICE

       97.     Notice of the Motion has been provided to: (a) the Office of the United States

Trustee for the District of New Hampshire; (b) counsel to the New Hampshire Insurance

Department; (c) the Office of the Attorney General of New Hampshire; (d) the United States

Attorney’s Office for the District of New Hampshire; (e) the Office of the New Hampshire

Secretary of State; (f) counsel to UMB Bank, as indenture trustee; (g) the Debtor’s twenty (20)

largest unsecured creditors; (h) any party filing a notice of appearance in this Chapter 11 Case; (i)

each governmental agency that is an interested party with respect to the Sale and transactions

proposed thereunder; and (j) counsel to the Stalking Horse Bidder.

       98.     The Debtor submits that, in light of the nature of the relief requested, no further

notice of this Motion is required.

                                     NO PRIOR REQUEST

       99.     No prior request for the relief sought in this Motion has been made to this or any

other court.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                     Page 45 of 140




       WHEREFORE, the Debtor respectfully requests that this Court: (a) enter the Bid

Procedures Order, in substantially the form attached hereto as Exhibit A; (b) enter the Sale Order,

which shall be filed prior to the Sale Hearing; and (c) grant such other and further relief as is just

and proper.

 Dated: August 30, 2021
                                                   /s/    Owen R. Graham
                                                   HINCKLEY, ALLEN & SNYDER LLP
                                                   Daniel M. Deschenes (Bar No. 14889)
                                                   Owen R. Graham (Bar No. 266701)
                                                   650 Elm Street
                                                   Manchester, New Hampshire 03101
                                                   Telephone: (603) 225-4334
                                                   Facsimile: (603) 224-8350
                                                   ddeschenes@hinckleyallen.com

                                                   -and-

                                                   Jennifer V. Doran (Pro Hac Vice Pending)
                                                   28 State Street
                                                   Boston, Massachusetts 02109
                                                   Telephone: (617) 345-9000
                                                   Facsimile: (617) 345-9020
                                                   jdoran@hinckleyallen.com

                                                   -and-

                                                   POLSINELLI PC
                                                   Jeremy R. Johnson (Pro Hac Vice Pending)
                                                   Stephen J. Astringer (Pro Hac Vice Pending)
                                                   600 Third Avenue, 42nd Floor
                                                   New York, New York 10016
                                                   Telephone: (212) 684-0199
                                                   Facsimile: (212) 684-0197
                                                   jeremy.johnson@polsinelli.com
                                                   sastringer@polsinelli.com

                                                   Proposed Counsel to the Debtor and Debtor
                                                   in Possession
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 46 of 140




                                    Exhibit A

                           Proposed Bid Procedures Order




78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                     Page 47 of 140




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE

    In re:                                                 )    Chapter 11
                                                           )
    The Prospect-Woodward Home,                            )    Case No. 21-10523 (BAH)
                                                           )
              Debtor.1                                     )
                                                           )

         ORDER (A) APPROVING BIDDING PROCEDURES IN CONNECTION
       WITH THE SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS,
       (B) APPROVING THE FORM AND MANNER OF NOTICE THEREOF, (C)
       AUTHORIZING THE DEBTOR TO ENTER INTO THE STALKING HORSE
      AGREEMENT, (D) AUTHORIZING PAYMENT OF THE STALKING HORSE
    PAYMENT AS AN ADMINISTRATIVE EXPENSE, (E) SCHEDULING AN AUCTION
    AND A SALE HEARING, (F) APPROVING PROCEDURES FOR THE ASSUMPTION
     AND ASSIGNMENT OF CONTRACTS, AND (G) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtor as debtor-in-possession

(the “Debtor”) for entry of an order (this “Order”) (a) authorizing and approving the bidding

procedures attached hereto as Exhibit 1 (the “Bid Procedures”) in connection with the sale of

substantially all of the Debtor’s assets (the “Assets”), (b) approving the form and manner of

notice in substantially the form attached hereto as Exhibit 2 (the “Sale Notice”) of an auction

(the “Auction”) and sale hearing (the “Sale Hearing”) with respect to the sale of the Assets

free and clear of liens, claims, encumbrances, and other interests (the “Sale”), (c) authorizing

the Debtor to enter into the Stalking Horse Agreement (as defined hereinafter), (d) authorizing

payment of the Stalking Horse Payment as a super priority administrative expense,

(e) scheduling the Auction and the Sale Hearing, and (f) approving procedures for the possible


1
  The last four digits of the Debtor’s federal taxpayer identification are 2146. The address of the Debtor’s headquarters
is 95 Wyman Road, Keene, New Hampshire 03431
2
   Reference is made herein to the Motion, the procedures that are attached to this Order as Exhibit 1 (the “Bid
Procedures”), and that certain Asset Purchase Agreement dated as of August 17, 2021 between Covenant Living
Services (the “Stalking Horse”) and Debtor (the “Stalking Horse Agreement”). Capitalized terms used but not defined
in this Order shall have the meanings stated in the Motion, the Bid Procedures, or the Stalking Horse Agreement, as
applicable.




78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 48 of 140




assumption and assignment of certain executory contracts and unexpired leases in connection with

the Sale (collectively, the “Contracts”); the Court having reviewed the Motion and the First Day

Declaration; and the Court having jurisdiction over this matter pursuant to 28 U.S.C. 157 and §§

1334(b); and the Court having found that this matter is a core proceeding pursuant to 28 U.S.C. §

157(b)(2); and the Court having found that venue of this proceeding and the Motion in this district

is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having determined that the relief

requested in the Motion is in the best interests of the Debtor, the estate, creditors, and other parties

in interest; and it appearing that proper and adequate notice of the Motion has been given and that

no other or further notice is necessary; and upon the record herein; and after due deliberation

thereon; and good and sufficient cause appearing therefore,

         THE COURT FINDS THAT:

         A.    The findings and conclusions set forth herein constitute the Court’s findings of fact

and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding

pursuant to Bankruptcy Rule 9014. To the extent that any of the following findings of fact

constitute conclusions of law, they are adopted as such. To the extent that any of the following

conclusions of law constitute findings of fact, they are adopted as such.

         B.    The Debtor has articulated good and sufficient reasons for this Court to (i) approve

the Bid Procedures; (ii) authorize the Debtor to enter into the Stalking Horse Agreement; (iii)

authorize payment of the Stalking Horse Payment as an allowed super-priority administrative

expense; (iv) schedule the Auction and Sale Hearing and approve the manner of notice of the

Auction and Sale Hearing; and (v) approve procedures for the assumption and assignment of the

Contracts, including notice of the proposed cure amounts.




                                                   3
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 49 of 140




         C.     The Debtor reasonably determined in the exercise of the business judgment that the

Bid Procedures are fair, reasonable, and appropriate and represent the best method for maximizing

the value of the Assets for the benefit of the Debtor and its estate.

         D.     The Bid Procedures were negotiated in good faith by the Debtor and the Stalking

Horse for purposes of Bankruptcy Code section 363(m).

         E.     Assumption and Assignment Procedures. The Motion, this Order, and the

assumption and assignment procedures (the “Assignment Procedures”) provide counterparties

with proper and reasonable notice of the potential assumption by the Debtor and assignment to the

Successful Bidder of their Contracts, the procedures associated therewith, and any cure amounts

relating thereto.

         F.     Sale Notice. The Sale Notice provides interested parties with timely and proper

notice of the proposed Sale, including, without limitation: (a) the date, time, and place of the

Auction (if one is held); (b) the Bid Procedures; (c) the deadline for filing objections to the Sale

and entry of the Sale Order, and the date, time, and place of the Sale Hearing; (d) reasonably

specific information concerning the Assets to be sold; (e) a description of the Sale as being free

and clear of liens, claims, encumbrances, and other interests (collectively, “Interests”), with all

such Interests attaching with the same validity and priority to the Sale proceeds; and (f) notice of

the proposed assumption and assignment of Contracts to the Successful Bidder. No other or further

notice of the Sale shall be required.

         G.     The Debtor has demonstrated a compelling business justification for the payment

of the Stalking Horse Payment under the circumstances set forth in the Stalking Horse Agreement,

including without limitation, (i) the amount of the proposed Stalking Horse Payment is reasonable

as compared to other cases with similar circumstances, (ii) the presence of a stalking horse will




                                                  4
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 50 of 140




encourage competitive bidding, and (iii) because any Overbid must surpass the amount of the

Stalking Horse Payment, the estate will benefit even if the Stalking Horse Payment is made.

         THEREFORE, IT IS HEREBY ORDERED THAT:

         1.    The Motion is GRANTED as set forth herein.

         2.    All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled, and all reservations of rights included therein, are overruled.

         3.    The Bid Procedures, in the form attached hereto as Exhibit 1, are approved in their

entirety and incorporated into this Order by reference, and the Bid Procedures shall govern the sale

of the Assets, including the Auction, and the Debtor is authorized to take any and all actions

necessary to implement the Bid Procedures.

II.      The Auction

         4.    As further described in the Bid Procedures, the Auction, if any, shall take place on

November 3, 2021 at 10:00 a.m. (prevailing Eastern Time), at [●] or such later time on such day

or other place as may be set pursuant to the Bid Procedures. The Debtor may permit bidders to

participate remotely subject to all of the other terms contained herein.

         5.    The Bond Trustee shall be deemed to be a Qualified Bidder and is not required to

make any Good Faith Deposit. The Bond Trustee may participate in the Auction and may credit

bid up to the conclusion of the Auction, in its sole and absolute discretion, any portion and up to

the entire amount of the Bond Trustee’s claims at any time on all the Assets constituting its

collateral; provided, however, the Bond Trustee must bid in cash at least the amount of the Stalking

Horse Payment, which amount must be payable in cash at the Closing (the “Credit Bid”). Upon

exercise of a Credit Bid, the Bond Trustee shall not be required to take title to or ownership of, or

have any obligation in connection with, or be deemed to have taken title to or ownership of, or

have any obligation in connection with, any Assets, and the Bond Trustee shall have the right to


                                                  5
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                  Page 51 of 140




designate any person or entity in its sole and absolute discretion that shall take title to the Assets

that are subject to the Credit Bid. The Bond Trustee will not be a Backup Bidder unless the Bond

Trustee consents in writing otherwise. If the Bond Trustee elects to exercise its right to Credit Bid,

such bid shall provide that the Stalking Horse Payment must be paid in cash.

          6.       Subject to the prior paragraph, the Stalking Horse shall have the right (including as

part of any Overbid) to credit bid all or a portion of its Stalking Horse Payment (if any) pursuant

to Bankruptcy Code section 363(k).3

          7.       In the event of a competing Qualified Bid, all Qualified Bidders will be entitled,

but not obligated, to submit Overbids. The initial Overbid shall be equal to or exceed $34,010,000,

the aggregate amount of the Stalking Horse Bid ($33,000,000), Stalking Horse Payment

($910,000), and the Minimum Bid Increment ($100,000).

          8.       The Debtor may, in consultation with the Bond Trustee (a) determine which

Qualified Bid (including the Credit Bid) is the highest or otherwise best offer; (b) reject at any

time before the entry of the Sale Order any Bid (other than the Stalking Horse Bid and any Credit

Bid) that, in the discretion of the Debtor, is (i) inadequate or insufficient, (ii) not in conformity

with the requirements of the Bankruptcy Code or the Bid Procedures, or (iii) contrary to the best

interest of the Debtor’s estate and its creditors; (c) impose such other terms and conditions upon

Qualified Bidders as the Debtor determines to be in the best interest of the Debtor’s estate; and (d)

continue or cancel the Auction (provided that the Auction may be cancelled if, by the Bid Deadline,

no Qualified Bid, other than the Stalking Horse Bid, has been received by the Debtor and the Bond

Trustee has not indicated its intention to exercise its right to submit a Credit Bid).




3
    The Stalking Horse credit bid shall include the full amount of the eligible Expense Reimbursement.



                                                          6
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 52 of 140




         9.    No person or entity, other than the Stalking Horse Bidder, shall be entitled to any

expense reimbursement, breakup fee, topping or termination fee, or other similar fee or payment,

and by submitting a Bid, such person or entity is deemed to have waived its right to request or file

with this Court any request for expense reimbursement or any other fee of any nature in connection

with the Auction and the Sale, whether by virtue of Bankruptcy Code section 503(b) or otherwise.

III.     Assumption and Assignment Notices & Procedures

         10.   As soon as practicable, the Debtor shall serve on all non-Debtor counterparties (the

“Contract Counterparties”) to any Contract that may be assumed by the Debtor and assigned to the

Successful Bidder a notice, which shall be substantially in the form attached hereto as Exhibit 3

(a “Cure and Possible Assumption and Assignment Notice”), setting forth the Debtor’s calculation

of the cure amount, if any, that would be due and owing to such Contract Counterparty if the

Debtor decided to assume, or assume and assign, such Contract, and alerting such Contract

Counterparty that its Contract may be assumed and assigned to the Successful Bidder.

         11.   The presence of a Contract on the Cure and Possible Assumption and Assignment

Notice does not constitute an admission that such Contract is an executory contract or unexpired

lease, and the presence of a Contract on any notice shall not prevent the Debtor from subsequently

withdrawing such request for assuming or rejecting such Contract any time before such Contract

is actually assumed and assigned or rejected pursuant to the Sale Order.

         12.   Any Contract Counterparty that objects to the cure amount set forth on the Cure

and Possible Assumption and Assignment Notice or to the possible assignment of its Contract

must file an objection with the Bankruptcy Court (a “Contract Objection”) on or before 4:00 p.m.

(prevailing Eastern Time) on October 15, 2021, which Contract Objection must also be served on

(a) counsel for the Debtor, (i) Polsinelli PC, 600 Third Avenue, 42nd Floor, New York, New York

10016, Attn: Jeremy R. Johnson (jeremy.johnson@polsinelli.com) and Attn: Stephen J. Astringer


                                                 7
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                  Page 53 of 140




(sastringer@polsinelli.com), and (ii) Hinckley, Allen & Snyder LLP, 650 Elm Street, Manchester,

New Hampshire 03101, Attn: Daniel M. Deschenes (ddeschenes@hinckleyallen.com) and 28 State

Street, Boston, Massachusetts 02109, Attn: Jennifer V. Doran (jdoran@hinckleyallen.com); (b)

counsel for the Bond Trustee, Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., One Financial

Center, Boston, Massachusetts 02111, Attn: Daniel S. Bleck (dsbleck@mintz.com); (c) counsel

for the Stalking Horse, (i) Covenant Living Communities & Services, 5700 Old Orchard Rd,

Skokie, Illinois 60077, Attn: David G. Erickson, and (ii) Erickson Peterson Cramer, 350 St. Peter

Street, Suite 601, St. Paul, Minnesota 55102, Attn: Julie A. Peterson (jpeterson@epclawyers.com);

(d) the Office of the United States for the District of New Hampshire; and (e) the Clerk of the

Bankruptcy Court for the District of New Hampshire (collectively, the “Notice Parties”).

         13.   If a Contract Counterparty does not timely file and serve a Contract Objection, that

party will be forever barred from objecting to (a) the Debtor’s proposed cure amount, or (b) the

potential assignment of that party’s Contract to the Successful Bidder. If a Contract Counterparty

files a timely Contract Objection asserting a higher cure amount than the amount listed in the Cure

and Possible Assumption and Assignment Notice, or objecting to the possible assignment of that

Contract Counterparty’s Contract, and the parties are unable to consensually resolve the dispute,

the amount to be paid under Bankruptcy Code section 365 (if any) or, as the case may be, the

Debtor’s ability to assign the Contract to the Successful Bidder will be determined at the Sale

Hearing.

         14.   No later than 4:00 p.m. (prevailing Eastern Time), on October 29, 2021 (the “Bid

Deadline”), each bidder other than the Stalking Horse (each an “Other Bidder”) shall (i) designate

in writing to the Debtor which of the Contracts are to be assumed by the Debtor and assigned to

such Other Bidder if such Other Bidder becomes the Successful Bidder and (ii) submit to the




                                                8
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 54 of 140




Debtor financial and other information about such Other Bidder to demonstrate that such Other

Bidder is able to provide adequate assurance of future performance as required by Bankruptcy

Code section 365 (the “Other Bidder Adequate Assurance Information”).

         15.   If the Successful Bidder or Backup Bidder is an Other Bidder, at least three (3) days

before the Sale Hearing, the Debtor shall provide written notice to the Contract Counterparties to

each Contract designated by such Other Bidder for assumption by the Debtor and assignment to

such Other Bidder (each an “Other Bidder Designated Contract”) advising that such Other Bidder

is the Successful Bidder or Backup Bidder (as applicable) and that Contract has been designated

for assumption by the Debtor and assignment to such Other Bidder.

         16.   By November 4, 2021, the Debtor shall file with the Court and serve on the Contract

Counterparties who are parties to a Contract to be assumed and assigned a further notice,

substantially in the form attached hereto as Exhibit 4 (the “Assumption Notice”), identifying the

Successful Bidder, stating which Contracts will be assumed and assigned to the Successful Bidder,

and providing such Contract Counterparties with the Successful Bidder’s assurance of future

performance.

         17.   Any Contract Counterparty that objects to the adequacy of the assurance set forth

in the Assumption Notice must file an objection (an “Adequate Assurance Objection”) with the

Bankruptcy Court prior to the Sale Hearing, or note its Adequate Assurance Objection at the Sale

Hearing.

         18.   If a Contract Counterparty does not make an Adequate Assurance Objection prior

to or at the Sale Hearing, such party will be forever barred from objecting to the adequacy of the

assurance to be provided by the Successful Bidder. If a Contract Counterparty makes an Adequate

Assurance Objection prior to or at the Sale Hearing, and the parties are unable to consensually




                                                 9
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 55 of 140




resolve the dispute, the adequacy of the assurance provided by the Successful Bidder will be

determined at the Sale Hearing.

IV.      Notice of the Sale Process

         19.    The Sale Notice, the Cure and Possible Assumption and Assignment Notice, and

the Assumption Notice, in substantially the forms attached to this Order as Exhibit 2, Exhibit 3,

and Exhibit 4 are approved.

         20.    Within five (5) business days after the entry of this Order, the Debtor (or its agents)

shall serve the Sale Notice by first-class mail upon: (a) the Office of the United States Trustee for

Region 1, James C. Cleveland Building, 53 Pleasant Street, Suite 2300, Concord, NH 03301; (b)

counsel to the Bond Trustee; (c) the Contract Counterparties; (d) all parties who have expressed a

written interest in the Assets; (e) all parties who are known or reasonably believed, after reasonable

inquiry, to have asserted any lien, encumbrance, claim, or interest in the Assets; (f) the Internal

Revenue Service; (g) all other applicable state and local taxing authorities; (h) all the Debtor’s

other creditors; (i) each governmental agency that is an interested party with respect to the Sale

and transactions proposed thereunder; and (j) all parties that have requested or that are required to

receive notice pursuant to Bankruptcy Rule 2002.

V.       The Sale Hearing

         21.    The Sale Hearing shall be held before the Court on November 8, 2021 at [●]

(prevailing Eastern Time) or at such time thereafter as counsel may be heard or at such other time

the Bankruptcy Court may determine. The Debtor will seek entry of an order of the Court at the

Sale Hearing approving and authorizing the Sale of the Assets to the Successful Bidder. Upon

entry of this Order, the Debtor is authorized to perform any obligation intended to be performed

prior to the Sale Hearing or entry of the Sale Order with respect thereto. The Sale Hearing may be




                                                  10
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                     Page 56 of 140




continued from time to time without further notice other than such announcement being made in

open court or a notice of adjournment being filed with the Court and served on the Notice Parties.

VI.      Objections to the Sale

         22.    Objections, if any, to the relief requested in the Motion relating to the Sale (except

for any objection that arises at the Auction), including the transaction contemplated by the Stalking

Horse Agreement (the “Stalking Horse Bid”), must be in writing, filed with the Court, and be

served so that it is actually received no later than October 29, 2021 no later than 4:00 p.m.

(prevailing Eastern time). Objections shall be served on the Notice Parties. A party’s failure to

timely file or make an objection in accordance with this Order shall forever bar the assertion of

any objection to the Sale, entry of the Sale Order, and/or consummation of the Sale with the

Successful Bidder pursuant to the applicable purchase agreement, including, without limitation,

the assumption and assignment of the Contracts to the Successful Bidder pursuant to the applicable

purchase agreement, and shall be deemed to constitute such party’s consent to entry of the Sale

Order and consummation of the Sale and all transactions related thereto, including, without

limitation such assumption and assignment.

VII.     The Stalking Horse Payment

         23.    If the Stalking Horse Agreement has not been terminated by the Debtor based on a

material breach by the Stalking Horse and the Debtor sells all or any substantial portion of the

Assets in a transaction or series of transactions with one or more persons other than the Stalking

Horse pursuant to the terms of the Bid Procedures, upon consummation of such transaction or

transactions, from the proceeds of such a sale or sales (such a transaction, an “Alternative

Transaction”), the Debtor shall pay the Stalking Horse the sum of $660,000 plus up to $250,000

of actual expenses (the “Stalking Horse Payment”). The Stalking Horse Payment shall be treated

as a super priority post-petition claim, the liability on which is an administrative expense in this



                                                 11
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 57 of 140




case under Bankruptcy Code section 503(b)(1) and as a direct cost of such a sale or sales. No

further order of this Court shall be required to pay the Stalking Horse Payment to the Stalking

Horse (other than if a dispute arises with respect to the appropriate amount of the Expense

Reimbursement); provided, however, that under no circumstances shall the Stalking Horse

Payment be paid to the Stalking Horse other than from the first proceeds received by or upon

behalf of the Debtor from the Alternative Transaction pursuant to the Bid Procedures. For the

purposes of all calculations used in the Bid Procedures, the Stalking Horse Payment shall be equal

to $910,000.

VIII. Other Relief Granted

         24.   Nothing in this Order, the Stalking Horse Agreement or the Motion shall be deemed

to or constitute the assumption or assignment of a Contract.

         25.   All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a). The Debtor is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

         26.   The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry, notwithstanding any provision in the Bankruptcy Rules or the Local

Rules to the contrary, and the Debtor may, in its discretion and without further delay, take any

action and perform any act authorized by this Order.

         27.   The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.



 Dated: _________________, 2021
 Concord, New Hampshire
                                                  UNITED STATES BANKRUPTCY JUDGE




                                                12
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 58 of 140




                         Exhibit 1 to Bid Procedures Order

                                  Bid Procedures




78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                     Page 59 of 140




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE

    In re:                                                 )    Chapter 11
                                                           )
    The Prospect-Woodward Home,                            )    Case No. 21-10523 (BAH)
                                                           )
             Debtor.1                                      )
                                                           )

                                          BIDDING PROCEDURES

        By the Motion dated August 30, 2021, the above-captioned debtor and debtor in possession
(the “Debtor”) sought approval of, among other things, the procedures through which it will
determine the highest or otherwise best price for the sale of substantially all of the Debtor’s assets
and operations being offered for sale (the “Assets”) described in that certain Asset Purchase
Agreement dated as of August 17, 2021 between Covenant Living Communities and Services (the
“Stalking Horse”) and the Debtor (the “Stalking Horse Agreement”), a copy of which is attached
to the Motion as Exhibit A.

        On September [●], 2021, the U.S. Bankruptcy Court for the District of New Hampshire
(the “Bankruptcy Court”) entered an order (the “Sale Procedures Order”), which, among other
things, authorized the Debtor to determine the highest or otherwise best bid for the Assets through
the process and procedures set forth below (the “Bid Procedures”)2 to be employed for the
proposed sale (the “Sale”) of the Assets. It is contemplated that the Sale will be implemented through
a purchase agreement, subject to the receipt of higher and better bids at an auction (the “Auction”)
and the corresponding entry into a sale agreement with a Successful Bidder (as defined below)
according to these Bid Procedures. The Bankruptcy Court has jurisdiction with respect to any
dispute that may arise with respect to these Bid Procedures. These Bid Procedures set forth the
process (the “Bidding Process”) by which the Debtor is authorized to conduct the Auction for the
Sale of its Assets.

Important Dates (All times are prevailing Eastern Time)

       September 24, 2021 at 4:00 p.m.: Debtor to send Cure and Possible Assumption and
        Assignment Notices to All Contract Counterparties and Notice of the Sale

       October 29, 2021 at 4:00 p.m.: Deadline to (a) submit Bid to be considered for the Auction;
        (b) file and serve any Cure Objection; and (c) file and serve objections to relief requested at Sale
        Hearing (except for any objection that arises at the Auction)



1
  The last four digits of the Debtor’s federal taxpayer identification are 2146. The address of the Debtor’s headquarters
is 95 Wyman Road, Keene, New Hampshire 03431
2
   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bid Procedures
Order.




78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                    Page 60 of 140




    November 3, 2021 at 10:00 a.m.: Proposed date of Auction

    November 4, 2021 at 4:00 p.m.: Debtor to file notice of Successful Bidder, Backup Bidder,
     and Assumption Notices

    November 8, 2021 at [●]: Proposed date of Sale Hearing and deadline to make an Adequate
     Assurance Objection (either by filing such Adequate Assurance Objection with the Court prior
     to the Sale Hearing or noting its Adequate Assurance Objection at the Sale Hearing)

Marketing Process

        The Debtor, in consultation with Grandbridge Real Estate Capital LLC (“Grandbridge”),
developed a list of parties who the Debtor believes may potentially be interested in and who the
Debtor reasonably believes would have the financial resources to consummate a Sale, which list
includes both potential strategic investors and financial investors (each, individually, a “Contact
Party”, and collectively, the “Contact Parties”). The Debtor shall consult with the Bond Trustee
and any official committee appointed in the Chapter 11 Case (together, the “Consultation Parties”)
on all aspects of the Bidding Process and the Sale process. Grandbridge has or will contact the
Contact Parties to explore their interest in pursuing a Sale. The Contact Parties may include parties
that the Debtor or its advisors have previously contacted regarding a Sale, regardless of whether
such parties expressed any interest, at such time, in pursuing a Sale. The Debtor will continue to
discuss and may supplement the list of Contact Parties throughout the marketing process, as
appropriate and in consultation with the Consultation Parties.

      The Debtor shall distribute to each Contact Party an “Information Package” that is
comprised of:

         (a)   a cover letter;

         (b)   a copy of these Bid Procedures; and

         (c)   a copy of a confidentiality agreement (the “Confidentiality Agreement”).

       To participate in the Bidding Process and to receive access to any materials relating to the
Assets (the “Diligence Materials”), a party must submit to the Debtor an executed Confidentiality
Agreement, signed and transmitted by the person or entity wishing to have access to the Diligence
Materials.

        A party who qualifies for access to the Diligence Materials shall be a “Preliminarily
Interested Investor.” All due diligence requests must be directed to Grandbridge.




                                                 3
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                Page 61 of 140




Bid Qualification Process3

       To be eligible to participate in the Auction, each offer, solicitation or proposal (each, a
“Bid”), and each party submitting such a Bid (each, a “Bidder”), must be determined by the Debtor,
in consultation with the Consultation Parties, to satisfy each of the following conditions:

         (1)     Good Faith Deposit: Each Bid must be accompanied by a deposit in the amount of
                 One Million Dollars ($1,000,000) to be deposited into an interest-bearing escrow
                 account to be identified and established by the Debtor (the “Good Faith Deposit”).

         (2)     Terms: A Bid must include executed transaction documents pursuant to which the
                 Bidder proposes to effectuate the Sale, including an asset purchase agreement (the
                 “Transaction Documents”). The Transaction Documents shall also identify any
                 executory contracts and unexpired leases of the Debtor that the Bidder wishes to
                 have assumed and assigned to it pursuant to the Sale (collectively, the “Assigned
                 Contracts”).

         (3)     Principal Terms: A Bid must have a Purchase Price of at least $34,010,000.4 A Bid
                 must include an executed asset purchase agreement similar in form and substance
                 to Stalking Horse Agreement, as modified by the potential purchaser, pursuant to
                 which the Bidder proposes to effectuate the contemplated transaction and a black-
                 lined copy of the asset purchase agreement marked to show all changes requested
                 by the Bidder, including specifications of the proposed purchase price and any
                 changes to any exhibits or schedule to the agreement. A Bid must identify with
                 particularity each and every condition to closing and all executory contracts to be
                 assumed and assigned pursuant to the asset purchase agreement as well which
                 liabilities it will be assuming, which must include the Residency Agreements (as
                 defined in the Stalking Horse Agreement). A Bid should propose a transaction
                 involving substantially all, or a portion of, the Debtor’s Assets or operations. The
                 Debtor, in consultation with the Consultation Parties, shall evaluate all Bids to
                 determine whether such Bid(s) maximizes the value of the Debtor’s estate as a
                 whole. The asset purchase agreement must include a commitment to close by no
                 later than the Closing Date (as defined in the Stalking Horse Agreement).

         (4)     Corporate Authority: Each Bidder must provide written evidence, reasonably
                 acceptable to the Debtor, in consultation with the Consultation Parties,
                 demonstrating appropriate corporate authorization to consummate the proposed
                 transaction; provided, however, that, if the Bidder is an entity specially formed for
                 the purpose of effectuating the transaction, then the Bidder must furnish written
                 evidence reasonably acceptable to the Debtor, in consultation with the Consultation
                 Parties, of the approval of the transaction by the equity holder(s) of such Bidder.


3
  None of the Bid Qualification Process requirements apply to the Stalking Horse or the Stalking Horse Agreement,
as may be amended (the “Stalking Horse Bid”). For avoidance of doubt, the Stalking Horse Bid is a Qualified Bid and
the Stalking Horse Bidder is a Qualified Bidder.
4
  The Purchase Price must be higher than the aggregate of the Stalking Horse Bid ($33,000,000), Stalking Horse
Payment ($910,000), and Initial Overbid ($100,000).



                                                        4
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                     Page 62 of 140




         (5)    Government Approvals Timeframe: Each Bid must set forth an estimated
                timeframe for obtaining any required governmental, licensing, regulatory or other
                approvals or consents for consummating any proposed purchase.

         (6)    Consent to Jurisdiction: By submitting a Bid, each Bidder agrees and shall be
                deemed to have agreed to submit to the jurisdiction of the Bankruptcy Court and
                waives any right to a jury trial in connection with any disputes relating to the
                Debtor’s qualification of bids, the Auction, if any, the construction and enforcement
                of the Bidding Procedures, the sale documents and the closing, as applicable.

         (7)    Proof of Financial Ability to Perform: Each Bidder must provide written evidence,
                sufficient for the Debtor to reasonably conclude, in consultation with the
                Consultation Parties, that the Bidder has the necessary financial ability to close the
                transaction and provide adequate assurance of future performance under all
                Assigned Contracts to be assumed and assigned in such transaction. Such
                information should include, inter alia, the following:

                (a)    contact names and numbers for verification of financing sources,

                (b)    evidence of the Bidder’s internal resources and proof of any debt or equity
                       funding commitments that are needed to close the transaction;

                (c)    the Bidder’s current financial statements; and

                (d)    any such other form, financial disclosure or credit-quality support
                       information or enhancement reasonably acceptable to the Debtor, in
                       consultation with the Consultation Parties, demonstrating that such Bidder
                       has the ability to close the transaction; provided, however, that the Debtor
                       shall determine, in its reasonable discretion, in consultation with the
                       Debtor’s advisors and the Consultation Parties, whether the written
                       evidence of such financial wherewithal is reasonably acceptable, and shall
                       not unreasonably withhold acceptance of a Bidder’s financial qualifications.

         (8)    Contingencies: A Bid may not be conditioned on obtaining financing or any internal
                approval, or on the outcome or review of due diligence, but may be subject to the
                accuracy in all material respects at the closing of specified representations and
                warranties.

         (9)    Irrevocable: A Bid must be irrevocable through the Auction; provided, however,
                that if such Bid is accepted as the Successful Bid or the Backup Bid (as defined
                herein), such Bid shall continue to remain irrevocable, subject to the terms and
                conditions of the Bid Procedures.

         (10)   Disclaimer of Fees: Each Bid (other than a Stalking Horse Bid) must disclaim any
                right to receive any break-up fee, expense reimbursement, termination fee, or any
                other similar form of compensation.




                                                  5
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 63 of 140




         (11)   Bid Deadline: Regardless of when a party qualifies as a Preliminarily Interested
                Investor, the Debtor must receive a Bid in writing, on or before October 29, 2021
                at 4:00 p.m. (the “Bid Deadline”). Bids must be sent to the following by the Bid
                Deadline to be considered: (a) counsel for the Debtor, (i) Polsinelli PC, 600 Third
                Avenue, 42nd Floor, New York, New York 10016, Attn: Jeremy R. Johnson
                (jeremy.johnson@polsinelli.com)      and      Attn:    Stephen       J.    Astringer
                (sastringer@polsinelli.com), and (ii) Hinckley, Allen & Snyder LLP, 650 Elm
                Street, Manchester, New Hampshire 03101, Attn: Daniel M. Deschenes
                (ddeschenes@hinckleyallen.com) and 28 State Street, Boston, Massachusetts
                02109, Attn: Jennifer V. Doran (jdoran@hinckleyallen.com); (b) broker for the
                Debtor, Grandbridge Real Estate Capital LLC, 1408 North Westshore Boulevard,
                Suite 910, Tampa, Florida 33607, Attn: Allen McMurtry; (c) counsel to the Bond
                Trustee, Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., One Financial
                Center,     Boston,    Massachusetts    02111,      Attn:    Daniel     S.    Bleck
                (dsbleck@mintz.com); and (d) counsel to the Committee, if any (collectively, the
                “Notice Parties”).

        A Bid received from a Bidder before the Bid Deadline that meets the above requirements
shall constitute a “Qualified Bid,” and such Bidder shall constitute a “Qualified Bidder.”

Credit Bid

        The Bond Trustee shall be deemed to be a Qualified Bidder and is not required to make
any Good Faith Deposit in submitting a Credit Bid (defined below). The Bond Trustee may
participate in the Auction and may Credit Bid at any time up to the conclusion of the Auction, in
its sole and absolute discretion, any portion and up to the entire amount of its claim; provided,
however, the Bond Trustee must bid in cash at least the amount of the Stalking Horse Payment,
which amounts must be payable in cash at the Closing (a “Credit Bid”). Upon exercise of a Credit
Bid, the Bond Trustee shall not be required to take title to or ownership of, or have any obligation
in connection with, or be deemed to have taken title to or ownership of, or have any obligation in
connection with, the Assets, and the Bond Trustee shall have the right to designate any person or
entity in its sole and absolute discretion that shall take title to the Assets that are subject to the
Credit Bid. The Bond Trustee will not be a Backup Bidder unless it consents in writing otherwise.
If the Bond Trustee elects to exercise its right to Credit Bid, such bid shall provide that the Stalking
Horse Payment must be paid in cash. If the Bond Trustee or its designee elects to Credit Bid, the
Bond Trustee shall no longer be a Consultation Party.

Auction

        If one or more Qualified Bids is received by the Bid Deadline (other than the Stalking Horse
Bid) and/or the Bond Trustee has indicated its intent to submit a Credit Bid, the Debtor will conduct
the Auction to determine the highest and best Qualified Bid. This determination shall take into account
any factors the Debtor, upon consultation with the Consultation Parties, reasonably deems relevant to
the value of the Qualified Bid to the estate, including, inter alia, the following: (a) the amount and
nature of the consideration; (b) the proposed assumption of any liabilities and/or Assigned Contracts,
if any; (c) the ability of the Qualified Bidder to close the proposed Transaction; (d) the proposed
closing date and the likelihood, extent and impact of any potential delays in closing; (e) any purchase



                                                   6
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                         Page 64 of 140




price adjustments; (f) the impact of the Sale on any actual or potential litigation; and (g) the net after-
tax consideration to be received by the Debtor’s estate (collectively, the “Bid Assessment
Criteria”). If no Qualified Bid (other than the Stalking Horse Bid) is received by the Bid Deadline
and the Bond Trustee has not indicated its intent to submit a Credit Bid, no Auction shall be
conducted and the Stalking Horse Bid shall be deemed the Successful Bid. Only Qualified Bidders
may participate in the Auction.

        The Auction, if necessary, shall take place on November 3, 2021 at 10:00 a.m., at Hinckley,
Allen & Snyder LLP, 28 State Street, Boston, Massachusetts 02109 or other place as the Debtor
shall notify all Bidders who have submitted Qualified Bids. The Debtor may permit bidders to
participate remotely subject to all of the other terms contained herein. The Auction shall be
transcribed or videotaped, and shall be conducted according to the following procedures:

         The Debtor Shall Conduct the Auction

       The Debtor and its professionals shall direct and preside over the Auction in consultation with
the Consultation Parties. At the start of the Auction the Debtor shall describe the terms of the highest
and best Qualified Bid(s) (the “Auction Baseline Bid”).

       All Bids made thereafter shall be Overbids (as defined below) and shall be made and received
on an open basis and all material terms of each Overbid shall be fully disclosed to all Bidders
who have submitted Qualified Bids. The Debtor shall maintain a transcript of all Bids made and
announced at the Auction, including the Auction Baseline Bid and all Overbids.

         Stalking Horse Rights

       The Stalking Horse Payment shall be taken into account with each round of bidding and in
each phase of the Auction by adding the amount of the Stalking Horse Payment to the amount of
each bid made by the Stalking Horse. Any credit bids submitted by a party other than the Stalking
Horse shall include a cash component that is sufficient to pay the amount of the Stalking Horse
Payment. Within at least two days prior to the Auction, if the Stalking Horse is not the highest and
best Bid, the Debtor shall advise the Stalking Horse of the Auction Baseline Bid and shall provide
a copy of the asset purchase agreed associated with such Auction Baseline Bid. The Stalking Horse
Payment used in the bidding calculations hereunder shall be $910,000.

         Terms of Overbids

       An “Overbid” is any Bid made at the Auction subsequent to the Debtor’s announcement
of the Auction Baseline Bid. To submit an Overbid for purposes of this Auction, a Bidder must
comply with the following conditions:

         (1)    Minimum Overbid Increment

                 The initial minimum Overbid shall be $100,000. In advance of the Auction and after a
review of the Qualified Bids received, the Debtor, in consultation with its advisors and the Consultation
Parties, shall determine the increments of any subsequent Overbid after the Auction Baseline Bid but
such amount shall not be less than $100,000 (the “Minimum Overbid Increment”) for a Bid for all of
the Debtor’s Assets, and in an amount to be determined by the Debtor, in consultation with the


                                                    7
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 65 of 140




Consultation Parties at the Auction; provided, that the Debtor shall retain the right to modify the bid
increment requirements at the Auction in consultation with the Consultation Parties. Additional
consideration in excess of the amount set forth in the Auction Baseline Bid may include only cash,
the assumption of debt, or a Credit Bid.

         (2)   Remaining Terms are the Same as for Qualified Bids

               Except as modified herein, an Overbid must comply with the conditions for a
Qualified Bid set forth above; provided, however, that the Bid Deadline shall not apply. Any
Overbid shall remain open and binding on the Bidder unless and until the Debtor, in consultation
with the Consultation Parties, accepts a higher Overbid, subject to such Bidder remaining a Backup
Bidder.

               To the extent not previously provided (which shall be determined by the Debtor in
consultation with the Consultation Parties), a Bidder submitting an Overbid must submit, as part of
its Overbid, written evidence (in the form of financial disclosure, credit-quality support information
or other enhancement reasonably acceptable to the Debtor in consultation with the Consultation
Parties) demonstrating such Bidder’s ability to close the transaction proposed by such Overbid.

         (3)   Announcing Overbids

                The Debtor shall announce at the Auction the material terms of each Overbid, the
basis for calculating the total consideration offered in each such Overbid and the resulting benefit
to the Debtor’s estate based on, inter alia, the Bid Assessment Criteria.

         (4)   Consideration of Overbids

        The Debtor reserves the right, in its reasonable business judgment, to make one or more
adjournments in the Auction to, among other things: facilitate discussions between the Debtor and
individual Bidders, allow individual Bidders to consider how they wish to proceed, and give
Bidders the opportunity to provide the Debtor with such additional evidence as the Debtor in its
reasonable business judgment and in consultation with the Consultation Parties, may require, that
the Bidder has sufficient internal resources, or has received sufficient non-contingent debt and/or
equity funding commitments, to consummate the proposed transaction at the prevailing Overbid
amount.

         No Collusion; Good-Faith Bona Fide Offer

        Each Qualified Bidder participating at the Auction will be required to confirm on the record
at the Auction that (i) it has not engaged in any collusion with respect to the Sale or Bidding
Process (including that it has no agreement with any other Bidder or Qualified Bidder to control
the price) and (ii) its Qualified Bid is a good-faith bona fide offer and it intends to consummate
the proposed transaction if selected as the Successful Bidder or the Backup Bidder.

         Backup Bidder

        Notwithstanding anything in the Bid Procedures to the contrary, if an Auction is conducted,
the party with the next highest or otherwise best Qualified Bid(s) at the Auction, as determined by the


                                                  8
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                       Page 66 of 140




Debtor, in the exercise of its business judgment, shall be required to serve as a backup bidder (the
“Backup Bidder”). The Backup Bidder shall be required to keep its final Bid at Auction (or if the
Backup Bidder submitted one or more Overbids at the Auction, its final Overbid) (the “Backup Bid”)
open and irrevocable until sixty (60) days after entry of the Sale Order (the “Outside Backup Date”) or
the closing of the transaction with the Successful Bidder. Following entry of the Sale Order, if the
Successful Bidder fails to consummate an approved transaction because of a breach or failure to
perform on the part of such Successful Bidder, the Debtor may designate the Backup Bidder to be the
new Successful Bidder, and the Debtor will be authorized, but not required, to consummate the
transaction with the Backup Bidder without further order of the Bankruptcy Court. In such case, the
defaulting Successful Bidder’s deposit, if any, shall be forfeited to the Debtor’s estate, and the Debtor
specifically reserves the right to seek all available damages from the defaulting Successful Bidder. The
closing date to consummate the transaction with the Backup Bidder shall be the later of (a) sixty (60)
days after the date that the Debtor provides notice to the Backup Bidder that the Successful Bidder
failed to consummate a Sale and that the Debtor desires to consummate the transaction with the Backup
Bidder, or (b) March 31, 2022 (the “Outside Closing Date”). The deposit, if any, of the Backup Bidder
shall be held by the Debtor until the earlier of two (2) business days after (a) the closing of the Sale
with the Successful Bidder and (b) the Outside Backup Date; provided, however, that in the event the
Successful Bidder does not consummate the transaction as described above and the Debtor provides
notice to the Backup Bidder, the Backup Bidder’s deposit shall be held until the closing of the
transaction with the Backup Bidder. In the event that the Debtor fails to consummate a transaction with
the Backup Bidder as described above, the Backup Bidder’s deposit shall be forfeited to the Debtor’s
estate, and the Debtor specifically reserves the right to seek all available damages from the defaulting
Backup Bidder.

         Additional Procedures

        The Debtor may announce at the Auction additional procedural rules that are reasonable under
the circumstances (e.g., the amount of time to make subsequent Overbids) for conducting the
Auction so long as such rules are not inconsistent with these Bid Procedures.

         Consent to Jurisdiction as Condition to Bidding

       All Qualified Bidders, and all Bidders at the Auction shall be deemed to have consented to
the core jurisdiction of the Bankruptcy Court and waived any right to a jury trial in connection
with any disputes relating to the Stalking Horse Agreement, the Auction or the construction and
enforcement of any Transaction Documents.

         Rights to Credit Bid

        The Bond Trustee shall have the right to Credit Bid as set forth in the Bid Procedures Order.
The Stalking Horse Bidder shall have the right (including as part of any Overbid) to credit bid all
or a portion of the value of the Stalking Horse Payment at the Auction, including the full amount
of the potential Expense Reimbursement for the Assets pursuant to Bankruptcy Code section
363(k).




                                                   9
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 67 of 140




         Closing the Auction

        The Auction shall continue until there is only one or more Qualified Bid(s) that the Debtor
determines in its reasonable business judgment, after consultation with its financial and legal
advisors and the Consultation Parties, is the highest and best Qualified Bid(s) at the Auction (the
“Successful Bid” and the Bidder submitting such Successful Bid, the “Successful Bidder”). In
making this decision, the Debtor, in consultation with its financial and legal advisors and the
Consultation Parties, shall consider the Bid Assessment Criteria. The Auction shall not close unless
and until all Bidders who have submitted Qualified Bids have been given a reasonable opportunity
to submit an Overbid at the Auction to the then-existing Overbid. Prior to the conclusion of the
Auction, the Successful Bidder and the Backup Bidder shall have submitted fully executed
Transaction Documents memorializing the terms of the Successful Bid(s) and Backup Bid and the
Successful Bidder shall have increased the amount of its Good Faith Deposit to 3% of the cash purchase
price of the Successful Bid.

Bid Protections

       The Stalking Horse is entitled to the Stalking Horse Payment, to the extent it becomes payable,
pursuant to the terms of the Stalking Horse Agreement and the Bid Procedures Order.

       Except for the Stalking Horse, no other party submitted an offer or Bid for the Assets or a
Qualifying Bid shall be entitled to any expense reimbursement, breakup fee, termination, or similar fee
or payment or any other protection against the Debtor designating another party as the Successful
Bidder or Backup Bidder.

Procedures for Determining Cure Amounts and Adequate Assurance for Contract
Counterparties to Assigned Contracts.

        By September 24, 2021, the Debtor shall send a notice to each counterparty to an executory
contract or unexpired lease (each a “Contract Counterparty”) setting forth the Debtor’s calculation
of the cure amount, if any, that would be owing to such Contract Counterparty if the Debtor
decided to assume or assume and assign such executory contract or unexpired lease, and alerting
such Contract Counterparty that its contract may be assumed and assigned to the Successful Bidder
(the “Cure and Possible Assumption and Assignment Notice”), a copy of which is attached to the
Bid Procedures Order as Exhibit 3. Any Contract Counterparty that objects to the cure amount set
forth in the Cure and Possible Assumption and Assignment Notice or the possible assignment of
its executory contract or unexpired lease must file an objection (a “Contract Objection”) on or
before 4:00 p.m. (prevailing Eastern Time) on October 15, 2021, which Contract Objection must
be served on the Notice Parties. If a Contract Counterparty does not timely file and serve a Contract
Objection, that party will be forever barred from objecting to (a) the Debtor’s proposed cure
amount, or (b) the assignment of that party’s executory contract or unexpired lease to the
Successful Bidder. Where a Contract Counterparty to an Assigned Contract files a timely Contract
Objection asserting a higher cure amount than the amount listed in the Cure and Possible
Assumption and Assignment Notice, or an objection to the possible assignment of that Contract
Counterparty’s executory contract or unexpired lease, and the parties are unable to consensually
resolve the dispute, the amount to be paid under Bankruptcy Code section 365 (if any) or, as the




                                                  10
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                    Page 68 of 140




case may be, the Debtor’s ability to assign the executory contract or unexpired lease to the
Successful Bidder will be determined at the Sale Hearing.

         By November 4, 2021, the Debtor shall file with the Court and serve on the Contract
Counterparties a further notice substantially in the form attached to the Bid Procedures Order as
Exhibit 4 (the “Assumption Notice”) identifying the Successful Bidder, stating which Contracts
will be assumed and assigned to the Successful Bidder, and providing such Contract
Counterparties with the Successful Bidder’s assurance of future performance. Any Contract
Counterparty that objects to the adequacy of the assurance set forth in the Assumption Notice must
file an objection with the Bankruptcy Court (an “Adequate Assurance Objection”) prior to the Sale
Hearing or note its Adequate Assurance Objection at the Sale Hearing. If a Contract Counterparty
does not make an Adequate Assurance Objection prior to or at the Sale Hearing, such party will
be forever barred from objecting to the adequacy of the assurance to be provided by the Successful
Bidder. If a Contract Counterparty makes an Adequate Assurance Objection prior to or at the Sale
Hearing, and the parties are unable to consensually resolve the dispute, the adequacy of the
assurance provided by the Successful Bidder will be determined at the Sale Hearing.

Sale Hearing

       The Bankruptcy Court has scheduled a hearing (the “Sale Hearing”) on November 8, 2021,
at [●] (prevailing Eastern Time), at which the Debtor will seek approval of the Sale to the
Successful Bidder. Objections to the Sale of the Assets to the Successful Bidder or Back-Up Bidder
must be filed and served so that they are actually received by the Debtor no later than 4:00 p.m.
(ET) on October 29, 2021 (except for any objection that arises at the Auction) on the Notice Parties.

Return of Good Faith Deposits

        The Good Faith Deposits of all Qualified Bidders shall be held in one or more interest-
bearing escrow accounts by Connecticut Attorneys Title Insurance Company and shall not become
property of the Debtor’s estate absent further order of the Court. The Good Faith Deposits of any
Qualified Bidder that is neither the Successful Bidder nor the Backup Bidder shall be returned to
such Qualified Bidder not later than two (2) business days after the Sale Hearing. Upon the return
of the Good Faith Deposits, their respective owners shall receive any and all interest that will have
accrued thereon. If the Successful Bidder timely closes the winning transaction, its Good Faith
Deposit shall be credited towards its purchase price. The forgoing notwithstanding, the Good Faith
Deposit of the Stalking Horse shall be returned to the Stalking Horse pursuant to the provisions of
the Stalking Horse Agreement.

Reservation of Rights

       The Debtor reserves the right to modify these Bid Procedures in its reasonable business
judgment in any manner, after consultation with the Consultation Parties, that will best promote
the goals of the Bidding Process or impose, at or prior to the Auction, additional customary terms
and conditions on the Sale of the Assets.




                                                 11
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 69 of 140




                         Attachment A to Bid Procedures

                         Form of Confidentiality Agreement




78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                    Page 70 of 140




                             CONFIDENTIALITY AGREEMENT

                                                                     Date:_____________


______________________
______________________
______________________

         Re:   Confidentiality Agreement Regarding Potential Transaction

Ladies and Gentlemen:

        In connection with your consideration of a possible acquisition of substantially all of the
assets and assumption of certain liabilities (“Transaction”) of The Prospect-Woodward Home d/b/a
Hillside Village Keene (the “Company”), you have requested certain confidential and other
information concerning the Company. You agree to treat any information concerning the
Company, its affiliates, subsidiaries, management companies, and parent companies, whether
furnished to you before or after the date of this letter, together with any and all analyses or other
documents prepared by you or any of your directors, employees, advisors, attorneys, accountants,
consultants, subcontractors, representatives or lending institutions (collectively,
“Representatives”) which contain or otherwise reflect such information (collectively, “Evaluation
Material”), in accordance with this agreement. The term “Evaluation Material” does not include
information that (a) was already in your possession prior to the time of disclosure to you by the
Company or its Representatives, provided that such information was not furnished to you by a
source known by you to be bound by a confidentiality agreement with the Company, or otherwise
prohibited from disclosing the information to you, (b) was or becomes generally available to the
public other than as a result of a disclosure by you or your Representatives, (c) becomes available
to you on a non-confidential basis from a source other than the Company or its Representatives,
provided that such source is not known by you to be bound by a confidentiality agreement with
the Company, or otherwise prohibited from disclosing the information to you, or (d) that was or is
independently developed by you without violating your obligations hereunder.

        The Evaluation Material will be used solely for the purpose of evaluating the Transaction
between the Company and you, will not be used in any way detrimental to the Company and its
Representatives, and will be kept confidential by you and your Representatives, except to the
extent that disclosure (a) has been consented to in writing by the Company, or (b) is made to your
Representatives who need to know such information for the purpose of evaluating the Transaction
(it being understood that such Representatives shall be informed by you of the confidential nature
of the Evaluation Material). You shall be responsible for any breach of this agreement by any of
your Representatives as if such Representative had been substituted for “you” as a party and
signatory to this letter. You will not contact any shareholders, lenders, creditors, employees or
directors of the Company regarding the Company without the prior written consent of the
undersigned.

       In the event that you or any of your Representatives are requested or required by law,
regulatory authority or other applicable judicial or governmental order to disclose any Evaluation



78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                      Page 71 of 140




Material, you will provide the Company with prompt notice of any such request or requirement so
that the Company may seek a protective order or other appropriate remedy and/or waive
compliance with the terms of this agreement. In the event that such protective order or other
remedy is not obtained, or that the Company waives compliance with the terms hereof, you may
disclose only that portion of the Evaluation Material that is legally required.

        In addition, without the prior written consent of the Company, you will not, and will direct
your Representatives not to, disclose to any person (a) that the Evaluation Material has been made
available to you or your Representatives, (b) that discussions are taking place concerning a
Transaction, or (c) any terms or other facts with respect to the Transaction, including the status
thereof.

        It is understood and agreed that money damages may not be a sufficient remedy for any
breach of this agreement, and that the Company is entitled to seek specific performance and
injunctive or other equitable relief. Such remedy shall not be deemed to be the exclusive remedy
for breach of this agreement, but shall be in addition to all other remedies available at law or equity
to the Company.

        The Company shall not be deemed to have made any representations or warranties as to
the accuracy or completeness of the Evaluation Material. Only those representations or warranties
that are made by the Company in a final definitive agreement regarding a Transaction, when, as
and if executed, and subject to such limitations and restrictions as may be specified therein, will
have any legal effect.

        Within ten days after being so requested by the Company or its Representatives, except to
the extent you are advised by legal counsel that complying with such request would be prohibited
by law or regulatory authority, you will return or destroy all Evaluation Material. Any destruction
of materials shall be confirmed by you in writing. Any Evaluation Material that cannot be returned
or destroyed (such as oral Evaluation Material) shall remain confidential, subject to the terms of
this agreement.

        This agreement binds the parties hereto only with respect to the matters expressly set forth
herein. As such, unless and until a subsequent definitive written agreement regarding a Transaction
between the Company and you has been executed, (a) neither the Company nor you will be under
any legal obligation of any kind whatsoever to negotiate or consummate a Transaction, and (b)
you shall have no claim whatsoever against the Company or any of its respective directors, officers,
owners, affiliates or Representatives arising out of or relating to any Transaction or Evaluation
Material. No interest, license or any right respecting the Evaluation Material, other than expressly
set out herein, is granted under this agreement by implication or otherwise.

        Additionally, you agree not to solicit for employment any Company employees to whom
you may be introduced or with whom you otherwise had contact as a result of your consideration
of a Transaction for a period of two (2 ) years after the date of this agreement, provided that you
shall not be restricted in any general solicitation for employees (including through the use of




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78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                     Page 72 of 140




employment agencies) not specifically directed at any such persons, and provided further that you
shall not be restricted in hiring any such person who responds to any such general solicitation.

        You hereby acknowledge that you are aware, and further agree that you will advise your
Representatives, that Federal and State securities laws limit the circumstances in which any person
who has material, non-public information about a company may purchase or sell securities of such
a company and prohibit any such person from communicating such information to any other person
under circumstances in which it is reasonably foreseeable that such person is likely to purchase or
sell such securities. Moreover, you agree that you shall not use any of the Evaluation Materials to
purchase or attempt to purchase or otherwise engage in trading of claims of the Company
(including, without limitation, claims held by trade creditors, bank lenders, other secured and
unsecured lenders or any other parties).

       You further acknowledge and confirm that (a) you have had the opportunity to have this
agreement reviewed by counsel and have either utilized or waived this opportunity; and (b) the
undersigned has due authority to bind you and your Representatives to the terms of this agreement.

        This agreement shall be governed by and construed in accordance with the internal laws of
the State of New Hampshire, without giving effect to applicable principles of conflicts of law to
the extent that the application of the laws of another jurisdiction would be required thereby. Venue
for any action to enforce the provisions of this letter agreement shall be properly laid in the United
States Bankruptcy Court for the District of New Hampshire. This agreement shall be binding upon
and shall insure to the benefit of the Company and its successors and assigns. This agreement
constitutes the entire agreement between the parties hereto regarding the subject matter hereof. No
amendments, changes or modifications may be made to this agreement without the express written
consent of each of the parties hereto. If any term or provision of this agreement is held by a court
of competent jurisdiction to be invalid, void or unenforceable, the remainder of the terms and
provisions of this agreement shall remain in full force and effect and shall in no way be affected,
impaired or invalidated. No failure or delay by the Company in exercising any right hereunder or
any partial exercise thereof shall operate as a waiver thereof or preclude any other or further
exercise of any right hereunder.




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78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                  Page 73 of 140




        Your obligations under this agreement shall remain in effect for a period of two years from
the date hereof, except as otherwise stated herein.

                              Very truly yours,

                              The Prospect-Woodward Home d/b/a Hillside Village Keene:




                              Name:
                              Title:

Confirmed and Agreed to:

By:

         Name:
         Title:




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78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 74 of 140




                         Exhibit 2 to Bid Procedures Order

                                    Sale Notice




78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                     Page 75 of 140




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE

    In re:                                                 )    Chapter 11
                                                           )
    The Prospect-Woodward Home,                            )    Case No. 21-10523 (BAH)
                                                           )
              Debtor.1                                     )
                                                           )

             NOTICE OF BID PROCEDURES, AUCTION, HEARING AND DEADLINES
                      RELATING TO THE SALE OF SUBSTANTIALLY
                          ALL OF THE ASSETS OF THE DEBTOR

        PLEASE TAKE NOTICE that on August 30, 2021, The Prospect-Woodward Home, as
debtor and debtor-in-possession (the “Debtor”) in the above-captioned case (the “Bankruptcy
Case”), filed a Motion of the Debtor for Entry of (I) an Order (A) Approving Bid Procedures in
Connection with the Sale of Substantially All of the Debtor’s Assets, (B) Approving the Form and
Manner of Notice thereof, (C) Scheduling an Auction and Sale Hearing, (D) Approving Procedures
for the Assumption and Assignment of Contracts, and (E) Granting Related Relief; and (II) an
Order (A) Approving the Asset Purchase Agreement Between the Debtor and the Successful
Bidder, and (B) Authorizing the Sale of Substantially All of the Debtor’s Assets Free and Clear of
Liens, Claims, Encumbrances, and Interests, (C) Authorizing the Assumption and Assignment of
Contracts, and (D) Granting Related Relief [Docket No. ●] (the “Bid Procedures and Sale
Motion”).2 The Debtor seeks to complete a sale (the “Transaction”) of substantially all its assets
(the “Assets”) to a prevailing bidder or bidders (the “Successful Bidder”) at an auction (the
“Auction”) free and clear of all liens, claims, encumbrances and other interests pursuant to
Bankruptcy Code section 363.

        PLEASE TAKE FURTHER NOTICE that, on September [●], 2021 the Bankruptcy
Court entered an order [Docket No. ●] (the “Bid Procedures Order”) approving the bidding
procedures set forth in the Bid Procedures and Sale Motion (the “Bid Procedures”), which set the
key dates and times related to the sale of the Debtor’s Assets under the asset purchase agreement
with the Successful Bidder. All interested bidders should carefully read the Bid Procedures.
To the extent that there are any inconsistencies between the Bid Procedures and the summary
description of its terms and conditions contained in this notice, the terms of the Bid Procedures
shall control. Pursuant to the Bid Procedures Order, the Debtor has entered into an Asset Purchase
Agreement (the “Stalking Horse Agreement”) for the sale of substantially all of the Debtor’s assets
to Covenant Living Communities and Services (the “Stalking Horse”) subject to competitive
bidding as set forth in the Bid Procedures Order.



1
  The last four digits of the Debtor’s federal taxpayer identification are 2146. The address of the Debtor’s headquarters
is 95 Wyman Road, Keene, New Hampshire 03431
2
   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Bid Procedures and
Sale Motion.




78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 76 of 140




        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures, the Debtor
must receive a Qualified Bid from interested bidders in writing, on or before October 29, 2021, or
such later date as may be agreed to by the Debtor (the “Bid Deadline”). To be considered, Qualified
Bids must be sent to the following at or before the Bid Deadline: (a) counsel for the Debtor, (i)
Polsinelli PC, 600 Third Avenue, 42nd Floor, New York, New York 10016, Attn: Jeremy R.
Johnson       (jeremy.johnson@polsinelli.com)        and     Attn:    Stephen      J.     Astringer
(sastringer@polsinelli.com), and (ii) Hinckley, Allen & Snyder LLP, 650 Elm Street, Manchester,
New Hampshire 03101, Attn: Daniel M. Deschenes (ddeschenes@hinckleyallen.com) and 28 State
Street, Boston, Massachusetts 02109, Attn: Jennifer V. Doran (jdoran@hinckleyallen.com); (b)
broker for the Debtor, Grandbridge Real Estate Capital LLC, 1408 North Westshore Boulevard,
Suite 910, Tampa, Florida 33607, Attn: David Kliewer (david.kliewer@grandbridge.com); and (c)
counsel for the Bond Trustee, Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., One Financial
Center, Boston, Massachusetts 02111, Attn: Daniel S. Bleck (dsbleck@mintz.com).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bid Procedures,
if the Debtor receives one or more Qualified Bids (other than the Credit Bid) by the Bid Deadline,
the Auction will be conducted on November 3, 2021 at 10:00 a.m. (prevailing Eastern Time) at
Hinckley, Allen & Snyder LLP, 28 State Street, Boston, Massachusetts 02109, or at such other
place, date and time as may be designated by the Debtor. The Debtor may conduct the Auction
remotely to the extent necessary to comply with applicable COVID-19 health guidelines.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bid Procedures,
the Debtor has designated certain Assigned Contracts that may be assumed or assumed and
assigned to the Successful Bidder. By September 24, 2021, the Debtor shall send a notice to each
counterparty to an Assigned Contract setting forth the Debtor’s calculation of the cure amount, if
any, that would be owing to such counterparty if the Debtor decided to assume or assume and assign
such Assigned Contract, and alerting such non-debtor party that its contract may be assumed and
assigned to the Successful Bidder (the “Cure and Possible Assumption and Assignment Notice”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bid Procedures,
any counterparty that objects to the cure amount set forth in the Cure and Possible Assumption and
Assignment Notice or the possible assignment of its Assigned Contract(s) must file with the
Bankruptcy Court and serve an objection (a “Cure or Assignment Objection”) so that it is actually
received on or before 4:00 p.m. ET on October 15, 2021 by (a) counsel for the Debtor, (i) Polsinelli
PC, 600 Third Avenue, 42nd Floor, New York, New York 10016, Attn: Jeremy R. Johnson
(jeremy.johnson@polsinelli.com) and Attn: Stephen J. Astringer (sastringer@polsinelli.com), and
(ii) Hinckley, Allen & Snyder LLP, 650 Elm Street, Manchester, New Hampshire 03101, Attn:
Daniel M. Deschenes (ddeschenes@hinckleyallen.com) and 28 State Street, Boston,
Massachusetts 02109, Attn: Jennifer V. Doran (jdoran@hinckleyallen.com); (b) counsel for the
Bond Trustee, Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., One Financial Center,
Boston, Massachusetts 02111, Attn: Daniel S. Bleck (dsbleck@mintz.com); (c) the Office of the
United States Trustee for the District of New Hampshire; and (d) the Clerk of the Bankruptcy Court
for the District of New Hampshire (collectively, the “Notice Parties”). Where a counterparty to an
Assigned Contract files a timely Cure or Assignment Objection asserting a higher cure amount than
the amount listed in the Cure and Possible Assumption and Assignment Notice, or an objection to the
possible assignment of that counterparty’s Assigned Contract, and the parties are unable to



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78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                    Page 77 of 140




consensually resolve the dispute, the amount to be paid under Bankruptcy Code section 365 (if any)
or, as the case may be, the Debtor’s ability to assign the Assigned Contract to the Successful Bidder
will be determined at the Sale Hearing (as defined below).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bid Procedures, if
a Contract Counterparty does not make an Adequate Assurance Objection prior to or at the Sale
Hearing, such party will be forever barred from objecting to the adequacy of the assurance
provided by the Successful Bidder. Where a Contract Counterparty makes an Adequate Assurance
Objection prior to or at the Sale Hearing, and the parties are unable to consensually resolve the
dispute, the adequacy of the assurance provided by the Successful Bidder will be determined at
the Sale Hearing.

        PLEASE TAKE FURTHER NOTICE that a hearing will be held to approve the sale of
the Assets to the Successful Bidder (the “Sale Hearing”) at the Bankruptcy Court on November
8, 2021 at [●] (prevailing Eastern Time), or at such time thereafter as counsel may be heard or
at such other time as the Bankruptcy Court may determine. The Sale Hearing may be adjourned
from time to time without further notice to creditors or parties in interest other than by
announcement of the adjournment in open court on the date scheduled for the Sale Hearing or on
the agenda for such Sale Hearing. Objections to the sale of the Assets to the Successful Bidder
must be filed and served so that they are received no later than October 29, 2021 at 4:00 p.m.
(prevailing Eastern Time) by the Notice Parties. Any Contract Counterparty that objects to the
adequacy of the assurance set forth in the Assumption Notice must file an objection (an “Adequate
Assurance Objection”) with the Bankruptcy Court prior to the Sale Hearing, or note its Adequate
Assurance Objection at the Sale Hearing.

        PLEASE TAKE FURTHER NOTICE that this notice is subject to the full terms and
conditions of the Bid Procedures and Sale Motion, the Bid Procedures Order and the Bid
Procedures, which shall control in the event of any conflict, and the Debtor encourages parties in
interest to review such documents in their entirety. A copy of the Bid Procedures and Sale Motion,
the Stalking Horse Agreement, the Bid Procedures and the Bid Procedures Order may be obtained
(a) upon request to Donlin, Recano & Company, Inc. (the notice and claims agent retained in the
Chapter 11 Case) by calling (877) 739-9997; (b) by visiting the website maintained in the Chapter
11 Case at https://www.donlinrecano.com/hvk or (c) for a fee via PACER by visiting
https://ecf.nhb.uscourts.gov/.




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78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document         Page 78 of 140




 Dated ●, 2021
                                           /s/    Draft
                                           HINCKLEY, ALLEN & SNYDER LLP
                                           Daniel M. Deschenes (Bar No. 14889)
                                           Owen R. Graham (Bar No. 266701)
                                           650 Elm Street
                                           Manchester, New Hampshire 03101
                                           Telephone: (603) 225-4334
                                           Facsimile: (603) 224-8350
                                           ddeschenes@hinckleyallen.com

                                           -and-

                                           Jennifer V. Doran (Pro Hac Vice Pending)
                                           28 State Street
                                           Boston, Massachusetts 02109
                                           Telephone: (617) 345-9000
                                           Facsimile: (617) 345-9020
                                           jdoran@hinckleyallen.com

                                           -and-

                                           POLSINELLI PC
                                           Jeremy R. Johnson (Pro Hac Vice Pending)
                                           Stephen J. Astringer (Pro Hac Vice Pending)
                                           600 Third Avenue, 42nd Floor
                                           New York, New York 10016
                                           Telephone: (212) 684-0199
                                           Facsimile: (212) 684-0197
                                           jeremy.johnson@polsinelli.com
                                           sastringer@polsinelli.com

                                           Proposed Counsel to the Debtor and Debtor
                                           in Possession




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78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document      Page 79 of 140




                         Exhibit 3 to Bid Procedures Order

                 Cure and Possible Assumption and Assignment Notice




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78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                     Page 80 of 140




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW HAMPSHIRE

    In re:                                                 )    Chapter 11
                                                           )
    The Prospect-Woodward Home,                            )    Case No. 21-10523 (BAH)
                                                           )
             Debtor.1                                      )
                                                           )

      NOTICE TO COUNTERPARTIES TO POTENTIALLY ASSUMED
  EXECUTORY CONTRACTS AND UNEXPIRED LEASES REGARDING CURE
AMOUNTS AND POSSIBLE ASSIGNMENT TO SUCCESSFUL BIDDER AT AUCTION

        PLEASE TAKE NOTICE that on August 30, 2021, the above-captioned debtor and
debtor in possession (the “Debtor”) filed a motion (the “Bid Procedures and Sale Motion”) with
the United States Bankruptcy Court for the District of New Hampshire (the “Bankruptcy Court”).

        PLEASE TAKE FURTHER NOTICE that on September [●], 2021, the Bankruptcy
Court entered an order [Docket No. ●] (the “Bid Procedures Order”) approving Bid Procedures
(the “Bid Procedures”), which set key dates, times and procedures related to the sale of
substantially of the Debtor’s assets (the “Assets”). To the extent that there are any inconsistencies
between the Bid Procedures and the summary description of the terms and conditions contained in
this Notice, the terms of the Bid Procedures shall control. Pursuant to the Bid Procedures Order,
the Debtor has entered into an Asset Purchase Agreement (the “Stalking Horse Agreement”) for
the sale of substantially all of the Debtor’s assets to Covenant Living Communities and Services
(the “Stalking Horse”) subject to competitive bidding as set forth in the Bid Procedures Order.

     YOU ARE RECEIVING THIS NOTICE BECAUSE YOU OR ONE OF YOUR
AFFILIATES IS A COUNTERPARTY TO AN EXECUTORY CONTRACT OR
UNEXPIRED LEASE LISTED BELOW WITH THE DEBTOR:2

        [Counterparty Name]                       [Contract/Lease]                          Cure Amount


       Pursuant to the Bid Procedures, the Debtor may assume the Executory Contract(s)
or Unexpired Lease(s) listed above to which you are a counterparty. Also pursuant to the Bid
Procedures, the Debtor may assign the Executory Contract(s) or Unexpired Lease(s) to the
successful bidder (the “Successful Bidder”) at an auction of substantially all of the Debtor’s
assets currently scheduled for November 3, 2021 at 10:00 a.m. (prevailing Eastern Time).
The Debtor has conducted a review of its books and records and has determined that the cure
amount for unpaid monetary obligations under such contract or lease is $[AMOUNT] (the “Cure

1
  The last four digits of the Debtor’s federal taxpayer identification are 2146. The address of the Debtor’s headquarters
is 95 Wyman Road, Keene, New Hampshire 03431
2
   This Notice is being sent to counterparties to Executory Contracts and Unexpired Leases. This Notice is not an
admission by the Debtor that such contract or lease is executory or unexpired.




78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                Page 81 of 140




Amount”). If you (a) object to the proposed assumption or disagree with the proposed Cure
Amount, or (b) object to the possible assignment of such Executory Contract(s) or Unexpired
Lease(s) to the Successful Bidder, you must file an objection with the Bankruptcy Court no
later than October 15, 2021 at 4:00 p.m. (prevailing Eastern Time), (the “Objection Deadline”)
and serve such objection on the following parties:

                Counsel to the Debtor                     Counsel to Bond Trustee

                    Polsinelli PC                  Mintz, Levin, Cohn, Ferris, Glovsky and
                 600 Third Avenue                                Popeo, P.C.
                     42nd Floor                             One Financial Center
            New York, New York 10016                    Boston, Massachusetts 02111
              Attn: Jeremy R. Johnson                       Attn: Daniel S. Bleck
          Jeremy.johnson@polsinelli.com                     dsbleck@mintz.com
              Attn: Stephen Astringer
             sastringer@polsinelli.com

                         -and-

         Hinkley, Allen & Snyder LLP
                650 Elm Street
       Manchester, New Hampshire 03101
          Attn: Daniel M. Deschenes
        ddeschenes@hinckleyallen.com

                         -and-

                     28 State Street
              Boston, Massachusetts 02109
                 Attn: Jennifer V. Doran
               jdoran@hinckleyallen.com

        Clerk of the Bankruptcy Court                     The United States Trustee
      United States Bankruptcy Court for the       Office of the United States Trustee for the
           District of New Hampshire                      District of New Hampshire

              Counsel to the Committee

                     If appointed


       If no objection to the Cure Amount or the assignment of your Executory Contract(s) or
Unexpired Lease(s) to the Successful Bidder is filed by the Objection Deadline, you will be
deemed to have stipulated that the Cure Amount as determined by the Debtor and set forth
above is correct and you shall be forever barred, estopped and enjoined from (a) asserting
any additional cure amount under the above-listed Executory Contract(s) and Unexpired



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78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document             Page 82 of 140




Lease(s) or (b) objecting to the assumption and assignment of the above-listed Executory
Contract(s) and Unexpired Lease(s) to the Successful Bidder.

 Dated: ●, 2021
                                               /s/    Draft
                                               HINCKLEY, ALLEN & SNYDER LLP
                                               Daniel M. Deschenes (Bar No. 14889)
                                               Owen R. Graham (Bar No. 266701)
                                               650 Elm Street
                                               Manchester, New Hampshire 03101
                                               Telephone: (603) 225-4334
                                               Facsimile: (603) 224-8350
                                               ddeschenes@hinckleyallen.com

                                               -and-

                                               Jennifer V. Doran (Pro Hac Vice Pending)
                                               28 State Street
                                               Boston, Massachusetts 02109
                                               Telephone: (617) 345-9000
                                               Facsimile: (617) 345-9020
                                               jdoran@hinckleyallen.com

                                               -and-

                                               POLSINELLI PC
                                               Jeremy R. Johnson (Pro Hac Vice Pending)
                                               Stephen J. Astringer (Pro Hac Vice Pending)
                                               600 Third Avenue, 42nd Floor
                                               New York, New York 10016
                                               Telephone: (212) 684-0199
                                               Facsimile: (212) 684-0197
                                               jeremy.johnson@polsinelli.com
                                               sastringer@polsinelli.com

                                               Proposed Counsel to the Debtor and Debtor
                                               in Possession




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78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 83 of 140




                         Exhibit 4 to Bid Procedures Order

                                Assumption Notice




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78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                     Page 84 of 140




                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW HAMPSHIRE

    In re:                                                 )    Chapter 11
                                                           )
    The Prospect-Woodward Home,                            )    Case No. 21-10523 (BAH)
                                                           )
             Debtor.1                                      )
                                                           )

                          NOTICE OF PROPOSED ASSIGNMENT
                   OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         PLEASE TAKE NOTICE that on August 30, 2021, the above-captioned debtor and
debtor in possession (the “Debtor”) filed a petition for relief pursuant to chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
District of New Hampshire (the “Bankruptcy Court”). On August 30, 2021, the Debtor filed a
motion (the “Sale Motion”)2 to sell substantially all of its assets (the “Assets”) free and clear of all
liens, claims, encumbrances, and other interests (the “Sale”) and assume and assign certain of its
executory contracts and unexpired leases (collectively, the “Contracts”) to the purchaser of the
Assets.3

        PLEASE TAKE FURTHER NOTICE that the Debtor is soliciting offers for the purchase
of its Assets consistent with the bidding procedures (the “Bid Procedures”) approved by the Court
by the entry of an order on September [●], 2021 (the “Bid Procedures Order”).4 The Bid Procedures
include, among other things, procedures for the assumption and assignment of the Contracts (the
“Assumption Procedures”).

        PLEASE TAKE FURTHER NOTICE that, accordingly, pursuant to the Bid Procedures
Order, the Debtor has selected [●] as the Successful Bidder for the Sale of its Assets and, by this
written notice, the Debtor notifies you that the Successful Bidder has determined, in the exercise
of its business judgment, that the Contracts and any modifications thereto set forth on Schedule 1
attached hereto (collectively, the “Assigned Contracts”) shall be assumed and assigned to the

1
  The last four digits of the Debtor’s federal taxpayer identification are 2146. The address of the Debtor’s headquarters
is 95 Wyman Road, Keene, New Hampshire 03431
2
   Motion of the Debtor for Entry of (I) an Order (A) Approving Bid Procedures in Connection with the Sale of
Substantially All of the Debtor’s Assets, (B) Approving the Form and Manner of Notice thereof, (C) Scheduling an
Auction and Sale Hearing, (D) Approving Procedures for the Assumption and Assignment of Contracts, and (E)
Granting Related Relief; and (II) an Order (A) Approving the Asset Purchase Agreement Between the Debtor and the
Successful Bidder, and (B) Authorizing the Sale of Substantially All of the Debtor’s Assets Free and Clear of Liens,
Claims, Encumbrances, and Interests, (C) Authorizing the Assumption and Assignment of Contracts, and (D) Granting
Related Relief [Docket No. ]
3
    Capitalized terms used but not defined herein shall have all the meanings ascribed to them in the Sale Motion.
4
  Order (A) Approving Bid Procedures in Connection with the Sale of Substantially All of the Debtor’s Assets, (B)
Approving the Form and Manner of Notice Thereof, (C) Scheduling an Auction and a Sale Hearing, (D) Approving
Procedures for the Assumption and Assignment of Contracts, and (E) Granted Related Relief [Docket No. ].




78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                   Page 85 of 140




Successful Bidder, subject to the Successful Bidder’s payment of the cure amount set forth on
Schedule 1, or such other cure amounts as are agreed by the parties.

        PLEASE TAKE FURTHER NOTICE that the Successful Bidder has the right under
certain circumstances to designate additional Contracts as Assigned Contracts or remove certain
Contracts from the list of Assigned Contracts prior to closing.

       PLEASE TAKE FURTHER NOTICE that copies of the Sale Motion, the Bid
Procedures, and the Bid Procedures Order, as well as all related exhibits, including the proposed
Sale Order, are available: (a) upon request to Donlin, Recano & Company, Inc. (the notice and
claims agent retained in the Chapter 11 Case) by calling (877) 739-9997; (b) by visiting the website
maintained in the Chapter 11 Case at https://www.donlinrecano.com/hvk; or (c) for a fee via
PACER by visiting https://ecf.nhb.uscourts.gov/.

        PLEASE TAKE FURTHER NOTICE that, except as otherwise provided by the Bid
Procedures Order, the time for filing objections to (a) the cure amounts related to the Assigned
Contracts and (b) the Debtor’s ability to assume and assign the Assigned Contracts has passed and
no further notice or action is necessary with respect to such matters.

        PLEASE TAKE FURTHER NOTICE that any Contract Counterparty that objects to the
adequacy of the Successful Bidder’s assurance of continued performance set forth in Schedule 1
hereto must file an objection with the Bankruptcy Court prior to the Sale Hearing or note such
objection at the Sale Hearing.




                                                 2
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document         Page 86 of 140




 Dated: ●, 2021
                                           /s/    Draft
                                           HINCKLEY, ALLEN & SNYDER LLP
                                           Daniel M. Deschenes (Bar No. 14889)
                                           Owen R. Graham (Bar No. 266701)
                                           650 Elm Street
                                           Manchester, New Hampshire 03101
                                           Telephone: (603) 225-4334
                                           Facsimile: (603) 224-8350
                                           ddeschenes@hinckleyallen.com

                                           -and-

                                           Jennifer V. Doran (Pro Hac Vice Pending)
                                           28 State Street
                                           Boston, Massachusetts 02109
                                           Telephone: (617) 345-9000
                                           Facsimile: (617) 345-9020
                                           jdoran@hinckleyallen.com

                                           -and-

                                           POLSINELLI PC
                                           Jeremy R. Johnson (Pro Hac Vice Pending)
                                           Stephen J. Astringer (Pro Hac Vice Pending)
                                           600 Third Avenue, 42nd Floor
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                                           jeremy.johnson@polsinelli.com
                                           sastringer@polsinelli.com

                                           Proposed Counsel to the Debtor and Debtor
                                           in Possession




                                       3
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                  Page 87 of 140




                                     Schedule 1 to Assumption Notice

                                             Assigned Contracts1


                                                                                                         Cure
    Counterparty                  Description of Assigned Contracts or Leases
                                                                                                        Amount




1
   The presence of a contract or lease on this Schedule 1 does not constitute and admission by the Debtor that such
contract is an executory contract or such lease in an unexpired lease pursuant to Bankruptcy Code section 365 or any
other applicable law, and the Debtor reserves all rights to withdraw any proposed assumption and assignment or to
reject any contract or lease at any time before such contract or lease is assumed and assigned pursuant to an order of
the Court.




78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 88 of 140




                                Exhibit B to Motion

                            Proposed Form of Sale Order


                        [To be filed prior to the Sale Hearing]




                                          2
78932905.16
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 89 of 140




                                             Exhibit B

                                    Stalking Horse Agreement1




1
    Schedules and other exhibits available upon request



77252634.12
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document           Page 90 of 140
                                                                          Execution Version




                                 ASSET PURCHASE AGREEMENT
                                      BY AND BETWEEN

 THE PROSPECT-WOODWARD HOME D/B/A HILLSIDE VILLAGE KEENE, A NEW HAMPSHIRE NOT-FOR-
                        PROFIT VOLUNTARY CORPORATION,
                                         AS SELLER,


                                            AND



              COVENANT LIVING SERVICES, AN ILLINOIS NOT-FOR-PROFIT CORPORATION,
                                       AS PURCHASER.




78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                             Page 91 of 140



                                    ASSET PURCHASE AGREEMENT
        This Asset Purchase Agreement (the “Agreement”) is made and entered into as of August 17, 2021
(the “Execution Date”), by and between The Prospect-Woodward Home d/b/a Hillside Village Keene, a New
Hampshire voluntary not-for-profit corporation (“Hillside Village” or the “Seller”), and Covenant Living
Services, an Illinois not-for-profit corporation, or its assignee (“Buyer” or “Purchaser”). The Seller and the
Buyer are sometimes individually referred to as a “Party” and collectively as the “Parties”.
                                                 RECITALS
                WHEREAS, Seller owns and operates a licensed continuing care retirement facility with 222
units, comprised of 141 independent living units, 43 assisted living units, 18 memory care units, and 20 licensed
but not yet opened long term nursing care units (the “Facility”) located on or about 95 Wyman Road, Keene,
New Hampshire, comprising approximately 66 acres (the “Premises”);
                 WHEREAS, Seller is having financial difficulties, and in connection with discussions with its
bondholders (the “Bondholders”), residents, and other stakeholders, Seller in its business judgment believes
a sale of the Facility and related assets to be in its best interests;
                  WHEREAS, Buyer desires to acquire the Facility, the Premises, and the assets owned by Seller
and used in Seller’s operation of the Facility (the “Business”, and collectively, with the Facility and the
Premises, the “Purchased Assets”) on the terms and conditions contained in this Agreement, and desires to
act as the stalking horse pursuant to the Bid Procedures (as defined below);
                 WHEREAS, Seller intends to file a voluntary bankruptcy petition (the “Chapter 11 Case”)
under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”),
in the United States Bankruptcy Court for the District of New Hampshire (the “Bankruptcy Court”) promptly
following expiration of the Diligence Period (the date of such filing, the “Petition Date”);

               WHEREAS, Seller will seek approval of bid procedures (the “Bid Procedures”) pursuant to
the Bid Procedures Order (as defined below) by the Bankruptcy Court;

                 WHEREAS, Seller desires to sell, transfer and assign to Buyer, and Buyer desires to purchase,
acquire and assume from Seller pursuant to this Agreement, the Sale Order, the Sale Motion and Sections 105,
363, and 365 of Title 11 of the Bankruptcy Code, the Purchased Assets and Assumed Liabilities of the Seller
as specifically provided herein;

                 WHEREAS, the execution and delivery of this Agreement and Seller’s ability to consummate
the transactions set forth in this Agreement are subject to, among other things, the entry of the Sale Order;

                 WHEREAS, the sale will be subject to (i) Approvals (as defined below) and (ii) the conditions
expressly set forth herein;

                 WHEREAS, the Parties acknowledge and agree that the terms of the Contemplated
Transactions are the result of arm’s length negotiations and the Seller has solicited bids for the Purchased
Assets to obtain the highest and best stalking horse offer for the Purchased Assets; and

                WHEREAS, Seller has determined that the Buyer’s offer to purchase the Purchased Assets is
the highest and best stalking horse offer received to date for the Purchased Assets and constitutes a fair and
adequate purchase price for the Purchased Assets.

                NOW, THEREFORE, for good and valuable consideration, the sufficiency and receipt of
which is hereby acknowledged, the Parties hereby agree as follows:




78263910.34
 Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                 Page 92 of 140



                                                    ARTICLE 1

                                                   DEFINITIONS

          As used herein, the following terms have the meanings set forth below:

                  (a)      “Accounts Receivable” means accounts receivable for goods and services rendered
by Seller to the residents of the Facility or related to the Business, which term shall include, without limitation,
out-of-pocket (self-pay) payments and commercial insurance payments, as well as any promissory notes.

                 (b)       “Accrued PTO” has the meaning set out in Section 5.7.

                 (c)      “Action” means any action, claim, proceeding, litigation, arbitration, mediation, suit,
investigation or regulatory inquiry (whether civil, criminal, administrative or judicial), or any appeal therefrom
or any material demand letter threatening the initiation of any of the foregoing.

                 (d)       “Affiliate” shall mean, as to the entity in question, any person or entity that directly
or indirectly controls, is controlled by or is under common control with, the entity in question and the term
“control” means possession, directly or indirectly, of the power to direct or cause the direction of the
management and policies of an entity whether through ownership of voting securities, by contract or otherwise.

                  (e)        “Alternative Transaction” means any agreement or transaction, whether pursuant to
a plan or otherwise, involving the sale or other transfer (in a single transaction or a series of related transactions)
of all or substantially all of the Purchased Assets, or the issuance, sale or other transfer (in a single transaction
or series of related transactions) of all or substantially all of the of equity interests of Seller or any of its
successors, to any party other than Buyer or a designee of Buyer as a result of the auction pursuant to the Bid
Procedures.

                 (f)       “Applicable Law” means any federal, state, municipal, county, local, foreign or other
statute, law, regulation, code, rule, or order.

                 (g)      “Approvals” means all consents and approvals from any Governmental Authority,
including without limitation any Governmental Authority with regulatory oversight of healthcare organizations,
charitable trusts, or continuing care retirement communities, which are necessary for the transfer of the
Purchased Assets or the operation of the Business, and including to the extent applicable, without limitation,
the regulatory change in control approvals under New Hampshire RSA 420-D:13 and RSA 7:19-b, all as set
forth on Schedule 1(g), and a written license granted by the City of Keene for the use and operation of the
underground walkway which benefits the Premises.

                (h)      “Assumed Contracts” means all of the rights and interests of Seller in and to the
Contracts that Buyer designates for assumption and assignment, as listed on Schedule 5.9(f), and including all
Residency Agreements and the Option Agreements.

                 (i)       “Assumed Liabilities” has the meaning set forth in Section 2.3.

               (j)         “Avoidance Actions” means any and all claims for relief of Seller under Chapter 5 of
the Bankruptcy Code.

                 (k)       “Bankruptcy Code” has the meaning set forth in the Recitals.

                 (l)       “Bankruptcy Court” has the meaning set forth in the Recitals.



                                                           3
 78263910.34
 Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                            Page 93 of 140



                  (m)     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as now in
effect.

                  (n)     “Bid Procedures” has the meaning set out in the Recitals.

                (o)     “Bid Procedures Order” means an Order of the Bankruptcy Court approving the Bid
Procedures, a form of which is attached hereto as Exhibit D.

                 (p)   “Bond Trustee” means UMB Bank, N.A. as bond trustee with respect to the Series
2017 Bonds authorized and issued by the New Hampshire Health And Education Facilities Authority for the
benefit of the Seller.

                 (q)       “Books and Records” means the books and records of Seller relating to the Purchased
Assets, to the extent assignable; provided, however, that “Books and Records” shall not include the originals of
Seller’s minute books, stock books and Tax returns.

                  (r)     “Break-Up Fee” has the meaning set forth in Section 7.2.

                  (s)     “Business” has the meaning set forth in the Recitals.

             (t)          “Business Day” means any day other than any Saturday, Sunday or legal holiday in
New York, New York.

                  (u)     “Chapter 11 Case” has the meaning set forth in the Recitals.

                  (v)     “Claim” has the meaning set forth in Section 101(b) of the Bankruptcy Code

                  (w)     “Closing” and “Closing Date” have the meaning set forth in Section 2.6.

                  (x)     “COBRA” means the Consolidated Omnibus Budget Reconciliation Act of 1985.

                  (y)     “Confidentiality Agreement” has the meaning set forth in Section 8.3(a).

                (z)      “Contract” means agreements, contracts, commitments, personal property leases,
real property leases, and other arrangements to which Seller is a party, including without limitation the
Residency Agreements and Option Agreements.

                  (aa)    “Contract Party” has the meaning set forth in Section 2.5(d).

                (bb)     “Cure Amount” or “Cure Amounts” means, respectively, the amount necessary
pursuant to 11 U.S.C. Section 365 to cure defaults under an Assumed Contract, or under all Assumed Contracts.

                  (cc)    “Deposit” has the meaning set forth in Section 2.5(b) and shall include any interest
earned thereon.

                 (dd)      “Designation Deadline” means 5:00 p.m., Eastern Standard Time, on the date that is
five (5) Business Days prior to the Closing Date or such later date as Buyer and Seller shall mutually agree and
as the Bankruptcy Court may authorize; provided that the Designation Deadline for any Executory Contract
with respect to which a dispute regarding a Cure Amount exists on such date shall be five (5) days after the date
of the resolution of such dispute.

                  (ee)    “Diligence Period” has the meaning set forth in Section 2.9.


                                                        4
 78263910.34
 Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                               Page 94 of 140



                 (ff)      “Effective Time” has the meaning set forth in Section 2.6.

                 (gg)      “Endowment” has the meaning set forth in Section 2.1(i).

                 (hh)     “Entrance Fee And Option Deposits” means (i) if any, entrance fee deposits on
hand, including reservation deposits on hand, subject to Residency Agreements, (ii) deferred entrance fee
arrangements and promissory notes issued by any Prospective Resident or Resident for the payment of entrance
fee or reservation deposits, subject to Residency Agreements, and (iii) Option Deposits subject to the Option
Agreements, all of which are described on Schedule 5.9(e) hereto. Schedule 5.9(e) shall be modified from time
to time to include any additional entrance fees deposits, Option Deposits or arrangements from the Execution
Date through the Closing Date.

              (ii)     “Entrance Fee Obligations” means all obligations owed to Residents pursuant to the
Residency Agreements, including any refund obligations.

                (jj)     “Equipment” means the equipment owned by Seller and used in the Business,
including the equipment identified on Schedule 2.1(d).

                 (kk)      “Escrow Agent” means the Title Company.

                 (ll)      “Excluded Assets” has the meaning set forth in Section 2.2.

                 (mm) “Executory Contract” means any executory contract related to the Business or to
which Seller is a party and that is subject to Section 365 of the Bankruptcy Code.

                 (nn)     “Final Order” means an order or judgment of the Bankruptcy Court, or other court
of competent jurisdiction, which is unappealed, unappealable, unstayed, and not subject to a pending motion
for reconsideration, rehearing, or Rule 59 or 60 (or equivalent) relief.

                (oo)      “Governmental Authority” means the Bankruptcy Court, any tribunal, arbitrator,
authority, agency, commission, official or other instrumentality of the United States, any foreign country or any
domestic or foreign state, county, city or other political subdivision.

                 (pp)      “Inventory” means all inventory of any kind or nature located at the Facility.

                (qq)     “Knowledge of Seller” or “Knowledge” shall mean the actual knowledge of Toby V.
Shea, as Chief Restructuring Officer without a duty to investigate.

               (rr)       “Lien” means any security interest, pledge, mortgage, lien, charge, adverse claim of
ownership or use, restriction on transfer (such as a right of first refusal or other similar right), defect of title,
encroachments, or other encumbrance of any kind or character.

                 (ss)      “Necessary Consents” has the meaning set forth in Section 5.9(c).

                 (tt)      “Objectionable Title Exception” has the meaning set out in Section 5.13(c).

                (uu)    “Option Agreements” means the Option Deposit Agreements between the Seller and
each Resident or Prospective Resident, setting forth the terms and conditions for the return of the Option
Deposits of such Residents or Prospective Residents, and any escrow agreements related thereto.

              (vv)    “Option Deposits” means the amounts paid under Option Agreements and held in
escrow by TMI Trust Company.


                                                          5
 78263910.34
 Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                              Page 95 of 140



                (ww)      “Permits” means to the extent transferrable, all licenses, permits (including
occupancy permits), certificates, registrations, approvals, franchises, consents and other authorizations of Seller
obtained from or filed with a Governmental Authority and used in connection with the Business.

                  (xx)     “Permitted Liens” means (i) statutory Liens for Taxes, assessments or other
governmental charges not yet due and payable, (ii) workers’, repairers’, landlords’ and similar Liens which
arose or were incurred in the ordinary course of business and which secure obligations which are not yet due
and payable and which do not exceed $10,000 in the aggregate, (iii) Liens which are expressly assumed or
consented to by Buyer herein (including, without limitation, liens included in the Assumed Liabilities), (iv)
Liens which are created by Buyer, (v) easements, restrictions, covenants, and all other matters of record and
legal highways with respect to the Premises or leased real property under an Assumed Contract, (vi) matters
which would be shown on an accurate survey of the Premises, or any leased real property under an Assumed
Contract, (vii) those matters that become Permitted Liens in accordance with Section 5.13 of this Agreement,
and (viii) those matters of record identified on Schedule B, Part II of the Commitment as exceptions 5 through
16.

                 (yy)     “Person” means any natural person, corporation, limited liability company, general
partnership, limited partnership, sole proprietorship, trust, union, association, Governmental Authority or other
business organization.

                 (zz)     “Petition Date” has the meaning set out in Section 5.8(c).

                (aaa)    “Premises” has the meaning set out in the Recitals, and includes Seller’s fee interest
in any and all land, buildings, structures, improvements, fixtures or other interest in real property which is
owned by the Seller and used in the Business.

                 (bbb)    Reserved.

                (ccc)    “Prospective Resident” means any natural person who has entered into a Residency
Agreement, Option Agreement, or deposit agreement with Seller under which there is any continuing obligation
to either such natural person or Seller, including without limitation any such agreements under which an
Entrance Fee Obligation is due now or may be in the future, who has not yet moved into his or her unit.

                 (ddd)    “Purchase Price” has the meaning set forth in Section 2.5(a).

                 (eee)    “Purchased Assets” has the meaning set forth in Section 2.1.

                 (fff)     “Related Agreements” means Bill of Sale, the Assignment and Assumption
Agreement, and the quitclaim deed, each substantially in the form attached hereto as Exhibits A, B, and C,
respectively, and other agreements, documents, and instruments related to the transactions contemplated herein.

             (ggg) “Related Person” means, with respect to a specific Person, any officer, director,
member, manager, employee, agent, shareholder, representative, successor or assign of such Person.

               (hhh) “Representatives” means, with respect to a Person, such Person’s directors, officers,
employees, stockholders, funding sources, affiliates, representatives, and agents.

                 (iii)     “Residency Agreements” means the agreements identified on Schedule 1(iii) hereto,
including to the extent there are any continuing obligations to any party thereto, (i) the continuing care contracts
executed between Seller and each Resident detailing the residential and other rights and obligations of the
Resident and the rights and obligations of Seller, including without limitation lifecare obligations and Entrance
Fee Obligations; (ii) deposit agreements executed between Seller and certain Prospective Residents pursuant to

                                                         6
 78263910.34
 Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                 Page 96 of 140



which a Prospective Resident has put down a deposit toward or paid an entrance fee on an independent living
unit; and (iii) the occupancy contract executed between each Resident of the assisted living, memory care, or
long term nursing care units and Seller detailing the rights and obligations of the Resident and the rights and
obligations of Seller thereunder, including without limitation, any lifecare obligations or Entrance Fee
Obligations. For the avoidance of doubt, Residency Agreements include all agreements with Residents (both
current and former, as well as Prospective) under which Seller currently owes or will owe contractual
obligations to such Residents (whether such obligation has already triggered or will trigger in the future), and
will be updated as of Closing to reflect any changes between the Execution Date and Closing.

              (jjj)        “Resident” means a present or former occupant of the Facility who is a party to a
Residency Agreement.

                 (kkk)     “Retained Liabilities” has the meaning set forth in Section 2.4.

                (lll)     “Sale and Procedures Motion” means a motion or motions for approval of the
appropriate terms of this Agreement and the Bid Procedures, including, without limitation, the Break-Up Fee
and an overbid process, a form of which is attached hereto as Exhibit E.

               (mmm) “Sale Order” means an Order of the Bankruptcy Court approving the consummation
of this Agreement, to be prepared by the parties subsequently subject to Section 5.8.

                 (nnn)     “Seller’s Title Notice” has the meaning set out in Section 5.13(c).

                  (ooo) “Taxes” means any and all taxes, fees, levies, duties, tariffs, import charges and other
charges imposed by any taxing authority, together with any related interest, penalties or other additions thereto,
or additional amounts imposed by any taxing authority, and without limiting the generality of the foregoing,
shall include net income alternative or add-on minimum tax, gross income, gross receipts, sales, use, ad valorem,
value added, franchise, profits, license, transfer, recording, escheat, withholding, payroll, employment, excise,
severance, stamp, occupation, premium, property, windfall profit, environmental, custom, duty, or other tax,
governmental fee or other like assessment or charge of any kind whatsoever.

                 (ppp)     “Title Company” means Connecticut Attorneys Title Insurance Company.

                 (qqq)     “Title Policy” shall have the meaning set forth in Section 5.13.

                 (rrr)     “Transferred Employees” shall have the meaning set forth in Section 5.7(e).

                 (sss)     “Woodside Balcony Repair” shall have the meaning set forth in Section 4.7.

                                                    ARTICLE 2

                                     PURCHASE AND SALE OF ASSETS

          2.1     Sale of Assets to Buyer. Upon the terms and subject to the conditions contained in this
 Agreement, at the Closing, the Seller shall sell, assign, transfer, deliver and convey to Buyer, and Buyer shall
 purchase, acquire and accept from Seller pursuant to Sections 363 and 365 of the Bankruptcy Code, free and
 clear of all Liens except Permitted Liens, all of Seller’s right, title and interest in and to all of the following to
 the extent owned by the Seller and used in the Business (collectively, the “Purchased Assets”):

                 (a)       The Facility, the Premises, and the improvements thereon;

                 (b)       the Books and Records, Resident medical records, and Transferred Employee records;


                                                           7
 78263910.34
 Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                               Page 97 of 140



                (c)    the Assumed Contracts (including for Residency Agreements, any rights of Seller in
the Entrance Fee And Option Deposits);

                 (d)       the Equipment;

                 (e)       the Inventory;

                 (f)       to the extent transferable under Applicable Law, the Permits;

                 (g)       all intellectual property, including any trademarks, trade secrets, and the like;

               (h)       general intangibles, and community specific intellectual property, including domain
name www.hillsidevillagekeene.org, as well as the names “The Prospect-Woodward Home” and “Hillside
Village Keene” and related logos and marketing materials; and

                 (i)       subject to Buyer being a non-profit, such funds being transferable, and the restrictions
on the use of any such funds (such funds and restrictions as described in Schedule 2.1(i) and to be updated for
any change in such funds as of Closing), all of Seller’s rights in any endowment or donor-restricted funds held
by Seller (collectively, the “Endowment”).

          2.2      Excluded Assets. The Parties acknowledge that Seller shall not sell, assign, transfer or convey
 to Buyer, and Buyer shall not purchase, acquire or accept from Seller, the assets consisting of the following
 (all such assets, the “Excluded Assets”):

               (a)         all cash and cash equivalents (other than Seller’s rights in the Entrance Fee And
Option Deposits);

                 (b)       the Purchase Price and all rights under this Agreement;

               (c)       except for Entrance Fees And Option Deposits and Resident (or Prospective Resident)
promissory notes as addressed elsewhere, all Accounts Receivable of the Business;

              (d)          all claims and causes of action, including Avoidance Actions under Chapter 5 of the
Bankruptcy Code;

                (e)       all set-off rights to claims filed or asserted in the Chapter 11 Case (except to the extent
arising in connection with an Assumed Contract which is subject to cure);

                (f)       hold-backs and escrows for any prorations or Taxes being paid by Seller in connection
with the Closing or afterward;

                (g)       all insurance policies of Seller, any prepaid insurance premiums and any rights or
claims or proceeds arising from such policies;

                 (h)     all Tax refunds, rebates, and overpayments owed to Seller which are related to Seller’s
operation of the Business prior to the Closing;

                 (i)      all (i) corporate seals, corporate organizational records, minute books, charter
documents, record books, and stock transfer books pertaining to Seller, (ii) original Tax, accounting and
financial records which pertain exclusively to the Excluded Assets, and (iii) such other files, books and records
which pertain exclusively to the Excluded Assets or to the formation, existence or capitalization of Seller or of
any other Person;


                                                          8
 78263910.34
 Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                Page 98 of 140



                (j)        all Inventory and Assets disposed of or exhausted prior to Closing in the ordinary
course of business;

                (k)      any records which Seller is legally required to retain in its possession and any records
related to Excluded Assets or Excluded Liabilities (as hereinafter defined);

                  (l)      all equipment and tangible property located at the Business but not owned by Seller,
or subject to an equipment lease or vehicle lease that is not an Assumed Contract, and all other assets, properties
and rights not related to or used in the Business, all as described in Schedule 2.2(l);

                  (m)      personnel records for Employees who are not Transferred Employees and, to the
 extent the transfer of such records (whether directly or by means of the sale of a Seller) to Buyer or its affiliates
 is prohibited by Applicable Law, for Transferred Employees, and all organizational documents and minute
 books of the Seller;
                   (n)      board designated, restricted and trustee-held or other escrowed funds (such as the debt
 service reserves, self-insurance trusts, workers compensation trusts, working capital trust assets, and assets and
 investments restricted as to use), donor restricted assets (except as provided in Section 2.1(i)), beneficial
 interests in charitable trusts and accrued earnings on all of the foregoing; and
                 (o)       Seller’s attorney-client and work-product privileges.

         2.3      Assumed Liabilities. Upon the terms and subject to the conditions contained in this
 Agreement, at the Closing, Buyer shall assume or otherwise be responsible for, which amounts shall be in
 addition to the Purchase Price, for (collectively, the “Assumed Liabilities”):

                 (a)       all Entrance Fee Obligations and obligations under Residency Agreements and Option
Agreements;

                 (b)       all liabilities and obligations under the Purchased Assets accruing or arising after the
Closing;

                (c)    all liabilities and obligations associated with the Assumed Contracts from and after
Closing and all Cure Amounts associated with such Assumed Contracts; and

                 (d)      all liabilities required to be paid by Buyer pursuant to this Agreement (such as, without
limitation, any recording fee, one-half of the real property transfer Taxes, and to the extent the Endowment is
transferred to Buyer, any obligations with regard to the use after the Effective Time of the Endowment in
accordance with law).

 Seller shall have no liability for any such liabilities or obligations.

           2.4    Excluded Liabilities.

                   (a)      Except for the Assumed Liabilities, Buyer shall not assume or be liable for any
liability, obligation, debt, claim against or contract of the Business, Seller or any of its Affiliates which, in any
case, pertain to the ownership, operation or conduct of the Business or the ownership of the Purchased Assets
prior to the Closing Date, at any time existing or asserted, whether or not accrued, fixed, contingent or otherwise,
whether known or unknown, and whether or not recorded on the Books and Records of Seller or any of its
Affiliates (collectively, the “Retained Liabilities”).

           2.5    Closing Proceedings.



                                                           9
 78263910.34
 Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                             Page 99 of 140



                (a)      As full consideration for the sale of the Purchased Assets by Seller to Buyer, at the
Closing, Buyer shall assume the Assumed Liabilities as provided in Section 2.3 and shall pay to the Seller, cash
in the amount of Thirty-Three Million and NO/00 Dollars ($33,000,000.00), (“Purchase Price”) as adjusted in
accordance with this Section 2.5.

                (b)       One Million Dollars and NO/00 ($1,000,000.00) shall be paid as an earnest money
deposit (the “Deposit”) to Title Company (“Escrow Agent”) within one Business Day of execution of this
Agreement, which will be held by Escrow Agent in accordance with the terms and conditions of this Agreement
and the escrow agreement (the “Escrow Agreement”). The Deposit will be credited against the Purchase Price
at Closing, and will otherwise be disbursed as provided in this Agreement, the Escrow Agreement and the Sale
Order. Any interest on the Deposit shall follow the Deposit.

                 (c)        At the Closing, in addition to such other actions as may be provided for herein, Buyer
shall pay to the Seller, in cash, an amount equal to the Purchase Price by wire transfer of immediately available
funds, with the Deposit being transferred to Seller and credited to the Purchase Price.

                 (d)       At the Closing, Buyer shall assume the Assumed Liabilities (which shall be in addition
to, and not a credit against, the Purchase Price), and with regard to Assumed Contracts, shall pay to each party
to an Assumed Contract (a “Contract Party”) any Cure Amounts, in cash, by wire transfer of immediately
available funds, necessary to acquire any Assumed Contract, at such time as may be designated by the Court in
the Sale Order.

                 (e)       At the Closing, Buyer shall pay all escrow fees, recording costs or fees, one-half of
the real property transfer Taxes, and the cost of any title insurance policy and endorsements thereto obtained by
Buyer. Buyer shall be solely responsible for the fees and costs of Buyer’s counsel and other professional
advisors.

               (f)      At the Closing, Buyer shall pay to Seller an amount equal to Accrued PTO not to
exceed $200,000, due to employees pursuant to New Hampshire law, which Seller shall pay to the employees
as of Closing.

                  (g)      Except as otherwise set forth in this Agreement, all utility charges, rents or other
payments under the Purchased Assets and all ad valorem, real property, personal property and similar Taxes
with respect to the Purchased Assets shall be prorated as of the Closing Date. Taxes (excluding any transfer
Taxes) shall be prorated based on the most recent available tax duplicate. The majority of the Premises is not
currently subject to any real estate Taxes due to the non-profit status of Seller and instead Seller is currently
participating in a PILOT program (the “PILOT Program Premises”), so there shall be no proration as to real
estate Taxes for the PILOT Program Premises. Seller shall pay its prorated portion of the PILOT program
payment, and if Buyer is eligible for and enters into a new PILOT program agreement, Buyer shall be
responsible for its pro-rated portion of the PILOT program payment for the year in which the Closing happens;
if Buyer is not eligible for or does not enter into a new PILOT program agreement, Buyer shall be responsible
for all real estate Taxes related to Buyer’s ownership and acquisition of the PILOT Program Premises. All
prorations shall be final. The prorations and adjustments provided for in this Section shall be made so that
Seller shall receive the income and be charged with the expense of the operation of the Purchased Assets up to
the Closing Date. Buyer shall receive a credit for all prorations due from Seller as of Closing, and Buyer shall
pay all such expenses following the Closing Date; Buyer shall be charged for all prorations due from Buyer as
of Closing which have already been paid to third parties by Seller, provided such payments to third parties have
been disclosed to and reasonably agreed upon by Buyer, prior to the Closing Date.

                (h)       At the Closing, the Parties will execute and deliver the Related Agreements.



                                                        10
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                              Page 100 of 140



          2.6     Time and Place of Closing. Subject to the terms of this Agreement, the closing of the
 transactions contemplated hereby (the “Closing”) shall take place at the offices of Hinckley Allen, 650 Elm
 Street, Manchester, New Hampshire, within seven (7) days after satisfaction or waiver of the conditions to
 Closing set out in Article 6 (the “Closing Date”), and in no event later than March 31, 2022 (the “Outside
 Closing Date”) (unless otherwise mutually agreed by the Parties, including with regard to a remote closing).
 The transactions contemplated hereby shall take place pursuant to, and in accordance with, the terms and
 conditions hereof. The Closing shall be effective as of 11:59 p.m. Eastern Time on the Closing Date or such
 other date and time as the parties may agree in writing (the “Effective Time”).

          2.7     Purchase Price Allocation. For tax purposes only, Buyer and Seller shall allocate the Purchase
 Price (together with Assumed Liabilities properly included, if any) among the Purchased Assets in a manner
 consistent with the fair market values determined in good faith and on a reasonable basis by Buyer and Seller
 prior to the Closing Date, provided that such allocation shall not be binding on any Party for any other purpose.
 Such allocation shall be consistent with Section 1060 of the Internal Revenue Code and the Treasury
 Regulations thereunder. Buyer and Seller covenant and agree that all filings with Governmental Authorities
 regarding Taxes will be consistent with such allocation.

           2.8    Casualty. If any material part of the Purchased Assets is condemned, damaged or destroyed
 (whether by fire, theft, or other casualty event) prior to the Closing, upon the Closing, Seller shall immediately
 notify Buyer of such condemnation, damage or destruction. In the event Seller’s reasonable estimate of such
 damage or destruction is in excess of ten percent (10%) of the Purchase Price, then Buyer shall have the option
 to: (x) terminate this Agreement by written notice delivered to Seller within ten (10) days after Buyer’s receipt
 of notice of such damage or destruction, in which case the Deposit shall be returned to Buyer and the Parties
 shall have no further obligations hereunder, or (y) proceed with the transaction contemplated in this Agreement
 without abatement of the Purchase Price, in which case at and after Closing (i) all insurance proceeds relating
 to such damage or casualty shall be deemed to have been absolutely and irrevocably assigned to and be payable
 directly to Buyer, less any amounts reasonably expended by Seller prior to Closing for partial restoration, (ii)
 Buyer shall have the right to conduct all settlement proceedings with respect to such insurance claims, and (iii)
 Seller shall deliver to Buyer through escrow an unconditional assignment of all such insurance proceeds. If
 this Agreement is not terminated, Seller shall not be obligated to repair any damage or destruction. Any notice
 or documents required to be provided pursuant to this Section shall be provided by the disclosing Party to
 counsel for the Bond Trustee within one (1) Business Day of such required disclosure.

          2.9     Diligence Period. During the period commencing on June 24, 2021 and continuing until 5:00
 p.m. Eastern Time on that date that is sixty (60) days immediately following (the "Diligence Period"), Buyer
 shall have the right to conduct customary due diligence with respect to the Purchased Assets, and to elect, in
 its sole and absolute discretion, to either continue or terminate this Agreement. Buyer may terminate this
 Agreement, and receive a full refund of the Deposit, by delivering written notice of termination to Seller at any
 time prior to the expiration of the Diligence Period. If Buyer does not so terminate this Agreement during the
 Diligence Period, the Deposit shall thereafter be nonrefundable except as set forth in Section 7.3. The
 obligations in this paragraph shall survive the termination of this Agreement.

          2.10    Bankruptcy Court Approval.

                 (a)       Seller and Buyer acknowledge that this Agreement and the sale of the Purchased
Assets and the assumption and assignment of the Assumed Contracts and Residency Agreements are subject to
Bankruptcy Court approval. Seller and Buyer acknowledge that (i) to obtain such approval, Seller must
demonstrate that it has taken reasonable steps to obtain the highest and otherwise best offer possible for the
Purchased Assets, and that such demonstration shall include giving notice of the contemplated transactions to
creditors and other interested parties as ordered by the Bankruptcy Court, and (ii) Buyer must provide adequate
assurance of future performance under the to-be-assigned Executory Contracts.


                                                        11
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                   Page 101 of 140



                   (b)       From and after the Execution Date and prior to the Closing or the termination of this
Agreement in accordance with Article 7, Seller shall not take any action which is intended to (or is reasonably
likely to), or fail to take any action the intent (or the reasonably likely result) of which failure to act is to, result
in the reversal, voiding, modification or staying of the Bid Procedures, Sale Order or this Agreement; provided,
however, that the Seller may act in accordance with the Bid Procedures, the Sale Order, and other orders of the
Bankruptcy Court.

                                                     ARTICLE 3

                          REPRESENTATIONS AND WARRANTIES OF SELLER

          In order to induce Buyer to enter into this Agreement, Seller makes the representations and warranties
 set forth below which are true, correct and complete on the date hereof and shall be true, correct and complete
 as of the Closing.

          3.1      Organization. Subject to entry of the Sale Order, Necessary Consents, and the Approvals, the
 Seller has full power, authority and capacity to execute and deliver this Agreement and the Related Agreements
 and to perform its obligations hereunder and thereunder and to consummate the transactions contemplated
 hereby and thereby.

         3.2      Execution and Delivery. Subject to entry of the Sale Order, Necessary Consents, and the
 Approvals, this Agreement has been duly and validly executed and delivered by Seller and constitutes, and
 upon the execution and delivery by the Seller of the Related Agreements, the Related Agreements shall
 constitute, legal, valid and binding obligations of Seller enforceable against Seller in accordance with their
 terms.

          3.3     Permits. The Facility is duly licensed in accordance with the applicable laws of the State of
 New Hampshire, and all other ancillary departments or services located at or operated for the benefit of, the
 Facility that are required to be separately licensed are duly licensed by the appropriate Governmental
 Authority. Except as set out on Schedule 3.3(i), Seller has all Permits which are needed or required by
 Applicable Law to operate its business related to or affecting the Facility or any ancillary services related
 thereto as currently conducted. Schedule 3.3(ii) is a true, complete and accurate list all material Permits owned
 or held by or issued to Seller relating to the ownership or operation of the Facility or the Purchased Assets and
 such Permits constitute all material Permits necessary for the conduct of the Business and operation of the
 Facility as currently conducted and for the ownership of the Facility by Seller and operation and use of the
 Purchased Assets by Seller, all of which are in full force and effect.

          3.4      Litigation Proceedings; Judgments. Schedule 3.4 is an accurate list of all pending litigation
 or proceedings with respect to the Facility and the Purchased Assets. Except as set forth on Schedule 3.4 there
 are no claims, actions, suits, proceedings, or investigations, pending or to Seller’s Knowledge, threatened,
 against or related to Seller, the Facility or the Purchased Assets, at law or in equity. There are no judgments
 presently outstanding and unsatisfied against the Facility and Business, Seller or any of the Purchased
 Assets. Except as set forth on Schedule 3.4, Seller has not received any written notice or written claim for tort
 or violation of any applicable order, or an investigation thereof with respect to its ownership or operation of
 the Facility or the Business.

        3.5      Employee Relations. Seller is in compliance in all material respects with all Applicable Laws
 and contracts respecting employment and employment practices, labor relations, terms and conditions of
 employment, and wages and hours. Except as set forth on Schedule 3.5, Seller has no Knowledge of any
 complaints before or claims brought by a Governmental Authority regarding employment discrimination,
 safety or other employment-related charges or complaints, wage and hour claims, unemployment
 compensation claims, workers’ compensation claims or the like.

                                                           12
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                              Page 102 of 140



        3.6      Compliance. Except as set forth on Schedule 3.6, to the Knowledge of Seller, Seller is in
compliance in all material respects with all applicable statutes, rules, regulations, and requirements, including
healthcare laws and regulations, of each Governmental Authority having jurisdiction over the Seller and the
Purchased Assets and the operations of the Facility and the Purchased Assets. To the extent of any material
deficiencies are determined during a healthcare survey by the appropriate Governmental Authority, Seller has
corrected such deficiencies as of the Closing Date or has proposed a plan of correction which as of the Closing
Date has been accepted or is reasonably anticipated to be accepted by the applicable Governmental Authority.

       3.7      Broker. Except for the engagement of Grandbridge, whose fee shall be paid by Seller from the
proceeds of the sale at Closing, neither Seller nor any of its Affiliates has incurred any liability for any fee or
commission to any broker, finder, investment banker or other intermediary in connection with the transactions
contemplated by this Agreement that would result in any liability, fee, expense or obligation being imposed on
Buyer.

        3.8      Environmental Matters. Except as set forth on Schedule 3.8: (a) there are no material
environmental liabilities on or affecting any of the Facility, (b) Seller has at all times operated the Facility and
conducted the Business and, during the period that Seller owned the Facility and any third party operated any
such Business, such third party operated the Business, in each case, in compliance with all applicable
environmental laws and permits required thereunder or issued pursuant thereto in all material respects; and (c)
to Seller’s Knowledge, there are no proceedings pending or threatened before any Governmental Authority
with respect to Seller’s ownership or operation of the Premises alleging violations of environmental laws, or
claiming material remediation obligations under applicable environmental laws, and Seller has not received
any written notice of any alleged or actual violation or non-compliance with any environmental law or of non-
compliance with the terms or conditions of any environmental Permits, arising from, based upon, associated
with or related to the Premises or the ownership or operation thereof.

         3.9     Financial Information.

                 (a)     Schedule 3.9 hereto contains the following financial statements and financial
information:

                         (i)      Audited financial statements of the Business for calendar years 2018, 2019
and 2020; and

                         (ii)     Unaudited financial statements for each month from January 2021 through
March 31, 2021.

The foregoing financial statements are true, correct and complete in all material respects and have been
prepared in accordance with GAAP, applied on a consistent basis throughout the periods indicated except that
the Unaudited Financial Information may not include required footnote disclosures or reflect normal year-end
adjustments, including any future service obligation adjustment. Except as set forth on Schedule 3.9, the
foregoing financial statements present fairly, in all material respects, the financial condition of the Business as
of the respective dates they were prepared and the results of the operations of the Business for the periods
indicated.

         3.10    Real Property.

                   (a)     Schedule 3.10 contains an accurate and complete legal description, street address and
tax parcel identification number for the Premises. Seller holds good and indefeasible fee simple title to all of
the Premises, and shall convey the Premises in accordance with the Sale Order free and clear of all Liens (other
than the Permitted Liens). Seller does not lease any portion of the Premises as a tenant or subtenant. Seller
agrees that title to the Premises shall not be altered between the date of this Agreement and Closing.

                                                        13
78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                Page 103 of 140



                 (b)     Seller has not received written notice from any Governmental Authority of (and
otherwise has no knowledge of): (i) any pending or threatened condemnation proceedings affecting the
Premises, or any part thereof; (ii) asserting or alleging any material violations or potential violations of any
Applicable Laws (including zoning and land use ordinances, building codes and similar requirements) with
respect to the Premises, or any part thereof, which have not heretofore been cured; or (iii) any pending or
threatened proceedings, nor any claims or actions against Seller or the Premises, relating to the ownership,
lease, use or occupancy of such Premises or any portion thereof which is reasonably likely to result in a material
change in the condition of the Premises or the ownership or operation of the Premises. Seller has not received
any written notice of any pending zoning or other land use change affecting the Premises.

                 (c)     Neither Seller nor, to Seller’s Knowledge, any other person is in violation of a
condition or agreement contained in any easement, restrictive covenant or any similar instrument or agreement
affecting any of the Premises in any material respect.

         3.11    Insurance. Schedule 3.11 sets forth an accurate and complete list of all insurance policies or
self-insurance funds maintained by Seller or its representatives or agents with respect to the Facility and Seller
as of the Execution Date covering the ownership and operation of the Business, indicating the types of
insurance, policy numbers, terms, identity of insurers and amounts and coverages (including applicable
deductibles).

        3.12    Intellectual Property. Seller owns or has the right to use all intellectual property used in
connection with the ownership or operation of the Facility. Schedule 3.12 lists all of the registered intellectual
property owned by Seller. Except as set forth on Schedule 3.12, the conduct of the Business does not infringe
or otherwise violate any intellectual property or other proprietary rights of any other Person, and there is no
action pending or, to the Knowledge of Seller, threatened, alleging any such infringement or violation or
challenging Seller’s rights in or to any of its intellectual property.

         3.13    Tax Matters. Except as set forth on Schedule 3.13:

                (a)    All Taxes due and owing by Seller (whether or not shown on any tax return) have
been timely paid when due (taking into account any applicable extensions), including all Taxes with respect to
the Facility.

                (b)     There are no liens relating to Taxes on any of the Purchased Assets other than liens
for Taxes not yet due and payable.

                 (c)      Proper and accurate amounts have been withheld by Seller in compliance with the
payroll tax and other withholding provisions of all Applicable Laws, and all of such amounts have been timely
remitted to the proper taxing authority.

                 (d)     Seller has timely filed all tax returns required to be filed by it, including all tax returns
relating to the Purchased Assets (all of which are true, complete and correct in all material respects). Seller
has not waived any statute of limitations in respect of Taxes or agreed to any extension of time with respect to
a tax assessment or deficiency, which currently remains in effect. Seller is not currently the beneficiary of any
extension of time within which to file any tax return.

                  (e)     To Seller’s Knowledge, no deficiencies for Taxes have been claimed, proposed or
assessed by any Governmental Authority for which Seller may have any liability or which may attach to the
Purchased Assets. There are no pending or, to Seller’s Knowledge, threatened proceedings for or relating to
any liability in respect of Taxes for which Seller may have any liability or which may attach to the Purchased
Assets. There are no matters under discussion by Seller with any Governmental Authority with respect to
Taxes that may result in an additional amount of Taxes for which Seller may have any liability or which may

                                                         14
78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                             Page 104 of 140



attach to the Purchased Assets. No Governmental Authority has notified Seller that it has conducted an audit
of any Taxes that may be due and owing by Seller or as the result of the Business audited by Seller, which
currently remains outstanding or unresolved.

        3.14     No Other Representation and/or Warranty. Except for the representations and warranties
contained in this Article 3 (including the related portions of the Schedules), Seller has not made and does not
make any other express or implied representation or warranty, either written or oral, on behalf of or with respect
to Seller, the Purchased Assets, the Premises, the Facility or the Business, including any representation or
warranty arising from statute or otherwise in law.

                                                  ARTICLE 4

                        REPRESENTATIONS AND WARRANTIES OF BUYER

         In order to induce Seller to enter into this Agreement, Buyer makes the representations and warranties
set forth below which are true, correct and complete on the date hereof and shall be true, correct and complete
as of the Closing.

      4.1     Organization. Buyer has full power, authority and capacity to execute and deliver this
Agreement and the Related Agreements and to perform its obligations hereunder and thereunder and to
consummate the transactions contemplated hereby and thereby.

       4.2     Execution and Delivery. This Agreement has been duly and validly executed and delivered
by Buyer and constitutes and, upon the execution and delivery by Buyer of the Related Agreements, the Related
Agreements shall constitute, legal, valid and binding obligations of Buyer enforceable against Buyer in
accordance with their terms.

        4.3    Governmental Approvals and Filings. No consent, approval or action of, filing with or notice
to any Governmental Authority on the part of Buyer is required in connection with the execution, delivery and
performance of this Agreement or any of the Related Agreements or the consummation of the transactions
contemplated hereby or thereby.

        4.4    Brokers. Neither Buyer nor any of its Affiliates has incurred any liability for any fee or
commission to any broker, finder, investment banker or other intermediary in connection with the transactions
contemplated by this Agreement that would result in any liability, fee, expense or obligation being imposed on
Seller.

         4.5    Adequate Funds. Buyer has adequate funds available to it in order to consummate the
transactions contemplated by this Agreement and the Related Agreements and to perform its obligations
hereunder and thereunder.

        4.6     Fitness for Obtaining Permits and Approvals. Buyer has no knowledge of any material fact
or other information related to Buyer or any of its Affiliates which could be reasonably expected to have an
adverse impact on Buyer’s ability to obtain the Permits or Approvals.

         4.7     Construction Dispute. Buyer acknowledges that Seller is in a construction dispute with its
original contractor regarding allegations of substandard and incomplete work on the Premises, and Seller has
retained Bergeron construction as a new contractor to complete approximately $570,000 of construction and
remediation repairs to the Woodside building balconies (the “Woodside Balcony Repair”), as set out on
Schedule 4.7. Seller shall promptly pay for all construction and remediation associated with the Woodside
Balcony Repair, and Seller shall make commercially reasonable efforts to have the work completed by
September 30, 2021, but in any event, the work shall be completed on or before Closing. Seller shall furnish

                                                       15
78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                               Page 105 of 140



 Title Company with all documentation required to enable Title Company to issue an owner’s policy that insures
 over all mechanic’s liens. Buyer is assuming no liability, for continuing litigation or otherwise, with respect
 to the construction dispute.

          4.8     Condition of Assets; Disclaimers.
                   (a)     Buyer acknowledges that it has fully inspected or waived the right to inspect the
Purchased Assets prior to the execution of this Agreement and has made its own determinations as to the
Purchased Assets. Buyer expressly acknowledges and warrants that Buyer is accepting the Purchased Assets
in an “AS IS” “WHERE IS” “WITH ALL FAULTS CONDITION” and all latent or patent defects, with regard
to all aspects of the Purchased Assets without warranty or representation of any kind by Seller or any of Seller’s
managers, members, officers, directors, employees, partners, agents, representatives, beneficiaries, attorneys,
subsidiaries, Affiliates, contractors subcontractors, successors and assigns. BUYER ACKNOWLEDGES
THAT, EXCEPT AS OTHERWISE PROVIDED FOR IN THE REPRESENTATIONS AND WARRANTIES
IN ARTICLE 3 OF THIS AGREEMENT, SELLER MAKES NO REPRESENTATIONS, WARRANTIES, OR
GUARANTEES WHATSOEVER, EXPRESS OR IMPLIED, WITH RESPECT TO: ANY MATTER
RELATED TO THE PURCHASED ASSETS (INCLUDING, WITHOUT LIMITATION, INCOME TO BE
DERIVED FROM OR EXPENSES TO BE INCURRED IN CONNECTION WITH THE PURCHASED
ASSETS; THE PHYSICAL CONDITION OF THE PURCHASED ASSETS; THE PRESENCE OR
ABSENCE OF ANY HAZARDOUS MATERIALS IN, ON OR ABOUT THE PURCHASED ASSETS OR
ANY OTHER MATTER RELATED TO THE ENVIRONMENTAL CONDITION OF THE PURCHASED
ASSETS; THE HABITABILITY OF THE PURCHASED ASSETS; THE ZONING OF THE PURCHASED
ASSETS; THE POSSIBILITY OF DEVELOPING OR USING THE PURCHASED ASSETS IN THE
MANNER CONTEMPLATED BY BUYER OR OBTAINING ANY CONSENTS, APPROVALS, PERMITS,
AUTHORIZATIONS OR ENTITLEMENTS IN CONNECTION THEREWITH; THE VALUE OF THE
PURCHASED ASSETS; THE MERCHANTABILITY OR FITNESS OF THE PURCHASED ASSETS FOR
ANY PARTICULAR PURPOSE OR USE.

                                                   ARTICLE 5

                                                 COVENANTS

         5.1        Access to Books and Records. From and after the Closing, unless such other date is set by the
 Bankruptcy Court, each Party shall afford, for a period ending on the later of (i) three (3) years from the Closing
 Date and (ii) the date of the entry of a final decree or an order converting or dismissing the Chapter 11 Case,
 the other Party, its Affiliates and the Bond Trustee reasonable access, during normal business hours, to the
 books, records and other data relating to the operation of the Business prior to the Closing in its possession to
 the extent that such access may be reasonably required by the requesting Party in connection with (a) the
 preparation of Tax returns, (b) the determination or enforcement of rights and obligations under this
 Agreement, (c) compliance with the requirements of any Governmental Authority, (d) in connection with any
 threatened or actual legal proceeding, (e) in connection with any audit of the Business for any pre-Closing
 period, or (f) in connection with administering the Chapter 11 Case, or any subsequent Chapter 7 case. During
 such period neither Party shall dispose of or destroy any books, records or other data relating to the operation
 of the Business prior to the Closing unless such Party gives the other Party thirty (30) days’ prior written notice
 thereof and the option to retain such books, records or other data. Further, Buyer shall maintain all records
 including healthcare records for the periods required by law.

          5.2     Cooperation; Approvals; Ordinary Course.

                (a)       Subject to the terms and conditions herein provided, the Parties shall use
commercially reasonable efforts to bring about the satisfaction as soon as practicable of all the conditions
(whether set forth in this Agreement or otherwise) necessary to effect the consummation of the transactions
contemplated by this Agreement.
                                                         16
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                 Page 106 of 140



                 (b)      From the Execution Date until the Closing, Seller will operate in the ordinary course
of business consistent with past practice, as modified pursuant to the proceedings before the Bankruptcy Court.
Seller will advise Buyer before Seller enters into any material contracts or incurs any material obligations
outside of the ordinary course of business.

          5.3     Regulatory Filings. Within three (3) Business Days of entry of the Sale Order, the Parties
 shall promptly file all applications and documents which are necessary to obtain the consent of each applicable
 Government Authority as may be appropriate in connection with the transactions contemplated by this
 Agreement and the Parties shall, at the same time as filed, provide a copy to the other Party. The Parties shall
 diligently prosecute such applications and take any other actions which are or may be reasonable and
 appropriate in connection therewith. Each Party shall provide the other Party with (a) copies of said Party’s
 responses to written requests for additional information from any Government Authority that in any way relates
 to the Business or Purchased Assets within two (2) Business Days after sending such responses, and (b) copies
 of all written correspondence from any Government Authority that in any way relates to the Business or
 Purchased Assets within two (2) Business Days after receiving such correspondence. The Parties will maintain
 in confidence all documents provided pursuant to this Section, unless public disclosure is required by
 Applicable Law, or is otherwise made to a Government Authority, in which case, to the extent practicable, the
 Parties will use their commercially reasonable efforts to reach mutual agreement prior to making such
 disclosure. Notwithstanding the foregoing, any documents provided pursuant to this Section shall be provided
 by Seller to counsel for the Bond Trustee within two (2) Business Days of receipt from Buyer.

           5.4       Further Assurances. Subject to the terms and conditions of this Agreement, at any time or
 from time to time after the Closing, at Buyer’s reasonable request and at the Buyer’s sole cost and expense,
 the Seller will execute and deliver to Buyer such other instruments of sale, transfer, conveyance and
 assignment, provide such materials and information and take such other actions as Buyer may reasonably deem
 necessary or desirable in order more effectively to transfer, convey and assign to Buyer, and to confirm Buyer’s
 title to, all of the Purchased Assets.

          5.5     Buyer’s Closing Deliveries. At the Closing, Buyer shall deliver the following to Seller:

                 (a)       the Purchase Price, net of the cash portion of the Deposit to be applied thereto;

                 (b)       the Accrued PTO funds;

                 (c)       the Related Agreements to which Buyer is a party, duly executed by Buyer;

                (d)        a certificate executed as of the Closing Date by a duly authorized representative of the
Buyer, certifying that the conditions set forth in this Agreement have been satisfied;

                  (e)       a certificate of a duly authorized representative of Buyer (i) certifying that attached to
such certificate are true and complete copies of (A) Buyer’s organizational documents, each as amended through
and in effect on the Closing Date and (B) resolutions of the authorized representative of Buyer, authorizing the
execution, delivery and performance of this Agreement and the related agreements to which Buyer is a party
and the consummation of the transactions contemplated by this Agreement and the Related Agreements, and
(ii) certifying as to the incumbency of the officer of Buyer executing this Agreement and the Related
Agreements to which Buyer is a party;

                 (f)        a certificate of good standing for Buyer from the New Hampshire Secretary of State;
and

                  (g)       all instruments of transfer and/or assignment, certificates, deeds, bills of sale, evidence
of filing an/or recording, and other documents as are reasonably necessary to effectuate the sale of the Purchased

                                                          17
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                           Page 107 of 140



Assets, including customary documents required in order for title policies to be issued by the Title Company to
Buyer at Closing.

          5.6    Seller’s Closing Deliveries. At the Closing, Seller shall deliver the following to Buyer:

                (a)      Keys and passcodes to the Facility;

                (b)      the Related Agreements to which the Seller is a party, duly executed by the Seller;

                (c)      evidence of payment of the Accrued PTO to Seller’s employees;

                (d)       the Sale Order entered by the Bankruptcy Court providing authority for Seller to
conduct the transactions hereunder;

                (e)      all promissory notes entered into by Residents; and

                (f)      Resident trust funds, if any.

          5.7    Employees.

                  (a)     Immediately prior to the Effective Time (the “Termination Date”), Seller shall
terminate all of its employees, and, as of the Effective Time, Buyer shall offer employment to such persons on
an at-will basis and subject to Buyer’s pre-employment screenings and employment practices, policies and
procedures. Seller agrees to use its commercially reasonable efforts to make employment records and other
related information reasonably requested by Buyer available to Buyer.

                  (b)       Following the Effective Time, Buyer shall provide benefits and other terms and
conditions of employment to the Employees at levels consistent, in the aggregate, with those provided by Buyer
and its Affiliates to their employees, with credit for prior service time and seniority.

                 (c)      Seller shall provide Buyer, at least twenty (20) days prior to the Closing Date, a
Schedule 5.7(c) setting forth, for each employee, the amount of accrued but unused paid time off or unused sick
time (excluding any unused paid time off or unused sick time above the 200 hour cap provided for in Seller’s
employee policies) for each employee as of the Closing Date (collectively, “Accrued PTO”) and the aggregate
value of the Accrued PTO. Seller shall provide Buyer on the Closing Date with an updated version of such
schedule reflecting Accrued PTO amounts (and the value of those amounts) as of the Closing Date (as so
updated, the “Accrued PTO Schedule”). On the Closing Date, Buyer shall pay Seller, in addition to the
Purchase Price, an amount equal to the Accrued PTO due to each employee as required by New Hampshire law,
and Seller shall pay such funds to each employee as of Closing.

                (d)      Not more than fifteen (15) days after the Execution Date, Seller shall provide Buyer
with a Schedule 5.7(d) (the “Schedule of Employees”) of all employees of Seller working at the Facility,
including, for each listed employee, his or her name, date of hire, job title, full-time/part-time status,
exempt/non-exempt status, bonus eligibility, commission eligibility, severance entitlement, current
compensation paid or payable, and status (e.g., leave of absence, disability, layoff, active, temporary). The
Schedule of Employees shall be updated fifteen (15) days prior to Closing.

               (e)       Buyer shall offer immediate employment (so that no period of unemployment shall
occur between employment with Seller and employment with Buyer) to a such number of Seller’s employees
as it deems necessary, in Buyer’s sole discretion, to commence at 12:01 a.m. on the Closing Date (such
employees who accept such offer from Buyer, the “Transferred Employees”). If Buyer fails to offer immediate
employment to a sufficient number of employees on terms to avoid a violation of the WARN Act or any
comparable state or local laws, Buyer agrees that it shall be responsible for any associated liabilities arising
                                                         18
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                 Page 108 of 140



under the WARN Act or comparable state or local laws. Buyer shall deliver to Seller within ten (10) days prior
to the Closing Date, an updated schedule of Transferred Employees identifying to Seller all of Seller’s
employees to whom offers will be made by Buyer. In furtherance and not in limitation of the foregoing, Buyer
shall treat prior service with Seller reflected in the information provided above as service with Buyer for
purposes of determining eligibility to participate and vesting in all benefits programs maintained by Buyer.
Seller shall cooperate with Buyer in providing information reasonably requested by Buyer to facilitate hiring
and establishing benefits for Transferred Employees who accept employment with Buyer. This Agreement
shall not be deemed to create or grant to any Transferred Employee any third party beneficiary rights or claims
or any cause of action of any kind or nature.

                  (f)      At Buyer’s sole cost and expense (other than for employee cost-sharing), Buyer shall
be responsible for offering Transferred Employees group health plan coverage on and after the Closing Date
sufficient to extinguish any rights a Transferred Employee may have to continuation of coverage under any of
Seller’s group health plans including, but not limited to, COBRA insurance coverage, if a Transferred Employee
so elects such coverage. Buyer shall provide COBRA continuation coverage (within the meaning of Section
4980B of the Code and the Treasury regulations thereunder) to all individuals who are “M&A qualified
beneficiaries” (within the meaning of Treasury Regulation Section 54.4980B-9, Q&A-4) with respect to the
transaction contemplated herein for the duration of the period to which such individuals are entitled to such
coverage.

          5.8     Bankruptcy Filings.

                (a)       Seller, Bond Trustee and Buyer have negotiated an order approving the Bid
Procedures (the “Bid Procedures Order”), which Bid Procedures Order shall be included in the Sale and
Procedure Motion. The Sale and Procedure Motion, Bid Procedures Order, and Sale Order shall be acceptable
to Buyer, the Seller and the Bond Trustee in their reasonable discretion.

                  (b)      Promptly after expiration of the Diligence Period (and no later than August 31, 2021
if the Diligence Period ends at least seven days prior thereto), Seller shall file: (i) a voluntary petition for relief
under chapter 11 of the Bankruptcy Code, (ii) a motion or motions for approval of the appropriate terms of this
Agreement and the Bid Procedures, including, without limitation, the Break-Up Fee and an overbid process
(collectively, the “Sale and Procedure Motion”), and (iii) to schedule a hearing(s) to approve the contemplated
transaction pursuant to Sections 363 and 365 of the Bankruptcy Code, as applicable.

                (c)      Seller shall use its commercially reasonable efforts to obtain entry of the Bid
Procedures Order within twenty one (21) days of the commencement of the Petition Date, naming Buyer as the
Stalking Horse and approving the Break-Up Fee and Expense Reimbursement. The Sale Procedures Order shall
be in form and substance reasonably acceptable to Buyer and its counsel and the Bond Trustee and shall be a
condition precedent for Buyer completing the contemplated transaction.

                 (d)       Bids shall be required to be submitted under the Bid Procedures no later than sixty
(60) days after the Petition Date.

               (e)      The auction concerning the contemplated transaction shall take place pursuant to the
Bid Procedures Order on or about sixty five (65) days following the Petition Date.

                 (f)      Seller shall request that the Bankruptcy Court schedule a hearing on the contemplated
transaction on or about seventy (70) days following the Petition Date (subject to availability of the Bankruptcy
Court).




                                                          19
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                            Page 109 of 140



               (g)       Seller shall use its commercially reasonable efforts to obtain entry of the Sale Order
on or about seventy (75) days following the Petition Date (subject to availability of the Bankruptcy Court);
provided, however, that the Seller may act in accordance with the Bid Procedures Order.

                  (h)       In the event that the entry of a Sale Order is appealed or a stay pending appeal is
sought, Seller shall oppose the appeal or the stay pending appeal and seek the dismissal of any appeal (including
a petition for certiorari, motion for rehearing, re-argument, reconsideration or revocation).

                 (i)      Notwithstanding the foregoing, any resulting changes to this Agreement or any other
Related Agreement or resulting material changes to the proposed Sale Order shall be subject to the approval of
Buyer, Seller and Bond Trustee in their reasonable discretion. Seller shall (i) provide Buyer with drafts of any
and all other pleadings and proposed orders to be filed or submitted in connection with this Agreement and the
contemplated transactions, and such pleadings and proposed orders shall be in form and substance reasonably
acceptable to Buyer, and (ii) make commercially reasonable efforts to consult and cooperate with Buyer
regarding any discovery taken in connection with seeking entry of the Sale Order (including any depositions).

                 (j)      During the Chapter 11 Case, Seller shall not commence, assign, convey or abandon
any Avoidance Actions against any of Seller’s ordinary course vendors, contract counterparties, contractors and
other suppliers of services related to the Business who are doing business with Buyer following the Closing,
without the prior written consent of Buyer.

                 (k)      In the event that Buyer is not selected as the winning bidder at any auction pursuant
to the Bid Procedures, Buyer understands and acknowledges that at Seller’s election and subject to the Bid
Procedures Order, Buyer will remain obligated hereunder as the “Back-Up Bidder” until termination by Seller
or the closing of an Alternative Transaction for the period required under the Bid Procedures Order.

          5.9    Assumed Contracts and Cure Amounts.

                (a)       Subject to the approval of the Bankruptcy Court by Final Order and effective on the
Closing Date, the Assumed Contracts and Residency Agreements and Option Agreements will be assumed by
the Seller and assigned to the Buyer on the Closing Date, in accordance with Section 365 of the Bankruptcy
Code. The final determination of which Contracts (other than Residency Agreements and Option Agreements)
shall be Assumed Contracts shall be within the Buyer’s sole discretion. The Cure Amounts of the Assumed
Contracts and Residency Agreements shall be paid by the Buyer in accordance with the provisions herein.

                 (b)      At the Closing or such time as may be approved by the Court in the Sale Order or any
subsequent order, Buyer shall pay, pursuant to Section 365 of the Bankruptcy Code and the Sale Order, any and
all cure and reinstatement costs or expenses (not including any refund claims which shall be paid after Closing
in due course) that are required to be paid under Sections 365(b)(1)(A) and (B) of the Bankruptcy Code in
connection with the assumption and assignment of the Assumed Contracts. For the avoidance of doubt, (i) Buyer
shall pay all Cure Amounts as determined by the Bankruptcy Court for any Assumed Contracts in cash at
Closing or at such time as ordered by the Bankruptcy Court, (ii) the Cure Amounts are separate and apart from,
and in addition to, the Purchase Price and, (iii) Buyer shall not be required to make any payment of Cure
Amounts for, and shall not assume any liabilities with respect to, any Contract that is not an Assumed Contract.

                 (c)     Non-Assignment of Assumed Contracts. Notwithstanding any other provision of this
Agreement to the contrary, this Agreement shall not constitute an agreement to assign or transfer and shall not
affect the assignment or transfer of any Purchased Asset if the Bankruptcy Court shall not have approved
assumption and assignment of any Assumed Contract for any reason (each such action, a “Necessary
Consent”). In such event, Seller and Buyer shall use their commercially reasonable efforts, to obtain the
Necessary Consents with respect to any such Assumed Contract after the Closing; provided that the failure to
obtain any Necessary Consent shall not delay the Closing or give rise to a reduction in the Purchase Price.

                                                       20
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                               Page 110 of 140



Nothing in this Section 5.9 shall in any way diminish or enlarge (x) Buyer’s obligations hereunder to obtain the
Approvals, or (y) the Parties’ obligations hereunder to obtain the Necessary Consents.

                 (d)     Except regarding Residency Contracts and Option Agreements, notwithstanding
anything in this Agreement to the contrary, a Contract that is validly rejected or otherwise not assumed and
assigned to the Buyer pursuant to this Section 5.9 shall constitute an Excluded Asset.

                 (e)      Schedule 5.9(e) of the Disclosure Schedules sets forth each Executory Contract with
annual payments of at least $10,000.00, and Seller’s good faith estimate of the amount of the Cure Amounts
payable in respect of each such Executory Contract (and if no Cure Amount is estimated to be payable in respect
of any particular Executory Contract, the amount of such Cure Amount designated for such Contract shall be
$0.00). Buyer shall have the right to review Schedule 5.9(e) delivered by Seller and exclude any contract (other
than a Residency Agreement or Option Agreement) listed on such Schedule at any time that is at least 5 days
prior to Closing. Schedule 5.9(e) shall be updated automatically to reflect any cure findings of the Bankruptcy
Court.

                 (f)       At any time prior to the Designation Deadline, Buyer shall have the right, which may
be exercised in Buyer’s sole discretion, to provide written notice to Seller (each such notice, a “Contract
Notice”) of Buyer’s election to designate any Executory Contract (including any Contract that is an Assumed
Contract immediately before such designation but excluding the Residency Agreements or Option Agreements)
(1) as an Excluded Asset, and upon such designation, such Executory Contract shall constitute an Excluded
Asset and, if applicable, shall cease to constitute an Assumed Contract or (2) to the extent not already rejected,
as an Assumed Contract, and upon such designation, such Executory Contract shall constitute an Assumed
Contract and shall cease to constitute an Excluded Asset. Buyer shall provide Seller a Schedule 5.9(f) on or
before the Designation Deadline reflecting the Executory Contracts that are Assumed Contracts and that are
Excluded Assets.

                (g)        If Buyer exercises its rights in Section 5.9(f) above to designate a Contract, including
a Contract that was an Assumed Contract immediately before such designation, as an Excluded Asset, there
shall be no reduction in the Purchase Price as a result of such designation or change in designation.

          5.10   Covenants Relating to Residency Agreements. Buyer agrees that all Residency Agreements
 identified on Schedule 1(iii) shall be Assumed Contracts (or to the extent non-executory, Assumed Liabilities)
 to be assumed by and assigned to Buyer; provided, however, the Buyer’s obligations under this Section 5.10
 are expressly subject to any and all defenses, causes of action, claims, other rights or privileges that Buyer may
 have under the applicable Residency Agreement(s), including, without limitation, defenses based on a Resident
 or Prospective Resident’s failure to pay all monthly fees and other fees and assessments with respect to each
 such applicable Residency Agreement.

          5.11    Charity Care, Endowment, and Trust Funds. Buyer shall implement and maintain a charity
 care policy which provides for the treatment and care of residents who are unable to pay. Further, (i) to the
 extent that Buyer is receiving the Endowment in connection with the transaction, Buyer shall comply with all
 restrictions and requirements on the use and maintenance of such funds following transfer, which restriction
 and requirements are described in Schedule 2.1(i), (ii) to the extent that Buyer is receiving Resident trust funds
 or Resident deposits, Buyer shall comply with all restrictions and requirements on the use and maintenance of
 such funds following transfer, and (iii) Buyer shall comply with the obligations of the Option Agreements
 regarding the Option Deposits.

          5.12    Accounts Receivable.

               (a)      Seller shall retain whatever right, title and interest it may have in and to all outstanding
Accounts Receivable with respect to the Facility which relate to periods ending on or before the Effective Time

                                                         21
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                             Page 111 of 140



(including without limitation any amounts due on or before Closing for any Resident promissory notes being
transferred pursuant to Section 5.6(e), which amounts shall be collected by Buyer using commercially
reasonable efforts and paid over to Seller upon receipt).

                (b)       Payments received by Buyer after the Effective Time from third party payors
including, but not limited to managed care and health insurance, shall be handled as follows:

                           (i)    If such payments either specifically indicate on the accompanying remittance
 advice, or if Buyer and Seller agree that such payments relate to the period ending before the Effective Time,
 they shall be forwarded by Buyer to Seller, along with the applicable remittance advice, within ten (10) days
 after receipt thereof; and

                         (ii)   If such payments indicate on the accompanying remittance advice, or if Buyer
 and Seller agree that such payments relate to the period after the Effective Time, they shall be retained by
 Buyer.

                (c)       Payments received by Seller after the Effective Time from third party payors
including, but not limited to managed care and health insurance, shall be handled as follows:

                          (i)      If such payments either specifically indicate on the accompanying remittance
 advice, or if Buyer and Seller agree that such payments relate to the period after the Effective Time, they shall
 be forwarded by Seller to Buyer, along with the applicable remittance advice, within ten (10) days after receipt
 thereof; and

                          (ii)      If such payments indicate on the accompanying remittance advice, or if Buyer
 and Seller agree that they relate to the period ending on or before the Effective Time, they shall be retained by
 Seller.

                 (d)      If the remittance advice indicates or the Parties agree that any payment relates to
periods both prior to or on and after the Effective Time, the Party receiving the payment shall forward the
amount relating to the other Party’s operation of the Business, along with the applicable remittance advice,
within ten (10) days after receipt thereof. If the remittance advice does not indicate the period to which a
payment relates or whether it is for Buyer or Seller, or if there is no accompanying remittance advice, or the
payment is not otherwise identifiable using commercially reasonable efforts, and if the Parties do not otherwise
agree as to how to apply such payment, then 100% of such payments received within the first one-hundred
twenty (120) days after the Effective Time shall be deemed to have been collected in respect of Seller’s
Accounts Receivable due from the payee in respect of services provided on or prior to the Effective Time. All
such payments received in excess of the amount of Seller’s Accounts Receivables due from said payee and all
such payments received one-hundred twenty (120) days after the Effective Time shall be deemed to belong to
Buyer. If the party receiving the funds is not the party entitled to the funds hereunder, such party shall forward
such funds to the other party within ten (10) days. For the avoidance of doubt, no party shall have the right to
setoff or recoup against amounts it is required to send to the other party under this paragraph.

          5.13   Title and Survey Matters.

                  (a)     Buyer has received the title commitment listed in Schedule 5.13(a) (the
“Commitment”) from the Title Company, for the Title Company to issue as of the Closing an ALTA owner’s
policy of title insurance (Form 2006) (the “Title Policy”) for the Premises, together with improvements,
buildings and fixtures thereon, unless otherwise noted in such Commitment, in an amount equal to the amount
of the Purchase Price allocated by Buyer and Seller in accordance with Section 2.7 of this Agreement to the
Premises, and all improvements, buildings and fixtures thereon. The Commitment provides for the issuance of
the Title Policy to Buyer as of the Closing and shall insure title to the Premises and all improvements, buildings

                                                        22
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                              Page 112 of 140



and fixtures thereon, subject only to the Permitted Liens. Subject to and consistent with the Sale Order, Seller
agrees to deliver any information as may be reasonably required by the Title Company under the requirements
Section of the Commitments or otherwise in connection with the issuance of the Title Policy to issue the Title
Policy in accordance with the Commitment. Seller also agrees to provide an affidavit of title consistent with a
quitclaim deed (or the State equivalent thereof) and/or such other information as the Title Company may
reasonably require in order for the Title Company to insure over the “gap” (i.e., the period of time between the
effective date of the title insurance company’s last check-down of title to the Premises and the Closing Date).

                (b)      Prior to the Closing, Buyer may order updates or continuations of, and supplements
to, the Commitment (each a “Title Update”) for the Premises, at Buyer’s sole cost. Buyer shall instruct Title
Company to simultaneously deliver directly to Buyer and Seller copies of each Title Update (including tax and
departmental searches) ordered by Buyer or otherwise issued by Title Company, at Buyer’s cost, and copies of
all underlying documentation referenced as an exception in such Title Update as soon as and if reasonably
available.

                  (c)      Buyer shall have the right to deliver one or more written notices relating to each of
the Title Updates (each, a “Title Objection Notice”) to Seller objecting to any items contained in any one or
more of the Title Updates which are not Permitted Liens unless and until agreed by Buyer pursuant to this
Section 5.13 to become part of the Permitted Liens (said objections listed on each Title Objection Notice, the
"Objectionable Title Exceptions”). Each such Title Objection Notice relating to any Title Update will be
delivered by Buyer to Seller within ten (10) days after Buyer’s receipt of such applicable Title Update, and,
unless due to a late change from the Title Company outside of Buyer’s control, at least fifteen (15) days prior
to the Closing Date. Failure of Buyer to provide a Title Objection Notice within such period (or to include any
such matters in a timely delivered and valid Title Objection Notice) shall be deemed Buyer’s approval of all
items contained in the applicable Title Update. All such items in the applicable Title Update that are not
objected to by Buyer in a timely delivered and valid Title Objection Notice shall be deemed to be part of the
Permitted Liens. Seller shall notify Buyer in writing (“Sellers Title Notice”) within seven (7) days after receipt
of the applicable Title Objection notice from Buyer of those Objectionable Title Exceptions Seller elects to
remove or cure and Seller’s proposed manner of removal or cure, as well as those Objectionable Title Exceptions
Seller will not remove or cure. Seller’s failure to deliver Seller’s Title Notice to Buyer in a timely manner shall
be deemed an election by Seller not to remove or cure Objectionable Title Exceptions included in the applicable
Title Objection Notice. If Seller proposes in Seller’s Title Notice to remove or cure all or some of the
Objectionable Title Exceptions contained in the applicable Title Objection Notice, and Buyer does not terminate
this Agreement as provided in this paragraph, then at or prior to Closing, Seller shall remove or cure the
Objectionable Title Exceptions as Seller has agreed, and such Objectionable Title Exceptions shall not be
exceptions to coverage in the Title Policy. If Seller in the applicable Seller Title Notice elects not to remove or
cure any or all of the Objectionable Title Exceptions (or is deemed to have elected not to remove or cure such
Objectionable Title Exceptions), then Buyer may notify Seller within seven (7) days after receipt of the
applicable Seller Title Notice (or date of deemed election, as applicable) whether Buyer elects to proceed to the
Closing, taking title subject to such exceptions, or elects to terminate pursuant to Section 7.1(g); provided that,
Buyer may only elect to terminate under Section 7.1(g) if the Objectionable Title Exceptions Seller declines (or
is deemed to decline) would materially interfere with the use or occupancy of the Premises or materially affect
the value of the Premises if not removed or otherwise cured. Failure of Buyer to provide such notice in a timely
manner shall be deemed an election by Buyer to proceed to the Closing. If Buyer elects (or is deemed to have
elected) to take title subject to any such Objectionable Title Exceptions under this Section 5.13, such
Objectionable Title Exceptions shall become Permitted Liens and the Purchase Price shall not be reduced.
Notwithstanding the foregoing, for the avoidance of doubt, Seller agrees to obtain the removal, waiver,
termination, discharge, or satisfaction of any mortgages, mechanic's or materialmen's liens, judgment liens and
other monetary liens and monetary encumbrances against the Property of parties claiming by, through or under
the Seller which are curable solely (i) by the payment of money either prior to Closing or simultaneously with
Closing by using proceeds from the sale, or (ii) by discharge by or through the Sale Order. All such matters
referenced in the foregoing sentence shall automatically be deemed Objectionable Title Exceptions, regardless

                                                        23
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                             Page 113 of 140



of whether Buyer provided a Title Objection Notice to Seller including such matters as Objectionable Title
Exceptions, and Buyer under no circumstances shall be deemed to have waived any such matters, nor shall same
be considered waived or Permitted Liens under Section 1(xx)(vii), unless such waiver shall be an express waiver
in writing executed by Buyer.

                                                  ARTICLE 6

                                        CONDITIONS TO CLOSING

          6.1     Conditions to Obligations of Seller to Close. The obligation of the Seller to effect the closing
 of the transactions contemplated by this Agreement is subject to the satisfaction prior to or at the Closing of
 the following conditions (any of which may, in sole discretion of the Seller, be waived in whole or in part):

                 (a)      Bankruptcy Matters. The Bankruptcy Court shall have entered the Sale Order in form
reasonably satisfactory to Buyer and Seller, and it shall not be subject to a stay pending appeal.

                  (b)      Observance and Performance. Buyer shall have performed and complied with, in all
material respects, all covenants and agreements required by this Agreement to be performed and complied with
by it prior to or as of the Closing Date, and all representations and warranties of Buyer shall remain true and
correct in all material respects as of Closing.

               (c)      No Legal Actions. No Governmental Authority shall have issued an order, not
subsequently vacated, restraining, enjoining or otherwise prohibiting the consummation of the transactions
contemplated by this Agreement.

                 (d)       Approvals. Seller shall have obtained the Approvals, or assurances of issuance
thereof, so that Buyer is authorized to operate the Business.

          6.2     Conditions to Obligation of Buyer to Close. The obligation of Buyer to affect the closing of
 the transactions contemplated by this Agreement is subject to the satisfaction prior to or at the Closing of the
 following conditions (any of which may, in Buyer’s sole discretion, be waived in whole or in part):

                (a)    Entry of Sale Order. The entry of the Sale Order on or before December 1, 2021, and
such Sale Order becoming a Final Order on or before February 28, 2022.

                  (b)      Observance and Performance. Seller shall have performed and complied with, in all
material respects, all covenants and agreements required by this Agreement to be performed and complied with
by it prior to or as of the Closing Date, and all representations and warranties of Seller shall remain true and
correct in all material respects as of Closing.

               (c)      No Legal Actions. No Governmental Authority shall have issued an order, not
subsequently vacated, restraining, enjoining or otherwise prohibiting the consummation of the transactions
contemplated by this Agreement.

                 (d)       Approvals. Buyer shall have obtained the Approvals, or assurances of issuance
thereof, so that Buyer is authorized to operate the Business and utilize the underground walkway pursuant to a
written license acceptable to Buyer from the City of Keene.

                (e)       Title. The Title Company is prepared to issue, as of the Closing Date, the Title Policy.

                (f)       Due Diligence. Buyer has not terminated this Agreement pursuant to Section 2.9.



                                                        24
 78263910.32
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                              Page 114 of 140



                                                   ARTICLE 7

                                   TERMINATION AND BREAK-UP FEE

          7.1     Termination. This Agreement may be terminated at any time before the Closing by written
 notice to the applicable Party:

                 (a)      by mutual written agreement of Buyer and Seller;

                (b)       by either Buyer or Seller, upon written notice to the other Party, if the other Party is
in material breach or default of any provision of this Agreement, which breach is not cured within ten (10)
Business Days after written notice thereof is received, provided, however, that the terminating party is not in
material breach or default of this Agreement;

                 (c)      by either Buyer or Seller if the sale is disapproved by the Bankruptcy Court, or there is
an Alternative Transaction;

                  (d)      by either Buyer or Seller if the Closing has not occurred by the Outside Closing Date by
no fault of the Party terminating, and Buyer is not at that time the Back Up Bidder;

                (e)       by Seller, if Buyer is not diligently pursuing the Closing such that the Closing can
occur on or prior to the Outside Closing Date;

                 (f)    by either Buyer or Seller, if, prior to Closing, the Sale Order, after being entered by
the Bankruptcy Court, has subsequently been reversed, revoked, or voided by an order of a court of competent
jurisdiction; or

                 (g)      by Buyer pursuant to Section 5.13, Section 2.8, or Section 2.9.

         7.2      Break-Up Fee. Subject to Bankruptcy Court approval, if after the Execution Date , (i) any third
 party other than Buyer purchases the Purchased Assets or (ii) Seller completes an Alternative Transaction, then
 (a) the Deposit shall be returned to Buyer, and in connection therewith, Seller shall promptly take all action
 necessary to cause Title Company to pay the Deposit to Buyer, and (b) Seller shall pay to Buyer an additional
 amount of $660,000 plus up to Two Hundred Fifty Thousand and No/100 Dollars ($250,000.00) of actual
 expenses incurred by Buyer (collectively, the “Break-Up Fee”), which Break-Up Fee shall be paid solely from
 the proceeds of the sale of the Purchased Assets to a third party and shall be paid on the closing of such
 Alternative Transaction and Seller agrees that any court order related to the Alternative Transaction shall
 include a carve-out from the holders of the Bonds’ collateral permitting the Break-Up Fee. The terms and
 conditions of the Break-Up Fee and the payment thereof will be more specifically set forth in the Bid
 Procedures Order.

          7.3     Remedies.

                 (a)       Termination, plus any rights the parties shall have under this Section regarding the
Deposit and the Break-Up Fee shall be the sole remedy of the Parties for a breach of this Agreement, except for
the Parties’ rights under Section 8.17. Immediately upon the occurrence of any termination of this Agreement
pursuant to Sections 7.1(a), 7.1(b) (where Buyer is the terminating Party), 7.1(d), 7.1(f), or 7.1(g), Seller shall
refund the Deposit to Buyer. If the termination is pursuant to Section 7.1(c) as the result of an Alternative
Transaction, then subject to and in accordance with the terms of the Bid Procedures Order, upon the closing of
the Alternative Transaction, Seller shall (i) immediately refund the Deposit to Buyer and (ii) pay Buyer the
Break-Up Fee from the proceeds of such Alternative Transaction. If the termination is pursuant to Section


                                                        25
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                               Page 115 of 140



7.1(b)(where Seller is the terminating Party) or 7.1(e), the Deposit shall be forfeited to the Seller and the Seller
shall be released from all obligations to Buyer hereunder.

                  (b)      The Parties intend that the Deposit constitute compensation, and not a penalty. The
Parties acknowledge and agree that either Party’s harm caused by the other Party’s default or breach of this
Agreement would be impossible or very difficult to accurately estimate as of the date of this Agreement, and
that the Deposit (or return of the Deposit, as the case may be, and the Break-Up Fee and Expense
Reimbursement in circumstances where applicable) is a reasonable estimate of the anticipated or actual harm
that might arise from such a default or breach. The transfer and/or return of the Deposit (and payment of the
Break-Up Fee and Expense Reimbursement in circumstances where applicable) is each Party’s sole liability
and entire obligation and the exclusive remedy for the other Party’s default or breach of this Agreement. If the
Closing does not occur on or before the Outside Closing Date, the Deposit shall be disbursed in accordance with
this Section 7.3, and the Break-Up Fee and Expense Reimbursement paid if and at such time as may be otherwise
provided in this Agreement and the Bid Procedures Order. If the Seller enters into an Alternative Transaction
during the Due Diligence Period, Seller shall pay Buyer the sum of $125,000 to compensate Buyer for its time
and expenses incurred in connection with this Agreement.

                 (c)      Article 7 and Article 8 shall survive any termination.

                                                   ARTICLE 8

                                               MISCELLANEOUS

         8.1     Expenses. Except as specifically set forth in this Agreement or any Related Agreement, and
 except for the Break-Up Fee, the Parties shall bear their own expenses, including, without limitation, fees,
 disbursements and other costs of any attorneys, accountants and other advisors, in connection with this
 Agreement, the Related Agreements, and the transactions contemplated hereby and thereby. This Section
 shall not apply, if the Closing does not occur, to any existing or future litigation, if a right to attorneys’
 fees and expenses otherwise exists.

          8.2     Notices. All notices, requests, demands and other communications made in connection with
 this Agreement shall be in writing and shall be (a) mailed by first-class, registered or certified mail, return
 receipt requested, postage prepaid, (b) transmitted by hand delivery, (c) sent by electronic means, or (d) sent
 by nationally recognized overnight courier for next Business Day delivery, addressed as follows:


           Seller:                                   Hillside Village Keene
                                                     95 Wyman Road
                                                     Keene, New Hampshire 03431
                                                     Attention: Toby Shea, Chief Restructuring Officer
                                                     tshea@onepoint-partners.com


           With simultaneous copies to (which
           shall not constitute notice):             Polsinelli PC
                                                     401 Commerce Street, Suite 900
                                                     Nashville, Tennessee 37219
                                                     Attention: Jeremy Johnson; Bobby Guy; Robert
                                                     Dempsey
                                                     jjohnson@polsinelli.com; bguy@polsinelli.com;
                                                     rdempsey@polsinelli.com


                                                         26
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                              Page 116 of 140



                                                       And

                                                       Hinckley Allen
                                                       650 Elm Street
                                                       Manchester, NH 03101-2596
                                                       Attention: Mark McCue
                                                       mmccue@hinckleyallen.com


           Buyer:                                      Covenant Living Services
                                                       5700 Old Orchard Road
                                                       Chicago, IL 60077
                                                       Attention: David Erickson
                                                       dgerickson@covenantliving.org

           With a simultaneous copy to:                Erickson Peterson Cramer
                                                       350 St. Peter Street, Suite 601
                                                       St. Paul, MN 55102
                                                       jpeterson@epclawyers.com

          If to the Bond Trustee:                      UMB Bank, National Association
                                                       120 Sixth Street South, Suite 1400
                                                       Minneapolis, MN 55402
                                                       Attention: Michael Slade
                                                       michael.slade@umb.com

          With copy to:                                Mintz, Levin, Cohn, Ferris, Glovsky and
                                                       Popeo, P.C.
                                                       One Financial Center
                                                       Boston, MA 02111
                                                       Attention: Daniel Bleck
                                                       dsbleck@mintz.com;



 or, in each case, such other address as may be specified in writing to the other Party.

          All such notices, requests, demands, waivers and other communications shall be deemed to have been
 received (w) if by first-class, registered or certified mail, on the fifth Business Day after the mailing thereof,
 (x) if by hand delivery, on the day after such delivery, (y) if by electronic means and the transmitting Party
 receives a transmission receipt dated the day of transmission, on the same day as the transmission, and (z) if
 by nationally recognized overnight courier, on the next Business Day after deposit with such courier.

         With respect to any notice required under Sections 2.8 (Casualty), 5.1 (Access to Books and Records),
 5.3 (Regulatory Filings), and 7.1 (Termination) hereof, the Parties shall also send notice to the Bond Trustee.

          8.3       Confidentiality and Exclusivity.

                (a)      Buyer has previously entered into a Confidentiality Agreement (the “Confidentiality
Agreement”), and that Agreement remains in place. Further, each Party hereto agrees that the provisions of this
Agreement, all understandings, agreements and other arrangements between the Parties, and all other non-public
information received from the other Party or otherwise relating to such other Party or (prior to Closing) the

                                                          27
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                                  Page 117 of 140



Premises, shall be confidential, and shall not be disclosed or otherwise released to any other Person (other than
such first Party's Affiliates, counsel to the Bond Trustee, or another party hereto), without the written consent
of the other Party. The obligations of the Parties hereunder shall not apply to: (a) the extent that the disclosure
of information otherwise determined to be confidential is anticipated hereunder or required by Applicable Law,
including bankruptcy law, to be disclosed or filed with the Bankruptcy Court; (b) the disclosure of confidential
information to any financial advisors, legal advisors, other professional advisors, shareholders, directors,
investors and lenders (both actual and potential) of a party who agree to hold confidential such information
substantially in accordance with this Section or who are otherwise bound by a duty of confidentiality to such
party; and (c) such disclosures as may be contained in any transaction-specific press release approved by both
Buyer and Seller, each party agreeing not to unreasonably withhold, condition or delay its approval.

                 (b)       From the signing hereof until the end of the Diligence Period, in consideration of the
time, resources, effort and expense that the Buyer will expect to expend in conducting due diligence and
otherwise evaluating the transaction contemplated hereby, Seller shall not, and the Seller shall cause its
Representatives not to, directly or indirectly, solicit, initiate, entertain, conduct, facilitate, encourage, or respond
to any proposals or offers from any third party relating to any Alternative Transaction, or, participate in any
discussions or negotiations regarding, or furnish to any person any information with respect to, or enter into,
any Alternative Transaction. The Seller agrees to immediately cease (and cause its Representatives to case), and
to not reopen during the Diligence Period (and to cause its Representatives to not reopen during the Diligence
Period), any current discussions or interactions with any third parties regarding an Alternative Transaction. The
Seller shall not disclose (and shall not permit its Representatives to disclose) during the Diligence Period any
non-public information (other than in the ordinary course of business or to the Bond Trustee or the holders of
the Bonds) relating to the Seller or afford access during the Diligence Period to the properties, books, or records
of the Seller to any other person reasonably believed to be considering an Alternative Transaction, provided
that Seller may keep its electronic data room open to third parties, so long as Seller abides by all the other
provisions of this paragraph.

                 (c)       In connection with its diligence process, Buyer is obtaining certain third party reports,
including without limitation a Phase 1 Environmental Review, a survey of the Premises, and potentially an
appraisal. Upon the expiration or termination of the Diligence Period, Buyer will provide these reports to Seller
(including future third party reports reasonably promptly after Buyer’s receipt), and Seller shall be permitted to
share them in its electronic data room with other potential bidders who are under confidentiality agreements.
This subsection shall survive termination of this Agreement.

          8.4      Amendment; Waivers, Etc. No amendment, modification or discharge of this Agreement, and
 no waiver hereunder, shall be valid or binding unless set forth in writing and duly executed by the Party against
 whom enforcement of the amendment, modification, discharge or waiver is sought. Any such waiver shall
 constitute a waiver only with respect to the specific matter described in such writing and shall in no way impair
 the rights of the Party granting such waiver in any other respect or at any other time.

         8.5      Headings. The headings contained in this Agreement are for reference purposes only and shall
 not affect in any way the meaning or interpretation of this Agreement.

         8.6      Assignment. Neither this Agreement nor any of the rights or obligations under this Agreement
 may be assigned by either Party without the prior written consent of the other Party, except that Buyer may
 assign its rights under this Agreement to an Affiliate with five (5) days’ notice to Seller. No permitted
 assignment of this Agreement by a Party will relieve the Party of any of its obligations under this Agreement.

          8.7    Parties in Interest. This Agreement and the Related Agreements shall be binding upon and
 inure solely to the benefit of the Parties and their successors and permitted assigns, and nothing in this
 Agreement or any Related Agreement, expressed or implied, is intended to confer upon any other Person any
 rights or remedies of any nature under or by reason of this Agreement or any Related Agreement.

                                                           28
 78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                             Page 118 of 140



        8.8     No Personal Liability. No individual officer, director, employee, manager, agent, or
representative shall have personal liable for any of the obligations hereunder or claims of any kind in
connection herewith except for fraud or gross negligence.

        8.9     Counterparts; Facsimile Signature. This Agreement may be executed in one or more
counterparts, each of which shall be deemed to constitute an original, but all of which shall constitute one and
the same instrument, and shall become effective when one or more counterparts have been signed by each of
the Parties. Counterparts may be executed by hand or by any electronic signature complying with state or
federal law, including the U.S. federal ESIGN Act of 2000, as amended (the “ESIGN Act”). Executed
counterparts may be delivered via facsimile, electronic mail or other similar transmission method, and any
executed counterpart so delivered shall be valid and effective for all purposes. No Party shall raise the use of
any electronic signature that complies with the ESIGN Act (including www.docusign.com), or the use of a
facsimile machine, electronic mail or other similar transmission method as a means to deliver a signature to
this Agreement or any amendment hereto as a defense to the formation or enforceability of a contract and each
Party forever waives any such defense.

         8.10   Governing Law. Except to the extent inconsistent with the Bankruptcy Code, this Agreement
and the Related Agreements shall be governed by and construed and enforced in accordance with the laws of
the State of New Hampshire, without regard to its conflicts of law rules.

        8.11     Jurisdiction. Each of the Parties agrees that any proceeding brought to enforce the rights or
obligations of any Party under this Agreement or any Related Agreement shall be commenced and maintained
in the Bankruptcy Court, and the Bankruptcy Court shall have exclusive jurisdiction over any such proceeding.
Each of the Parties consents to the exercise of jurisdiction over it and its properties, in accordance with the
terms of this Section, with respect to any proceeding arising out of or in connection with this Agreement, any
Related Agreement or the transactions contemplated hereby or thereby, or the enforcement of any rights under
this Agreement or any Related Agreement. EACH PARTY HEREBY KNOWINGLY, VOLUNTARILY AND
INTENTIONALLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY RIGHT TO
TRIAL BY JURY IN ANY PROCEEDINGS BROUGHT BY ANY OTHER PARTY IN CONNECTION
WITH ANY MATTER ARISING OUT OF OR IN ANY WAY CONNECTED WITH THIS AGREEMENT,
THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT, THE PROPERTY OR THE
RELATIONSHIP OF THE PARTIES HEREUNDER. THE PROVISIONS OF THIS SECTION SHALL
SURVIVE THE CLOSING OR EARLIER TERMINATION OF THIS AGREEMENT.

         8.12     Severability. If any provision of this Agreement is inoperative or unenforceable for any
reason, such circumstances shall not have the effect of rendering the provision in question inoperative or
unenforceable in any other case or circumstance, or of rendering any other provision or provisions herein
contained invalid, inoperative, or unenforceable to any extent whatsoever, so long as this Agreement, taken as
a whole, still expresses the material intent of the Parties. The invalidity of any one or more phrases, sentences,
clauses, sections or subsections of this Agreement shall not affect the remaining portions of this Agreement.

        8.13    Entire Agreement. This Agreement and the Related Agreements constitute the entire
agreement between the Parties with respect to the subject matter hereof, and supersede all prior agreements
and understandings, both written and oral, between the Parties with respect to the subject matter hereof. There
are no warranties, representations or other agreements between the Parties in connection with the subject matter
hereof except as set forth specifically herein.

        8.14    Employees Not Third-Party Beneficiaries. Nothing in this Agreement or the Related
Agreements is intended to confer upon any past, present or future employee of Seller or its Affiliates or his or
her legal representatives or heirs any rights as a third-party beneficiary or otherwise or any other rights or
remedies of any nature or kind whatsoever under or by reason of the transactions contemplated by this
Agreement or by the Related Agreements, including, without limitation, any rights of employment, continued

                                                       29
78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                              Page 119 of 140



employment or any rights under or with respect to any employee benefit, welfare benefit, pension or other
fringe benefit plan, fund, program or arrangement.

        8.15     Bulk Sales or Transfer Laws. Buyer hereby waives compliance by Seller with the provisions
of the bulk sales or transfer laws of all applicable jurisdictions.

         8.16    No Inferences. Inasmuch as this Agreement is the result of negotiations between sophisticated
parties of equal bargaining power represented by counsel, no inference in favor of, or against, either party shall
be drawn from the fact that any portion of this Agreement has been drafted by or on behalf of such party.

         8.17    Enforcement Expenses. In the event any Party elects to incur legal expenses to enforce, defend
or interpret any provision of this Agreement, as between it and any other Party, the prevailing Party shall be
entitled to recover from the other party such legal expenses, including reasonable attorneys’ fees, costs and
necessary disbursements, in addition to any other relief to which such Party may be entitled.

         8.18     Survival of Representations and Warranties. None of the representations or warranties of
Seller set forth in this Agreement, any Related Agreement, or in any other agreement or certificate executed in
connection with, or delivered pursuant to, this Agreement shall survive the Closing. Other than the
requirements of further assurances and actions specifically identified to be taken post-Closing, all other
covenants of Seller shall expire upon Closing.

         8.19     Interpretation. In this Agreement, unless the context otherwise requires: (a) references to this
Agreement are references to this Agreement and to the Schedules and Exhibits hereto; (b) references to Articles
and Sections are references to articles and Sections of this Agreement; (c) references to any party to this
Agreement shall include references to its respective successors, its designees, and permitted assigns;
(d) references to a judgment shall include references to any order, writ, injunction, decree, determination or
award of any court or tribunal; (e) the terms “hereof,” “herein,” “hereby,” and any derivative or similar words
will refer to this entire Agreement; (f) references to any document (including this Agreement) are references
to that document as amended, consolidated, supplemented, novated or replaced by the parties thereof from
time to time; (g) references to any law are references to that law as of the Closing Date, unless the context
requires otherwise, and shall also refer to all rules and regulations promulgated thereunder, unless the context
requires otherwise; (h) the word “including” shall mean including without limitation; (i) references to time are
references to Eastern Standard or Daylight time (as in effect on the applicable day) unless otherwise specified
herein; and (j) in the event the time for an act or notice falls on a day that is not a Business Day, the time will
automatically be extended to the next Business Day. At any time, and from time to time on or prior to the
Closing Date, Seller may supplement or amend the Schedules to this Agreement (collectively, a “Disclosure
Update”). The representations, warranties, and Schedules will be deemed supplemented and amended by any
Disclosure Update in order to cause the representations and warranties of Seller to be true as of the Closing;
provided that, solely for purposes of Buyer’s obligation to close, matters disclosed in any Disclosure Update(s)
shall not be considered to have modified the representations and warranties herein. In the event a Disclosure
Update materially modifies Buyer’s obligations hereunder, Buyer may terminate pursuant to its rights under
Section 7.1(b); provided that Schedule updates specifically anticipated under this Agreement, so long as
ordinary course, shall not be a basis for termination.

      8.20  SUBMISSION TO JURISDICTION.      EACH PARTY IRREVOCABLY AND
UNCONDITIONALLY SUBMITS TO THE EXCLUSIVE JURISDICTION OF THE UNITED STATES
BANKRUPTCY COURT FOR THE DISTRICT OF NEW HAMPSHIRE, AND ANY APPELLATE COURT
ARISING THEREFROM, IN ANY ACTION OR PROCEEDING ARISING OUT OF OR RELATED TO
THIS AGREEMENT OR ANY OF THE DOCUMENTS ENTERED INTO IN CONNECTION HEREWITH
OR FOR THE RECOGNITION OR ENFORCEMENT OF ANY JUDGMENT, AND EACH OF THE
PARTIES HERETO IRREVOCABLY AND UNCONDITIONALLY AGREES THAT ALL CLAIMS IN
RESPECT OF ANY SUCH ACTION OR PROCEEDING MAY BE HEARD AND DETERMINED IN SUCH

                                                        30
78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                          Page 120 of 140



COURT. EACH OF THE PARTIES AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR
PROCEEDING SHALL BE CONCLUSIVE AND BINDING ON SUCH PARTY. TO THE EXTENT THAT
THE BANKRUPTCY COURT LACKS JURISDICTION, THEN THE REFERENCE ABOVE TO THE
BANKRUPTCY COURT FOR THE DISTRICT OF NEW HAMPSHIRE SHALL BE “THE NEW
HAMPSHIRE STATE TRIAL AND APPELLATE COURTS” WITH JURISDICTION OVER CHESHIRE
COUNTY, NEW HAMPSHIRE.”

     8.21  WAIVER OF JURY TRIAL. EACH PARTY TO THIS AGREEMENT HEREBY
UNCONDITIONALLY WAIVES ITS RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF
ACTION BASED UPON OR ARISING OUT OF THIS AGREEMENT, ANY OF THE DOCUMENTS
RELATED HERETO, ANY DEALINGS BETWEEN THE PARTIES RELATING TO THE SUBJECT
MATTER OF THIS AGREEMENT OR ANY RELATED TRANSACTIONS.
        8.22     Time of the Essence. Time is of the essence for purposes of this Agreement and the rights and
obligations of the Parties hereunder.


                                     [Signatures Follow on Next Page]




                                                     31
78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document              Page 121 of 140




         IN WITNESS WHEREOF, this Agreement has been duly executed and delivered by their duly
 authorized representatives as of the date first above written.


                             THE PROSPECT-WOODWARD               HOME      D/B/A   HILLSIDE
                             VILLAGE KEENE:


                             ____________________________________________________
                             By: Toby Shea
                             Its: Chief Restructuring Officer




                             COVENANT LIVING SERVICES:


                             ____________________________________________________
                             By: Terri Cunliffe
                             Its: Chief Executive Officer




                      SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT
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          Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 122 of 140




                                                Terri Cunliffe
                                                Chief Executive Officer
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 123 of 140



                                   EXHIBIT A
                                   (Bill of Sale)




                                        33
78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                              Page 124 of 140



                                                BILL OF SALE

         THIS BILL OF SALE (the “Bill of Sale”), dated as of _____________, 2021, is made and entered
 into by and between Covenant Living Services, an Illinois not for profit corporation (“Buyer”), and The
 Prospect-Woodward Home d/b/a Hillside Village Keene, a New Hampshire not-for-profit voluntary
 corporation (“Seller”). Capitalized terms used and not otherwise defined herein shall have the meanings
 ascribed to such terms in the Purchase Agreement (as defined below).

                                                  RECITALS:

          WHEREAS, Seller is a debtor in bankruptcy before the United States Bankruptcy Court for the
 District of New Hampshire (the “Court”), and Seller and Buyer are parties to that certain Asset Purchase
 Agreement, dated August __, 2021, as may be amended from time to time (the “Purchase Agreement”),
 pursuant to which Buyer and/or its affiliates are purchasing substantially all of the assets of Seller; and

          WHEREAS, the Court has approved the transaction pursuant to the Purchase Agreement, including
 the sale of the Purchased Assets from Seller to Buyer pursuant to, among other things, 11 U.S.C §363; and

          WHEREAS, pursuant to the Purchase Agreement, Seller has agreed to sell, assign, transfer, deliver
 and convey to Buyer or its other assigns, as applicable, and Buyer has agreed to purchase, acquire and
 accept, from Seller, all right, title and interest of Seller in and to the Purchased Assets, on the conditions
 and subject to the terms set forth in the Purchase Agreement, for consideration in the amount and on the
 terms and conditions provided therein; and

         NOW THEREFORE, in consideration of the foregoing and the respective representations,
 warranties, covenants, agreements and conditions set forth herein and in the Purchase Agreement, and other
 good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
 hereto agree as follows:

          1.        Conveyance. Effective as of the date first set forth above (the “Effective Date”), Seller
 hereby sells, assigns, transfers, delivers and conveys, to Buyer, and Buyer hereby purchases from Seller,
 all of Seller’s right, title and interest in, to and under the Purchased Assets, including without limitation the
 Equipment and Inventory, but excluding the Excluded Assets, free and clear of all Liens as set forth on the
 Purchase Agreement:

        2.      Acceptance. Effective as of the Effective Date, Buyer hereby accepts the foregoing
 Purchased Assets from Seller.

         3.        Reference to the Purchase Agreement. The provisions of this Bill of Sale are subject in all
 respects to the terms of the Purchase Agreement. Nothing contained in this Bill of Sale shall be deemed or
 construed to alter, modify, add to or waive any of the rights, obligations, terms, covenants, conditions, or
 other provisions contained in the Purchase Agreement.

         4.       No Third Party Beneficiaries. This Bill of Sale is solely for the benefit of Buyer and Seller
 and their respective successors and assigns, and this Bill of Sale shall not be deemed to confer upon or give
 to any other third party any remedy, claim, cause of action or other right.

          5.      Captions. The Section headings contained in this Bill of Sale are inserted only as a matter
 of convenience and for reference and in no way define, limit, extend or describe the scope of this Bill of
 Sale or the intent of any provision of this Bill of Sale.

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 79060356.2
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                             Page 125 of 140



         6.       Further Assurances. The parties hereto shall from time to time after the date hereof execute
 and deliver such additional instruments of conveyance in addition to this Bill of Sale as one may reasonably
 request of the other to evidence more fully the transfer by Seller to Buyer of the Purchased Assets.

        7.      Controlling Law. This Bill of Sale shall be governed by and construed and enforced in
 accordance with the internal laws of the State of New Hampshire without reference to its choice of law
 rules.

        8.       Amendment; Waiver. This Bill of Sale may be modified or supplemented only by written
 agreement of the parties hereto.

          9.       Counterparts. This Bill of Sale may be executed in separate counterparts, each of which
 shall be an original and all of which shall be deemed to be one and the same bill of sale. Electronic signatures
 shall be deemed to be original signatures.



                                      (SIGNATURE PAGE FOLLOWS)




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 79060356.2
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document               Page 126 of 140



         IN WITNESS WHEREOF, the parties hereto have caused this Bill of Sale to be executed and
 delivered as of the date and year first above written.

 BUYER:

  COVENANT LIVING SERVICES

  By: ____________________________________
  Name: Terri S. Cunliffe
  Title: President and CEO


 SELLER:

  THE PROSPECT-WOODWARD HOME D/B/A
  HILLSIDE VILLAGE KEENE

  By:
  Name: Toby Shea
  Title: Chief Restructuring Officer




                                       [Signature Page to Bill of Sale]
 79060356.2
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 127 of 140



                                     EXHIBIT B
                        (Assignment and Assumption Agreement)




                                         34
78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                             Page 128 of 140




                        ASSIGNMENT AND ASSUMPTION AGREEMENT

                THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (the “Agreement”) is made
 as of _____________, 2021 by and among Covenant Living Services, an Illinois not for profit corporation,
 (“Buyer”), The Prospect-Woodward Home d/b/a Hillside Village Keene, a New Hampshire not-for-profit
 voluntary corporation (“Seller”). Capitalized terms used and not otherwise defined herein shall have the
 meanings ascribed to such terms in the Purchase Agreement (as defined below).

                                                 RECITALS:

          WHEREAS, Seller is a debtor in bankruptcy before the United States Bankruptcy Court for the
 District of New Hampshire (the “Court”), and Seller and Buyer are parties to that certain Asset Purchase
 Agreement, dated July 30, 2021, as may be amended from time to time (the “Purchase Agreement”),
 pursuant to which Buyer and/or its affiliates are purchasing substantially all of the assets of Seller; and

         WHEREAS, the Court has approved the transaction pursuant to the Purchase Agreement, including
 the assignment and assumption of the Assumed Liabilities and the Assumed Contracts And Leases (each
 as defined below) from Seller to Buyer pursuant to 11 U.S.C §363; and

          WHEREAS, Seller is a party to certain executory contracts which are being assumed by Seller and
 assigned to Buyer (the “Assumed Contracts and Leases”) pursuant to the Purchase Agreement and, among
 other things, 11 U.S.C §365; and

          WHEREAS, pursuant to the Purchase Agreement, and in consideration for the sale, assignment,
 transfer, delivery and conveyance of the Purchased Assets to Buyer, Buyer, as applicable, has agreed to
 assume from Seller and agrees to pay, perform and discharge when due in accordance with their respective
 terms and subject to the respective conditions thereof, (i) all of the Assumed Liabilities from Seller, and (ii)
 all of the Assumed Contracts And Leases.

         NOW THEREFORE, in consideration of the foregoing and the respective representations,
 warranties, covenants, agreements and conditions set forth herein and in the Purchase Agreement, and other
 good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
 hereto agree as follows:

          1.       Assignment and Assumption of Assumed Liabilities. Effective as of the date first set forth
 above (the “Effective Date”), Seller hereby assigns and Buyer hereby assumes and agrees to pay, perform
 and discharge when due in accordance with their respective terms and subject to the respective conditions
 thereof, all of the Assumed Liabilities as set forth in the Purchase Agreement. Except for the Assumed
 Liabilities, Buyer will not assume any liability or obligation of Seller whatsoever, and Seller will retain all
 Excluded Liabilities.

         2.      Assignment of Assumed Contracts And Leases. Effective as of the Effective Date, Seller
 hereby transfers and assigns to Buyer all right, title and interest of Seller in and to the Assumed Contracts
 And Leases set out on Exhibit A hereto. Pursuant to Section [__] of the Sale Order entered by the
 Bankruptcy Court on [________], 2021 as Docket No. [___], Buyer reserves the right to add additional
 matters to Exhibit A as provided in the Purchase Agreement.

         3.       Assumption. Effective as of the Effective Date, Buyer hereby assumes all obligations
 of Seller under the Assumed Contracts And Leases arising from and after the Effective Date and assumes
 and agrees to fully perform all of the terms, conditions, covenants and agreements of the Assumed Contracts
 And Leases on the part of the Seller thereunder to be kept and performed during the remaining term of the



 79060781.4
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document                             Page 129 of 140



 Assumed Contracts And Leases and any extension or renewal thereof, accruing on and after the Effective
 Date or otherwise attributable to the period commencing on such date and continuing thereafter. Seller
 shall have no further liability therefore pursuant to 11 U.S.C §365(k).

         4.        Reference to the Purchase Agreement. The provisions of this Agreement are subject in all
 respects to the terms of the Purchase Agreement. Nothing contained in this Agreement shall be deemed or
 construed to alter, modify, add to or waive any of the rights, obligations, terms, covenants, conditions, or
 other provisions contained in the Purchase Agreement.

        5.      Captions. The Section headings contained in this Assignment are inserted only as a matter
 of convenience and for reference and in no way define, limit, extend or describe the scope of this
 Assignment or the intent of any provision of this Assignment.

          6.      Further Assurances. The parties hereto shall from time to time after the date hereof execute
 and deliver such additional instruments of conveyance in addition to this Assignment as one may reasonably
 request of the other to evidence more fully the assumption of the Assumed Liabilities and the assumption
 and assignment of the Assumed Contracts and Leases.

          7.      Notice. Notices shall be as provided in the Purchase Agreement.

         8.       Applicable Law. This Assignment shall be governed by and construed in accordance with
 the laws of the State of New Hampshire without regard to principles of conflicts of law.

        9.       Amendment; Waiver. This Assignment may be modified or supplemented only by written
 agreement of the parties hereto.

          10.      Counterparts. This Assignment may be executed in separate counterparts, each of which
 shall be an original and all of which shall be deemed to be one and the same bill of sale. Electronic signatures
 shall be deemed to be original signatures.

                                           [Signature Pages Follow]




 79060781.4
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document         Page 130 of 140



       IN WITNESS WHEREOF, the parties hereto have caused this Assignment and Assumption
 Agreement to be executed and delivered as of the date and year first above written.

 BUYER:



 COVENANT LIVING SERVICES


  By:__________________________________
  Name: Terri S. Cunliffe
  Title: President and CEO


 SELLER:



  THE PROSPECT-WOODWARD HOME D/B/A
  HILLSIDE VILLAGE KEENE


  By:
   Name: Toby Shea
   Title: Chief Restructuring Officer




 79060781.4
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 131 of 140




                                   EXHIBIT A
                          (Assumed Contracts And Leases)




 79060781.4
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document   Page 132 of 140



                                    EXHIBIT C
                                  (Form of Deed)




                                       35
78263910.34
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document            Page 133 of 140


  Return to:




                                    QUITCLAIM DEED


 KNOW ALL PERSONS BY THESE PRESENTS THAT, THE PROSPECT –
 WOODWARD HOME, a New Hampshire non-profit corporation, with a principal office
 address of 194-202 Court Street, Keene, New Hampshire 03894, for consideration paid,
 grants to _________________________, a___________________________________,
 with a principal office address of, ___________________________________________,
 with [QUITCLAIM COVENANTS]: the following property:


 PARCEL ONE:

 Two parcels of land, with the buildings thereon, located in the City of Keene, County of
 Cheshire and State of New Hampshire, bounded and described as follows:

 East Parcel

 Beginning at a granite bound in the southeasterly sideline of Wyman Road at a corner of
 lands now or formerly of Bruce L. Borden Revocable Trust & Phyllis R. Borden Revocable
 Trust; Thence

 South 30° 06’ 19” East along said Trusts and a barbed wire fence line a distance of 80.54
 feet to a 5/8” capped rebar; Thence

 South 40° 34’ 37” East along said Trusts and a barbed wire fence line a distance of 157.49
 feet to a 5/8” capped rebar; Thence

 South 53° 50’ 21” East along said Trusts and a barbed wire fence line a distance of 198.00
 feet to a 5/8” capped rebar at a corner of lands now or formerly of Kendal J. & Patricia L.
 Dicey; Thence

 South 49° 22’ 58” East along said Dicey and a barbed wire fence line a distance of 129.10
 feet to a 5/8” capped rebar at a corner of other lands now or formerly of Bruce L. Borden
 Revocable Trust & Phyllis R. Borden Revocable Trust ; Thence
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document            Page 134 of 140




 South 52° 05’ 34” West along said Trusts a distance of 247.64 feet to a 5/8” capped rebar;
 Thence

 South 43° 30’ 35” East along said Trusts and crossing Black Brook a distance of 618.89
 feet to a 5/8” capped rebar; Thence

 North 69° 56’ 24” East along said Trusts and again crossing Black Brook a distance of
 384.68 feet to a 5/8” capped rebar in the westerly line of lands now or formerly of Caitlin
 Whitehead and being in the northerly bank of said Brook; Thence

 South 35° 17’ 13” East along said White head, crossing the Brook and along lands now
 or formerly of Monadnock Economic Development Corporation (MEDC) a distance of
 83.47 feet to a 5/8” capped rebar; Thence

 South 35° 17’ 13” East along (MEDC) a distance of 600.39 feet to a 5/8” capped rebar at
 a corner; Thence

 South 83° 19’ 36” West along MEDC a distance of 550.19 feet to a 5/8” capped rebar at
 a lot corner; Thence

 South 83° 19’ 36” West along MEDC a distance of 228.72 feet to a 36” white pine; Thence

 South 85° 10’ 21” West along MEDC a distance of 475.98 feet to a 5/8” capped rebar;
 Thence

 South 85° 34’ 16” West along MEDC and partially along a barbed wire fence and crossing
 a woods road a distance of 387.36 feet to a 1” pipe at the north east corner of lands now
 or formerly of Lory Family Revocable Trust; Thence

 South 84° 37’ 53” West along Lori and partially along a wire fence a distance of 118.53
 feet to a 5/8” capped rebar in a stone wall in the easterly sideline of Wyman Road, as laid
 out and shown on a plan titled, “Road Layout & Widening Plan, Prepared for City of Keene
 & The Prospect-Woodward Home,“ dated February 1, 2017; by Russell J. Huntley, SVE
 Associates; Thence

 North 5° 04’ 49” West along the wall and Road a distance of 14.81 feet to a 5/8” capped
 rebar; Thence

 North 10° 41’ 52” West along the wall and Road a distance of 133.61 feet to a 5/8” capped
 rebar; Thence

 North 6° 04’ 08” West along the wall and Road a distance of 98.44 feet to a 5/8” capped
 rebar; Thence

 North 6° 02’ 17” West along the Road a distance of 121.26 feet to a granite bound with a
 disk; Thence
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document             Page 135 of 140




 North 6° 36’ 08” West along the Road a distance of 200.00 feet to a granite bound with a
 disk; Thence

 South 83° 23’ 52” West along the Road a distance of 12.49 feet to a granite bound with a
 disk; Thence

 North 5° 42’ 48” West along the Road a distance of 373.56 feet to a granite bound with a
 disk; Thence

 Following a curve to the right with a Delta Angle of 43° 46’ 13” and a radius of 300.00 feet
 along the road an arc length of 229.18 feet to a granite bound with a disk; Thence

 North 38° 02’ 17” East along the Road a distance of 21.93 feet to a granite bound with a
 disk; Thence

 South 51° 57’ 43” East along the Road a distance of 5.00 feet to a granite bound with a
 disk; Thence

 North 38° 02’ 17” East along the road a distance of 70.00 feet to a granite bound with a
 disk; Thence

 Following a curve to the left with a delta Angle of 3° 48’ 53” and a radius of 1151.50 feet
 along the Road an arc length of 76.66 feet to a granite bound with a drill hole; Thence

 North 34° 13’ 24” East a distance of 97.16 feet to a granite bound with a drill hole; Thence

 Following a curve to the right with a Delta Angle of 16° 20’ 50” and a radius of 237.87 feet
 along the Road an arc length of 67.87 feet to a granite bound with a disk; Thence

 North 50° 34’ 12” East along the Road a distance of 282.19 feet to the Point of Beginning.

 West Parcel

 Beginning at a granite bound in the westerly sideline of Wyman Road at a corner of lands
 now or formerly of Spofford Stage Real Estate, LLC; Thence

 South 84° 41’ 40” West along said Spofford Stage a distance of 148.97 feet to a 5/8”
 capped rebar; Thence

 South 86° 51’ 14” West along said Spofford Stage a distance of 101.63 feet to a 5/8”
 capped rebar; Thence

 South 85° 56’ 04” West along said Spofford Stage a distance of 141.21 feet to a 5/8”
 capped rebar; Thence

 South 82° 37’ 14” West along said Spofford Stage a distance of 36.61 feet to a 5/8”
 capped rebar at the southeasterly corner of Shalldu LTD; Thence
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document            Page 136 of 140




 North 6° 02’ 39” East a distance of 436.91 feet to a 5/8” capped rebar; Thence

 North 10° 53’ 53” West a distance of 34.20 feet to a 5/8” capped rebar; Thence

 North 10° 53’ 53” West a distance of 982.01 feet to a 5/8” capped rebar; Thence

 North 85° 26’ 08” East a distance of 354.04 feet to a 5/8” capped rebar; Thence

 South 30° 29’ 51” East a distance of 323.46 feet to a 5/8” capped rebar in a stone wall in
 the westerly sideline of Wyman Road, as laid out and shown on a plan titled, “Road Layout
 & Widening Plan, Prepared for City of Keene & The Prospect-Woodward Home,“ dated
 February 1, 2017; by Russell J. Huntley, SVE Associates; Thence

 South 35° 36’ 21” West along the wall and the Road a distance of 60.85 feet to a point;
 Thence

 South 32° 58’ 21” West partially along the wall and along the Road a distance of 38.21
 feet to a granite bound with a disk; Thence

 South 4° 46’ 31” East along the Road a distance of 305.92 feet to a 5/8” capped rebar at
 the end of a stone wall; Thence

 South 8° 15’ 21” East along the wall and the Road a distance of 136.54 feet to a 5/8”
 capped rebar; Thence

 South 7° 10’ 09” East along the wall and the Road a distance of 60.99 feet to a granite
 bound with a disk; Thence

 South 83° 23’ 52” West along the Road a distance of 6.65 feet to a granite bound with a
 disk; Thence

 South 6° 36’ 08” East along the Road a distance of 202.21 feet to a granite bound with a
 disk; Thence

 South 5° 20’ 47” East along the Road a distance of 134.80 feet to a granite bound with a
 drill hole; Thence

 Following a curve to the left with a Delta Angle of 2° 59’ 18” and a radius of 2421.72 feet
 along the Road an arc length of 126.30 feet to a granite bound with a disk; Thence

 South 8° 20’ 05” East along the Road a distance of 105.61 feet to the Point of Beginning.

 PARCEL TWO:

 A certain tract of land with the buildings thereon situate on the northerly side of Wyman
 Road in the City of Keene, County of Cheshire and State of New Hampshire, bounded
 and described as follows:
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document              Page 137 of 140




 Beginning at a 5/8" capped rebar (to be set) in the northerly side of Wyman Road at the
 southwesterly corner of the premises herein conveyed, being the northeasterly corner of
 other land now or formerly of Kendall W. Lane, et al;

 thence N. 16° 41' 18" W. three hundred twenty-four and twenty-six hundredths (324.26)
 feet, more or less, along said other land of Lane to a 5/8" capped rebar (to be set);

 thence N. 80° 44' 45" W. three hundred fifty-four and four hundredths (354.04) feet, more
 or less, along said other land of Lane to a 5/8" capped rebar (to be set) at the
 northwesterly corner of said other land of said Lane, being the southeasterly corner of
 land now or formerly of Monadnock Economic Development Corp.;

 thence N. 02° 55' 00" E. seven hundred seventy-two and thirty-eight hundredths (772.38)
 feet, more or less, along said Monadnock Economic Development Corp. land to a 5/8"
 capped rebar up 8" at the northwesterly corner of the premises herein conveyed;

 thence N. 89° 29' 27" E. two hundred forty-one and fifty-eight hundredths (241.58) feet,
 more or less, along a stone wall to the end of said stone wall;

 thence N. 89° 29' 27" E. five hundred twenty-four and eighty-one hundredths (524.81)
 feet, more or less, to a 5/8" rebar with cap (to be set) at the northeast corner of the
 premises herein conveyed;

 thence S. 13° 57' 27" E. eight hundred six and fifty hundredths (806.50) feet, more or less,
 along land now or formerly of Thomas D. Borden, et al, to the 5/8" rebar with cap (to be
 set) in the north line of Wyman Road, being the southeast corner of the premises herein
 conveyed;

 thence S. 64° 23' 24" W. three hundred twenty-nine and two hundredths (329.02) feet,
 more or less, to a point at the end of a stone wall;

 thence S. 48° 38' 51" W. one hundred eighty-three and fifty-six hundredths (183.56) feet,
 more or less, along a stone wall to a point at the end of said stone wall;

 thence S. 51° 23' 44" W. one hundred five and eighty-seven hundredths (105.87) feet,
 more or less, to a point in the end of a stone wall;

 thence S. 50° 21' 11" W. fifty-two and forty-eight hundredths (52.48) feet, more or less,
 along a stone wall to the 5/8" rebar with cap (to be set} at the point of beginning, the last
 four courses being along the northerly side of said Wyman Road.

 Being Lot 919-08-003.02 as shown on a plan entitled "Two Lot Subdivision Plan prepared
 for Kendall Lane of land located at Tax Map 919, Block 8, Lot 3, dated 8/15/05, revised
 9/26/05 &10/24/05, by SVE Associates and approved by the City of Keene Planning
 Board November 1, 2005, recorded in Cabinet 13, Drawer 1- 140 of the Cheshire County
 Registry of Deeds.
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document            Page 138 of 140




 PARCEL THREE:

 A certain tract or parcel of land off Black Brook Road in Keene, Cheshire County, New
 Hampshire, shown as "Area to be Conveyed" on a plan entitled "Boundary Line
 Adjustment Plan" prepared by SVE Associates for The Prospect-Woodward Home, dated
 August 17, 2017, revised on February 12, 2018, and recorded at the Cheshire County
 Registry of Deeds as Plan No. 18047, more particularly bounded and described as
 follows:

 Beginning at an iron rebar to be set along the boundary between land of the within Grantor
 and land of the within Grantee, said rebar to be located 270.92 feet, more or less, east of
 the easterly sideline of Wyman Road,

 Thence North 85° 34' 16" East 234.97 feet, more or less, along said boundary line to an
 iron rebar to be set,

 Thence South 5° 25' 53" East 100.00 feet, more or less, to an iron rebar to be set,

 Thence South 85° 33' 57" West 103.74 feet, more or less, to an iron rebar to be set,

 Thence North 5° 25' 53" West 65.01 feet, more or less, to an iron rebar to be set,

 Thence South 85° 34' 16" West 131.23 feet, more or less, to an iron rebar to be set,

 Thence North 5° 25' 53" West 35.01 feet, more or less, to the point of beginning.

 Together with the sewer line easement granted to The Prospect-Woodward Home as
 recorded in said Registry at Book 3001 Page 444.

 Subject to those Permitted Exceptions listed on Exhibit A attached hereto, insofar as they
 may be in force and applicable.

 Meaning and intending to convey the premises conveyed to The Prospect – Woodward
 Home by Warranty deed of Kendall W. Lane and Molly B. Lane dated April 12, 2017 and
 recorded in the Cheshire County Registry of Deeds at Book 2989, Page 328 and Warranty
 deed of Miracles In Motion dated September 29, 2017 and recorded in the Cheshire
 County Registry of Deeds at Book 3002 Page 151 and Warranty deed of NH Black Brook
 LLC dated March 15, 2018 and recorded in the Cheshire County Registry of Deeds at
 Book 3035 Page 945.


                      [SIGNATURE(S) ON FOLLOWING PAGE(S)]
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document        Page 139 of 140




 Executed by its duly-authorized officer this _______ day of _______, 202__.


                                        THE PROSPECT – WOODWARD HOME



                                        By _______________________________
                                        Name:
                                        Title:




 STATE OF NEW HAMPSHIRE
 COUNTY OF ______________ SS


        The foregoing instrument was acknowledged before me this _____ day of
 __________, 202__ by ______________________, _______________ of The Prospect
 – Woodward Home, known to me (or satisfactorily proven) to be the person whose name
 is subscribed to the within instrument and acknowledged that he/she executed the same
 as the duly authorized __________ of The Prospect – Woodward Home for the purposes
 therein contained.



                                        ___________________________________
                                        Notary Public/Justice of the Peace
                                        Commission expires
Case: 21-10523-BAH Doc #: 10 Filed: 08/30/21 Desc: Main Document       Page 140 of 140




                                   EXHIBIT A
                             PERMITTED EXCEPTIONS

 1. Liens for taxes, charges and assessments which become due and payable
    subsequent to __________, 20__.

 2. Application for Current Use Taxation by Mary Dodds, recorded with Cheshire County
    Registry of Deeds at Vol. 885, Page 223 and at Vol. 901, Page 70, as affected by
    Partial Release dated 5/12/00 and recorded at Book 1767, Page 757 and by
    Amendment dated 10/7/13 and recorded at Book 2843, Page 651 and further partial
    releases at Book 2842, Page 889; Book 2998, Page 1137; Book 2998, Page 1135;
    Book 3020, Page 96; Book 3020, Page 152; Book 3035, Page 407; Book 3035, Page
    409; Book 3037, Page 444; and Book 3078 Page 417.

 3. Drainage Rights acquired by City of Keene by virtue of Layout of Drainage of Ash
    Swamp, Tannery, White and Black Brooks Water Shed dated 3/16/61 and recorded
    3/22/61 with Cheshire County Registry of Deeds at Vol. 679, Page 105.

 4. Utility Easement dated 3/12/96 and recorded 3/14/96 with Cheshire County Registry
    of Deeds at Book 1552, Page 578.

 5. All matters as shown on plans recorded at Cabinet 13, Drawer 1, #140, Cabinet 11
    Drawer 10 #111, Cabinet 12, Drawer 3 #90 and 91, Cabinet 11, Drawer 3 #120 and
    Cabinet 11, Drawer 10, #103, Plan # 17069, 17070, 17071, 17072, 18046, and 18047
    as well as on other plans depicting locus premises, as applicable.
 6. Cross Easement Agreement described in Deed recorded with Cheshire County
    Registry of Deeds at Book 3001, Page 450 as amended at Book 3111, Page 127.

 7. Easement recorded with Cheshire County Registry of Deeds at Book 3012, Page 169.

 8. Rights of the City of Keene under a Return of Layout of drainage of Ash Swamp,
    Tannery, White, Black Books recorded with Cheshire County Registry of Deeds at Vol
    679, Page 105. See also Vol 676, Page 563.

 9. Rights of Keene Economic Development and Revitalization Corp recorded with
    Cheshire County Registry of Deeds at Book 1552, Page 578. See also Plan Cabinet
    11, Drawer 10 #103.

 10. All easements described in Deed recorded with Cheshire County Registry of Deeds
     at Book 1553, Page 532.

 11. Drainage easement recorded with Cheshire County Registry of Deeds at Book 3001,
     Page 442.

 12. Sewer line easement described in Deed recorded with Cheshire County Registry of
     Deeds Book 3001, Page 444.


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